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                        EXHIBIT B1
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  DISTRICT COURT, PITKIN COUNTY,                                 DATE FILED: April 26, 2016 4:51 PM
                                                                 FILING ID: 383AA6159164E
  COLORADO
                                                                 CASE NUMBER: 2015CV30160
  506 E. Main Street, Suite 300
  Aspen, Colorado 81611
  ______________________________________________
  Plaintiffs: RCHFU, LLC, a Colorado limited liability
  company, JEFFREY A. BAYER and GAIL L.
  BAYER, ROBERT BUZZETTI, JULIE C. CANNER,
  LEE JAMES CHIMERAKIS and THERESA ANN
  CHIMERAKIS, KEVIN CLARE and NANCY
  LYNNE SHUTE, TOBY L. CONE TRUST and TOBY
  L. CONE, its Trustee, RICHARD DAVIS and
  SHIRLEY J. DAVIS, CARL EICHSTAEDT III,
  JAMES RICHARD FARQUHAR and JENNIFER
  LUCILLE FARQUHAR, KOPPELMAN FAMILY
  TRUST and LARRY KOPPLEMAN, its Trustee,
  DAVID LANCASHIRE and STEPHEN ANDREWS,
  DAVID LANCASHIRE, BONNIE LIKOVER,
  CRAIG LIPTON, JEREMY LOWELL, D.D.S. and
  LORI LOWELL, EDWARD P. MEYERSON and
  ANDREA C. MEYERSON, JERRY M. NOWELL
  TRUST and JERRY M. NOWELL, its Trustee, and
  DEE ANN DAVIS NOWELL TRUST and AND DEE
  ANN DAVIS NOWELL, its Trustee, THOMAS M.                    COURT USE ONLY
  PROSE REVOCABLE LIVING TRUST and
  THOMAS M. PROSE, M.D., its Trustee, CASEY M.           ____________________________
  ROGERS and COURTNEY S. ROGERS, ROBERT
  A. SKLAR TRUST, AND ROBERT A SKLAR, its                 Case Number: 2015 CV 30160
  Trustee, C. RICHARD STASNEY, M.D. and SUSAN
  P. STASNEY, C. RICHARD STASNEY, M.D. TSE
                                                                  Division: 5
  HOLDINGS, LLC, a Colorado limited liability
  company, STEPHEN WEINSTEIN and BRENDA
  WEINSTEIN, JACK ZEMER, on behalf of themselves
  and all others similarly situated

  v.

  Defendants: MARRIOTT VACATIONS
  WORLDWIDE CORPORATION, a Delaware
  corporation, MARRIOTT OWNERSHIP RESORTS,
  INC., d/b/a MARRIOTT VACATION CLUB
  INTERNATIONAL, a Delaware corporation; ASPEN
  HIGHLANDS CONDOMINIUM ASSOCIATION, a
  Colorado non-profit corporation, RITZ-CARLTON
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  MANAGEMENT COMPANY, LLC, a Delaware
  limited liability company, COBALT TRAVEL
  COMPANY, LLC; INC., a Delaware limited liability
  company, and THE LION & CROWN TRAVEL CO.,
  LLC, a Delaware limited liability company
  _____________________________________________
  Attorneys for Plaintiffs
  Michael J. Reiser, # 16161
  LAW OFFICE OF MICHAEL J. REISER
  961 Ygnacio Valley Road
  Walnut Creek, CA 94596
  Telephone: (925) 256-0400
  Facsimile: (925) 476-0304
  E-mail: reiserlaw@gmail.com

  Matthew C. Ferguson, A.R. #25687
  THE MATTHEW C. FERGUSON LAW FIRM, P.C.
  119 South Spring Street, Suite 201
  Aspen, Colorado 81611
  Telephone: (970) 925-6288
  Facsimile: (970) 925-2273
  E-mail: matt@matthewfergusonlaw.com

  Michael L. Schrag (Pro Hac Vice to be filed)
  GIBBS LAW GROUP LLP
  1 Kaiser Plaza, Suite 1125
  Oakland, CA 94612
  Telephone (510) 350-9718
  Facsimile: (510) 350-9701
  E-mail: mls@classlawgroup.com

  Tyler R. Meade (CA SBN 160838)
  (Pro Hac Vice to be filed)
  THE MEADE FIRM P.C.
  1816 Fifth Street
  Berkeley, CA 94710
  Telephone (510) 843-3670
  Facsimile: (510) 843-3679
  E-mail: tyler@meadefirm.com


  FIRST AMENDED AND SUPPLEMENTAL CLASS ACTION COMPLAINT AND JURY
                             DEMAND
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          Plaintiffs, as listed in the caption and in paragraphs 13 through 42, infra., by and through
  their counsel, for their Complaint and Jury Demand, state and allege as follows:

                                      I. INTRODUCTION AND BACKGROUND

          1.      This lawsuit concerns Defendants’ unlawful acts that decimated the value of
  deeded 1/12 fractional interests that Plaintiffs and Class Members purchased in the Ritz-Carlton
  Club Aspen Highlands, located in Aspen, Colorado. Over the last few years, Defendants,
  including Defendant Marriott Vacations Worldwide Corporation (“MVW”) and its subsidiaries
  and affiliates, have damaged Plaintiffs and the Class and unjustly enriched themselves by
  violating (or aiding and abetting in, or conspiring to violate) various fiduciary duties owed by
  certain Defendants to Class Members. These violations undercut the essential features of the
  fractional interests sold to Class Members.

         2.      In the 1980s, Marriott International, Inc. established Defendant Marriott
  Ownership Resorts Inc. d.b.a. Marriott Vacation Club International (“MVCI”) to run Marriott’s
  timeshare operations. MVCI originally sold timeshare in one-week intervals. In 1984, Marriott’s
  Monarch on Hilton Head Island became the first MVCI resort. By 2009, MCVI had grown to
  over 400,000 timeshare owners who had purchased one-week interval timeshares.

          3.     In 1999, MVCI introduced “The Ritz-Carlton Club” (also known as “The Ritz-
  Carlton Destination Club”) as a luxury alternative to its “Marriott Vacation Club” timeshare
  product, which it describes as its “upscale” product line. The Ritz-Carlton Club sold deeded 1/12
  fractional ownership interests. The luxury nature, longer use intervals 1, and exclusivity
  distinguished the Ritz Carlton Club fractional interests from MVCI’s “Marriott Vacation Club”
  product line. Based on these distinctions, The Ritz Carlton Club interests were substantially
  more expensive.

          4.     In 2001, the Ritz-Carlton Club, Aspen Highlands was established as the first
  fractional ownership property for The Ritz-Carlton Club brand. Thereafter, between 2001 and
  2012, Defendants developed and sold approximately 3,200 of the deeded 1/12 luxury fractional
  interests under The Ritz Carlton Club brand at the following nine locations: Aspen Highlands,
  Colorado; Bachelor Gulch, Colorado; Jupiter, Florida; North Lake Tahoe, California; St.
  Thomas, U.S.V.I.; San Francisco, California; Vail, Colorado; Abaco, Bahamas; and Maui,
  Hawaii.

         5.     In 2010 MCVI began converting legacy “week owners” of Marriott Vacation
  Club timeshares to a “points-based product” wherein purchasers bought interests in a land trust

  1
     The Ritz-Carlton Club 1/12 fractionals sold at Ritz-Carlton, Aspen Highlands entitled purchasers to 4 weeks of
  use per year. The other Ritz-Carlton Clubs sold 1/12 fractionals entitling three weeks of use, with the remaining 16
  weeks used by members on a “space available” basis. Use of the “space available” weeks was given to members
  pursuant to the rules established in the Ritz-Carlton Membership Program.
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  (“MVC Trust”) set up by MVCI to own its resorts. By the end of 2011, many of the Marriott
  Vacation Club’s over 400,000 owners at over 50 Marriott Vacation Club resorts worldwide were
  utilizing points purchased from MVCI to trade for use of Marriott Vacation Club resorts.
  Further, by the end of 2011, Marriott Vacation Club points were available for sale on the
  secondary market for a fraction of the cost at which MVCI sold them “new.” In addition,
  Marriott Vacation Club Points were available to “rent” from other members, enabling them to
  upgrade to stays at more desirable resorts than their “home resorts.”

          6.       Between 2001 and 2012, approximately 800 Class Members, including
  Plaintiffs, paid premium prices, ranging from $200,000 to $400,000, for their deeded 1/12
  fractional interest at the Ritz Carlton Club in Aspen Highlands, (known as “Tourist
  Accommodation Units” or “Fractional Units”). These Fractional Units were sold based on
  Defendants’ claims that the Fractional Units were superior to MVCI’s other timeshare offerings
  in that the Ritz Carlton Club Aspen Highlands would be exclusive and operate for the use,
  benefit and enjoyment of Ritz Carlton Club Members as well as their family and guests “like a
  second home,” supporting the expensive purchase prices for the Fractional Units as compared to
  other MVCI timeshare offerings. Defendants further stated that the Fractional Units were
  transferrable like any other form of deeded real estate.

         7.      In November 2011, Marriott International, Inc. “spun-off” Defendant MVW as a
  separately traded public company (NYSE: VAC), and MVW became the exclusive developer
  and manager of vacation ownership and related products under the Marriott brand and the
  exclusive developer of vacation ownership and related products under the Ritz-Carlton brand.

          8.      In its first Annual Report filed following the spin-off (dated March 21, 2012),
  MVW revealed its intent to abandon the upscale Ritz-Carlton product line, stating: “we have
  significantly scaled back our development of Luxury segment vacation ownership products. We
  do not have any Luxury segment projects under construction nor do we have any current plans
  for new luxury development. While we will continue to sell existing Luxury segment vacation
  ownership products, we also expect to evaluate opportunities for bulk sales of finished inventory
  and disposition of undeveloped land.”

          9.      Beginning in 2013 and continuing through the 2014, Defendants MVW, Ritz-
  Carlton Management Company, LLC (“RC Management”), The Cobalt Travel Company, LLC
  (“Cobalt”) and the other Defendants used their complete control over Defendant Aspen
  Highlands Condominium Association, Inc., (“Association”) as well as their control over the use
  and operation of Plaintiffs Fractional Units, to eliminate the very features for which Class
  Members paid premium prices, thereby destroying the value of the Fractional Units sold to
  Plaintiffs and Class Members. By these actions, and in breach of their fiduciary duties owed as a
  result of the control maintained over Plaintiffs Fractional Units and the fact that Defendants were
  agents or sub-agents of Plaintiffs and Class Members, Defendants profited at Plaintiffs and the
  Class Members’ expense. Even though Defendants actions destroyed the value of the Fractional
  Units, Plaintiffs and Class Members continue to pay steadily increasing annual dues,
  compounding the harm. A large percentage of these dues go directly to Defendants in the form
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  of lucrative “management fees” and other “reimbursements” supposedly incurred by Defendants
  under the management contracts, including payroll related costs. These management fees and
  reimbursements are paid solely by Fractional Unit owners at the Ritz Carlton Club Aspen
  Highlands to the Defendants regardless of usage or occupancy.

          10.     Due to Defendants’ conduct described herein, the Fractional Units owned by
  Plaintiffs and Class Members are now worth less than 20% of the original purchase prices, while,
  on the other hand, Defendants, including MVW; MVCI; RC Management; Cobalt; and The Lion
  & Crown Travel Co., LLC (“L&C”) have been unjustly enriched. Due to defendants’ actions,
  MVC members can now enjoy the benefits and use of the Ritz-Carlton Club Aspen Highlands
  property for a fraction of the cost that Plaintiffs and Class Members paid. For example, a MVC
  member can buy (or simply rent) MVC points sufficient to stay at the Ritz Carlton Club Aspen
  Highlands for approximately twenty percent of what it costs Class Members, who paid $200-
  400k for substantially similar rights and benefits.

                                   II.    JURISDICTION AND VENUE

          11.   This Court has jurisdiction over the subject matter at issue because this is a civil
  action for damages and/or equitable relief. Colo. Const. Art. VI, § 9(1).

         12.     Venue is proper in this Court under C.R.C.P. 98(a) and (c) as this action arises
  from the sale of Fractional Units located in Pitkin County, Colorado, and certain of Defendants’
  wrongful and illegal conduct was committed in Pitkin County. In addition, jurisdiction and venue
  are proper in this court pursuant to the terms of the uniform Purchase Contract and other
  agreements or instruments executed in connection therewith.

                                              III. PARTIES

         A.      Plaintiffs

          13.    Plaintiff RCHFU, LLC is organized under the laws of Colorado. Its only
  members, Jennifer Kaplan and Alexander H. Busansky, are citizens of California. Pursuant to a
  uniform Purchase Contract Ms. Kaplan and Mr. Busansky signed in 2003, they paid $218,500 to
  the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 12
  consisting of an undivided 1/12 interest in Residence No. 8314 of Aspen Highlands
  Condominiums, according to the Declaration of Condominium for Aspen Highlands
  Condominiums, recorded January 11, 2001, Reception No. 450454 (referred to herein as “Aspen
  Highlands Condominiums” or “Ritz Aspen Highlands”).

          14.     Pursuant to an Assignment of Claims, Ms. Kaplan and Mr. Busansky transferred
  all of their claims and all interests in claims arising out of ownership or under the Purchase
  Contract or otherwise and pertaining to the undivided 1/12 interest in Residence Unit No. 8314 at
  the Ritz Aspen Highlands to RCHFU, LLC.
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          15.     Plaintiffs Jeffrey A. Bayer and Gail L. Bayer (collectively, the “Bayer
  Plaintiffs”) are citizens of the State of Alabama. Pursuant to a uniform Purchase Contract signed
  in 2001, the Bayer Plaintiffs paid $180,000.00 to the seller Ritz Carlton Development Company,
  and obtained title to Residence Unit No. 9 consisting of an undivided 1/12 interest in Residence
  No. 8308 of the Aspen Highlands Condominiums.

         16.    Plaintiff Robert Buzzetti is a citizen of the State of Florida. Pursuant to a
  uniform Purchase Contract signed in 2002, Mr. Buzzetti paid $320,000.00 to the seller Ritz
  Carlton Development Company, and obtained title to Residence Unit No. 4 consisting of an
  undivided 1/12 interest in Residence No. 8203 of the Aspen Highlands Condominiums.

         17.    Plaintiff Julie C. Canner is a citizen of the State of Michigan. Pursuant to a
  uniform Purchase Contract signed in 2001, Ms. Canner paid $170,000.00 to the seller Ritz
  Carlton Development Company, and obtained title to Residence Unit No. 13 consisting of an
  undivided 1/12 interest in Residence No. 8402 of the Aspen Highlands Condominiums.

          18.     Plaintiffs Lee James Chimerakis and Theresa Ann Chimerakis (collectively,
  the “Chimerakis Plaintiffs”) are citizens of the State of Florida. Pursuant to a uniform Purchase
  Contract signed in 2008, the Chimerakis Plaintiffs paid $310,000.00 to the seller Ritz Carlton
  Development Company, and obtained title to Residence Unit No. 5 consisting of an undivided
  1/12 interest in Residence No. 2405 of the Aspen Highlands Condominiums.

          19.     Plaintiffs Kevin Clare and Nancy Lynne Shute (collectively, the “Clare
  Plaintiffs”)are citizens of the State of California. Pursuant to a uniform Purchase Contract signed
  in 2005, the Clare Plaintiffs paid $266,000.00 to the seller Ritz Carlton Development Company,
  and obtained title to Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence
  No. 2206 of the Aspen Highlands Condominiums.

          20.     Plaintiffs Toby L. Cone Trustee is a citizen of the State of Connecticut and
  Trustee of the Toby L. Cone Trust (collectively, the “Cone Plaintiffs”). Pursuant to a uniform
  Purchase Contract signed in 2003, the Cone Plaintiffs paid $220,000.00 to the seller Ritz Carlton
  Development Company, and obtained title to Residence Unit No. 10 consisting of an undivided
  1/12 interest in Residence No. 8406 of the Aspen Highlands Condominiums.

          21.     Plaintiffs Richard Davis and Shirley J. Davis (collectively, the “Davis
  Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in
  2002, the Davis Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company,
  and obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence
  No. 8105 of the Aspen Highlands Condominiums.

         22.    Plaintiff Carl Eichstaedt III is a citizen of the State of California Pursuant to a
  uniform Purchase Contract signed in 2004, the Eichstaedt Plaintiff paid $238,000.00 to the seller
  Ritz Carlton Development Company, and obtained title to Residence Unit No. 7 consisting of an
  undivided 1/12 interest in Residence No. 2204 of the Aspen Highlands Condominiums.
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         23.     Plaintiffs James Richard Farquhar and Jennifer Lucille Farquhar are citizens
  of Australia. Pursuant to a uniform Purchase Contract signed in 2008, the Farquhar Plaintiffs
  paid $210,000.00 to the seller Ritz Carlton Development Company, and obtained title to
  Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2302 of the
  Aspen Highlands Condominiums.

         24.    Plaintiff Larry Koppleman is a citizen of the State of California and Trustee of
  the Koppleman Family Trust (collectively, the “Koppleman Plaintiffs”). Pursuant to a uniform
  Purchase Contract signed in 2001, the Koppleman Plaintiffs paid $310,000.00 to the seller Ritz
  Carlton Development Company and obtained title to Residence Unit No. 6 consisting of an
  undivided 1/12 interest in Residence No. 8205 of the Aspen Highlands Condominiums.

         25.      Additionally, pursuant to a uniform Purchase Contract signed in 2001, the
  Koppleman Plaintiffs paid $171,000.00 to the seller Ritz Carlton Development Company and
  obtained title to Residence Unit No. 1 consisting of an undivided 1/12 interest in Residence No.
  8404 of the Aspen Highlands Condominiums.

         26.      Additionally, pursuant to a uniform Purchase Contract signed in 2002, the
  Koppleman Plaintiffs paid $295,000.00 to the seller Ritz Carlton Development Company and
  obtained title to Residence Unit No. 2 consisting of an undivided 1/12 interest in Residence No.
  8305 of the Aspen Highlands Condominiums.

          27.     Plaintiffs David Lancashire and Stephen Andrews (collectively,
  “Lancashire/Andrews”) are citizens of the State of Texas. Pursuant to a uniform Purchase
  Contract signed in 2003, Lancashire/Andrews paid $200,000 to the seller Ritz Carlton
  Development Company and obtained title to Residence Unit No. 6 consisting of an undivided
  1/12 interest in Residence No. 8403 of the Aspen Highlands Condominiums.

         28.    Plaintiff David Lancashire is a citizen of the State of Texas. Pursuant to a
  uniform Purchase Contract signed in 2008, Mr. Lancashire paid $230,000 to the seller Ritz
  Carlton Development Company and obtained title to Residence Unit No. 4 consisting of an
  undivided 1/12 interest in Residence No. 8105 of the Aspen Highlands Condominiums.

          29.     Plaintiff Bonnie Likover is a citizen of the State of Texas. Pursuant to a uniform
  Purchase Contract signed in 2008, Ms Likover paid $173,500.00 to the seller Ritz Carlton
  Development Company and obtained title to Residence Unit No. 12 consisting of an undivided
  1/12 interest in Residence No. 8202 of the Aspen Highlands Condominiums.

         30.    Plaintiff Craig Lipton is a citizen of the State of California. Pursuant to a
  uniform Purchase Contract signed in 2007, Mr. Lipton paid $180,000.00 to the seller Ritz
  Carlton Development Company, and obtained title to Residence Unit No. 7 consisting of an
  undivided 1/12 interest in Residence No. 8311 of the Aspen Highlands Condominiums.
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          31.     Plaintiffs Jeremy Lowell, D.D.S. and Lori Lowell (collectively, the “Lowell
  Plaintiffs”) are citizens of the State of Colorado. Pursuant to a uniform Purchase Contract signed
  in 2005, the Lowell Plaintiffs paid $250,000.00 to the seller Ritz Carlton Development
  Company, and obtained title to Residence Unit No. 9 consisting of an undivided 1/12 interest in
  Residence No. 2204 of the Aspen Highlands Condominiums.

          32.     Plaintiffs Edward P. Meyerson and Andrea C. Meyerson (collectively, the
  “Meyerson Plaintiffs”) are citizens of the State of Alabama. Pursuant to a uniform Purchase
  Contract signed in 2004, the Meyerson Plaintiffs paid $234,000.00 to the seller Ritz Carlton
  Development Company and obtained title to Residence Unit No. 12 consisting of an undivided
  1/12 interest in Residence No. 8302 of the Aspen Highlands Condominiums.

          33.    Plaintiffs Jerry M. Nowell and Dee Ann Davis Nowell are citizens of the State
  of Arizona and as Trustees of the Jerry M. Nowell Trust and the Dee Ann Davis Nowell Trust,
  respectively (collectively, the “Nowell Plaintiffs”). Pursuant to a uniform Purchase Contract
  signed in 2004, the Nowell Plaintiffs paid $210,000.00 to the seller Ritz Carlton Development
  Company, and obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in
  Residence No. 8106 of the Aspen Highlands Condominiums.

          34.     Plaintiff Thomas M. Prose, M.D. is a citizen of the State of Michigan and
  Trustee of the Thomas M. Prose Revocable Living Trust, (collectively, the “Prose Plaintiffs”).
  Pursuant to a uniform Purchase Contract signed in 2008, the Prose Plaintiffs paid $369,000.00 to
  the seller Ritz Carlton Development Company, and obtained title to two undivided 1/12 interests
  in Residence No. 2401 of the Aspen Highlands Condominiums. The interests are described in
  weeks.

          35.     Additionally, pursuant to a uniform Purchase Contract signed in 2009, the Prose
  Plaintiffs paid $120,650.00 to the seller Ritz Carlton Development Company, and obtained title
  to an undivided 1/12 interest in Residence No. 2304 of the Aspen Highlands Condominiums. The
  interest is described in weeks.

         36.    Plaintiffs Case M. Rogers and Courtney S. Rogers are citizens of the State of
  North Carolina. Pursuant to a uniform Purchase Contract signed in 2003, the Rogers Plaintiffs
  paid $220,000.00 to the seller Ritz Carlton Development Company, and obtained title to
  Residence Unit No. 4 consisting of an undivided 1/12 interest in Residence No. 8106 of the
  Aspen Highlands Condominiums.

         37.    Plaintiff Robert A. Sklar is a citizen of the State of Michigan and Trustee of the
  Robert A. Sklar Trust (collectively, the “Sklar Plaintiffs”). Pursuant to a uniform Purchase
  Contract signed in 2012, Mr. Sklar paid $80,000.00 to the seller Ritz Carlton Development
  Company, and obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in
  Residence No. 8204 of the Aspen Highlands Condominiums.
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          38.     Plaintiffs C. Richard Stasney and Susan P. Stasney (collectively, the “Stasney
  Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in
  2001, the Stasney Plaintiffs paid $300,000.00 to the seller Ritz Carlton Development Company
  and obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in Residence
  No. 8205 of Aspen Highlands Condominiums.

         39.     Additionally, pursuant to a uniform Purchase Contract signed in 2011, C.
  Richard Stasney paid $261,000.00 to the seller Ritz Carlton Development Company and
  obtained title to an undivided 1/12 interest in Residence No. 2305 of the Aspen Highlands
  Condominiums. The interest is described in weeks.

          40.     Plaintiff TSE Holding, LLC, is a Colorado limited liability company, in good
  standing. Thomas Engelman is a citizen of the State of Colorado and a manager and member.
  TSE Holding, LLC paid $11,000.00 on the secondary market to purchase and obtain title of an
  undivided 1/12 interest in Residence No. 2304 of the Aspen Highlands Condominiums. The
  interest is described in weeks.

          41.     Plaintiffs Stephen Weinstein and Brenda Weinstein (collectively, the
  “Weinstein Plaintiffs”) are citizens of the State of Florida. Pursuant to a uniform Purchase
  Contract signed in 2005, the Weinstein Plaintiffs paid $227,000.00 to the seller Ritz Carlton
  Development Company and obtained title to Residence Unit No. 11 consisting of an undivided
  1/12 interest in Residence No. 8314 of Aspen Highlands Condominiums.

          42.     Plaintiff Jack Zemer is a citizen of the State of California. Pursuant to a uniform
  Purchase Contract signed in 2001, Mr. Zemer paid $230,000.00 to the seller Ritz Carlton
  Development Company, and obtained title to Residence Unit No. 11 consisting of an undivided
  1/12 interest in Residence No. 8405 of Aspen Highlands Condominiums.

         B.      Defendants

         43.    Defendant Marriott Vacations Worldwide Corporation (“MVW”) is a publicly
  traded Delaware corporation with its principal place of business at 6649 Westwood Boulevard,
  Orlando, Florida. MVW is the parent and/or an affiliate company of the other Defendants and
  was involved in and responsible for the wrongful conduct alleged herein. Marriott Vacations
  Worldwide Corporation is sometimes referred to herein as Marriott.

          44.    Defendant Marriott Ownership Resorts, Inc., d.b.a. Marriott Vacation Club
  International (“MVCI”) is a Delaware corporation, and a wholly owned subsidiary of Marriott.
  Its principal place of business is at 6649 Westwood Boulevard, Orlando, Florida, and it is
  authorized to do business in Colorado. MVCI was involved in and responsible for the wrongful
  conduct alleged herein.
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         45.     Defendant Aspen Highlands Condominium Association, Inc. (“Association”) is
  a Colorado non-profit corporation that serves as the official “Owners Association” for buyers of
  Fractional Units, including Class Members.

         46.     Defendant Ritz-Carlton Management Company, LLC (“RC Management”) is
  another wholly owned MVW subsidiary, and a Delaware limited liability company. Defendant
  RC Management has a principal place of business at 6649 Westwood Boulevard, Suite 500,
  Orlando, Florida, and is authorized to do business in Colorado.

          47.    Defendant The Cobalt Travel Company, LLC (“Cobalt”) (formerly known as
  the Ritz-Carlton Travel Company, LLC) is a Delaware limited liability company, has a principal
  place of business at 6649 Westwood Boulevard, Suite 500, Orlando, Florida, and is authorized to
  do business in Colorado.

           48.   Defendant The Lion & Crown Travel Co., LLC (“L&C”) is a Delaware limited
  liability company formed in 2008 and is authorized to do business in Colorado. L&C is a wholly
  owned subsidiary of RC Development.

                                   IV. SOURCE OF FIDUCIARY DUTIES

          49.   There are multiple sources of fiduciary duties arising out of the documents
  governing the management, operation and use of the Ritz-Carlton Club, Aspen Highlands,
  including the Articles of Incorporation of Aspen Highlands Condominium Association, Inc.,
  (“Articles”), the Declaration of Condominium for Aspen Highlands Condominium
  (“Declaration”), The Ritz-Carleton Management Company, LLC Management Agreement
  (Management Agreement), and the Ritz-Carlton Club Membership Program Affiliation
  Agreement, (“Affiliation Agreement”).

         A. Aspen Highlands Condominium Association

         50.     The Association was created on December 9, 1999 upon filing with the Colorado
  Secretary of State the Articles of Incorporation of Aspen Highlands Condominium Association,
  Inc. Amended and Restated Articles of Incorporation of Aspen Highlands Condominium
  Association, Inc. were filed with the Colorado Secretary of State on November 2, 2000.

         51.     According to the Amended Articles: “The primary purpose for which the
  Association is organized is to manage, administer, operate and maintain” the Aspen Highlands
  Condominiums.

          52.     Pursuant to Article V. of the Articles, the powers of the Association, include: “To
  operate, manage, administer, insure, repair, replace, reconstruct and improve the Condominium”
  (Article 5.1); “To operate, manage and administer the Plan of Fractional Ownership that may be
  created in the Condominium by the Declarant” (Article 5.2); “To contract for the management of
  the Condominium and to delegate to such contractor all powers and duties of the Association
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  except such as are specifically required by the various Association Documents or Colorado law
  to have approval of the board of directors or the members of the Association” (Article 5.7); and,
  “To enter into agreements providing for the participation of Owners of Fractional Interests in
  those units committed to a Plan of Fractional Ownership in an exchange system or network of
  resorts allowing for reciprocal use of resort properties by owners of fractional ownership
  interests in the Condominium” (Article 5.11).

          53.    Defendant Association owed and owes fiduciary duties to buyers of Fractional
  Units, including Plaintiffs and Class Members, including but not limited to a duty of loyalty and
  duty to enforce restrictive covenants set forth in the Declaration of Condominium for Aspen
  Highlands Condominiums. 2 The scope of this fiduciary duty extends beyond the norm for
  condominium associations based on the delegation and assumption of authority over not just the
  common areas, but also the fractional units themselves.

          B. Ritz-Carlton Management Company

          54.     On January 12, 2001, Defendants Association and RC Management, entered into
  a written agreement, designated “Management Agreement.” Pursuant to paragraph 2, captioned
  “Appointment and Acceptance of Agency,” the Association employed RC Management “to act
  on behalf of the Association and its members as the exclusive managing entity and to manage
  the daily affairs of the Condominium and the (Fractional Ownership Interest) Plan, and (RC
  Management) hereby agrees to so act.” (Emphasis added.) A copy of the Management
  Agreement is attached hereto as EXHIBIT A.

           55.    Pursuant to paragraph 4 of the Management Agreement, captioned “Delegation of
  Authority,” Association delegates to RC Management “all of the power and authority of
  (Association) to the extent necessary to perform (RC Management’s) duties and obligations
  under this agreement.” In addition, paragraph 4 provides: “(RC Management), on behalf of
  and at the expense of (Association), to the exclusion of all other persons including the
  (Association) and its members, shall have all the powers and duties of the Executive Board
  as set forth in the Declaration and the bylaws of the (Association) (except such thereof as are
  specifically required to be exercised by its directors or members), and it shall perform, by way of
  illustration and not limitation, (the services set forth in paragraphs 4(A) through 4(V) . . . .”
  (Emphasis Added.)

          56.   Paragraph 4(A) of the Management Agreement provides RC Management with
  the exclusive authority to “Hire, pay, supervise and discharge all persons necessary to be
  employed in order to properly manage, maintain, administer and operate the Condominium and
  (Fractional Ownership Interest) Plan.”



  2
    See, Woodward v. Board of Directors of Tamarron Association of Condominium Owners, Inc., 155 P.3d 621,624
  (Colo. App. 2007); Colorado Homes, Ltd. v. Loerch-Wilson, 43 P.3d 718, 722 (Colo. App. 2001).
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         57.     Paragraph 4(F) of the Management Agreement provides RC Management with the
  exclusive authority to “Maintain the (Association’s) financial record book, accounts and other
  records, and as necessary, issue certificate of account to Owners and their Mortgagees . . . .”

         58.     Paragraph 4(H) of the Management Agreement provides RC Management with
  the exclusive authority to “Prepare the itemized annual budget for the (Association) or revisions
  to the budget, or a combination thereof, (that RC Management) determines necessary for
  submission to the Executive Board.”

         59.     Paragraph 4(I) of the Management Agreement provides RC Management with the
  “authority and responsibility to maintain and replace the personal property within the Common
  Elements and the (Fractional Units), and to determine the maintenance fee, proration of taxes,
  and other common expenses applicable to those Common Elements and (Fractional Units), as
  defined in and provided for in the Declaration.

         60.     Paragraph 4(J) of the Management Agreement provides RC Management with the
  exclusive authority to “Receive and deposit all funds collected from the Owners, or otherwise
  accruing to the Association, in a special account or accounts of (RC Management) . . . .”

          61.     Paragraph 4(L) of the Management Agreement provides RC Management “shall
  have sole authority to promulgate and amend rules and regulations for the (Fractional Units) and
  Limited Common Elements of the (Fractional Units) subject to the (Fractional Unit) Directors to
  revise, repeal or modify such amended rules and regulations and subject to the provisions of the
  Declaration.”

          62.     Paragraph 4(N) of the Management Agreement provides RC Management with
  the authority to “Retain and employ such professionals and such experts whose services may be
  reasonably required to effectively perform its duties and exercise its powers hereunder, and to
  employ same on such basis as it deems appropriate.”

           63.    Perhaps most importantly, Paragraph 4(S) of the Management Agreement
  provides RC Management with the authority to “Engage a Program Manager through an
  affiliation agreement, who shall manage and administer the reservation procedures and exchange
  program for the Ritz-Carlton Club Membership Program (the ‘Membership Program’) through
  which Owners of Residence Interests reserve the use of accommodations at a Club as defined in
  and pursuant to The Ritz-Carlton Club Membership Program Reservation Procedures
  (‘Reservation Procedures’). The Program Manager shall have the broadest possible delegation of
  authority regarding administration of the Reservation Procedures . . . . RC Management on
  behalf of (the Association shall assess the Owners of (Fractional Units) the reasonable cost (as
  determined by the Program Manager) of operating such Reservation Procedures, which cost shall
  be included as part of Club dues.”
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          64.     Paragraph 14 of the Management Agreement provides that RC Management
  “shall receive an annual net fee, free from charges and expenses” of Six Hundred Dollars ($600)
  per Residence Interest from the Owners of the (Fractional Units) . . .”

          65.     Based upon these and other terms of the Management Agreement and also by
  operation of law, RC Management is the agent of the Association and Fractional Unit Owners,
  including Plaintiffs and Class Members, and as such, owes the Association, Plaintiffs and Class
  Members fiduciary duties, including the duties of loyalty, avoiding self-dealing, and to enforce
  the restrictive covenants set forth in the Declaration of Condominium for Aspen Highlands.
  These fiduciary duties also flow from the fact RC Management was given control over the
  Fractional Units.

         66.     Based upon the high degree of control over Plaintiffs’ and class members’
  Fractional Units arising from its authority as set forth in the Management Agreement, RC
  Management owes Plaintiffs and Class Members fiduciary duties, including a duty of loyalty,
  duty to avoid self-dealing, and duty to enforce the restrictive covenants set forth in the
  Declaration of Condominium for Aspen Highlands.

         C. The Cobalt Travel Company

          67.    Defendant Cobalt entered into a four party agreement titled “The Ritz-Carlton
  Club Membership Program Affiliation Agreement” (“Affiliation Agreement”) with the Ritz-
  Carlton Development Company (“RC Development”) (the seller of the fractional interests at
  issue, a wholly owned subsidiary of MVW, and the sole manager and member of Defendants RC
  Management and Cobalt) and Defendants RC Management and the Association. Pursuant to the
  Affiliation Agreement, the Ritz-Carlton Club, Aspen Highlands and the purchasers of Fractional
  Units including Plaintiffs and Class Members, became affiliated with and members of the Ritz-
  Carlton Membership Program.

          68.   Paragraph 1.2 of the Affiliation Agreement provided: “By acceptance of a
  conveyance of a Residence Interest at the Club . . . each Member is deemed to have consented to
  the terms and conditions of this Agreement and to have further consented to the appointment of
  the Members Association as the authorized representative to act on behalf of the Members with
  respect to the provisions of this Agreement. Whenever the Members Association’s
  acknowledgment, consent, understanding and/or agreement is stated or implied in this
  Agreement, such acknowledgment, consent, understanding and/or agreement shall be deemed to
  also have been given by the Board of Directors, if applicable, and each Member.

         69.     Pursuant to the terms of the Affiliation Agreement, Defendant Cobalt is the
  Program Manager of the Ritz-Carlton Club Membership Program and also operates the
  reservation system through which Class Members obtain use of their allotted number of days at
  the Ritz Aspen Highlands and obtain access to the sister Ritz-Carlton Destination Clubs in the
  Ritz-Carlton Club Membership Program. The Affiliation Agreement provides: “The Program
  Manager may, in its sole discretion, elect to affiliate other locations with the Membership
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  Program as Member Clubs or Associated Clubs from time to time. Neither the Developer,
  Members Association, nor Club Manager shall be entitled to participate in or consent to the
  Program Manager’s decision in this regard.” (Emphasis added.) A copy of the Affiliation
  Agreement is attached hereto as EXHIBIT B.

         70.     Based upon the terms of the Management Agreement and the Affiliation
  Agreement, Cobalt is the agent or subagent of the Association and Fractional Unit owners,
  including Plaintiffs and Class Members, and as such, owes the Association, Plaintiffs and Class
  Members fiduciary duties, including a duty of loyalty and duty to avoid self-dealing.

          71.     Based upon the high degree of control over Plaintiffs’ and Class Members’
  Fractional Units arising from its authority as set forth in the Affiliation Agreement, Cobalt owes
  Plaintiffs and Class Members fiduciary duties, including a duty of loyalty and duty to avoid self-
  dealing.

          72.     As described herein, Defendant Cobalt, in violation of its fiduciary duties to
  Plaintiffs and Class Members, and aided and abetted in said fiduciary duty violations by the other
  Defendants, entered into an Affiliation Agreement with L&C, which allows some or all of the
  over 400,000 members of Defendant MVW’s Marriott Vacation Club who are able to acquire
  sufficient points in the Marriott Vacation Club Destinations system, to use the Fractional Units at
  the Ritz-Aspen Highlands. These breaches of fiduciary duty caused a great diminution in the
  value of Plaintiffs and Class Members’ Fractional Units, and unjustly enriched the other
  Defendants, including MVW, MVCI, RC Management and Cobalt at the expense of Plaintiffs
  and Class Members.

         73.     MVW directly, and indirectly through wholly owned subsidiaries, exerted control
  over Ritz-Carlton Club, Aspen Highlands and the other Defendants, because, inter alia: 1)
  MVW’s lawyers drafted the Management Agreement that provided its wholly owned subsidiary,
  RC Management full control of the operation of the Association and the Association Board at the
  Ritz-Carlton Club, Aspen Highlands; 2) RC Management and Cobalt were shell companies
  serviced by persons technically employed by MVW and/or MVCI; 3) the costs and revenues
  generated in connection with Ritz-Carlton Club, Aspen Highlands by MVW, MVCI, RC
  Management and Cobalt were accounted for in MVW’s consolidated financials; 4) employees
  providing services to MVCI, RC Management, and Cobalt were treated as MVW employees.

          74.    Each and all of the Defendants (directly and/or indirectly through individual
  agents, representatives, employees, principals, officers, directors and members) (a) actively or
  passively participated in the conduct, acts and omissions alleged herein, (b) materially assisted,
  aided, abetted and/or conspired with one or more other Defendants in committing the conduct,
  acts, and omissions alleged herein, (c) purposely, knowingly, recklessly, or negligently planned,
  directed, implemented, furthered, and/or consented to conduct, acts and omissions alleged herein,
  and/or (d) is directly, vicariously, jointly, and/or severally liable for the conduct, acts, and
  omissions alleged herein.
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          75.     Each of the Defendants are (a) are the agents, representatives, alter egos, and/or
  instrumentalities of their respective principals or controlling entities, (b) have interlocking or
  overlapping directors and/or officers with their respective principals or controlling entities, (c)
  are undercapitalized and/or spurious or disregarded corporate form, (d) and for which “piercing
  the corporate veil” is or may be necessary and appropriate to prevent injustice and inequity to
  Plaintiffs and Class Members.

          76.      On July 17, 2012, Ms. Eveleen Babich, General Manager of Defendant Cobalt
  wrote Plaintiffs and Class Members a letter (on Ritz Carlton Destination Club letterhead), stating
  that “Based on the Ritz-Carlton Destination Club member feedback, additional benefits and
  experiences will be available through a new affiliation with Marriott Vacation Club Destinations
  . . . Affiliation will extend to you the opportunity to deposit your Reserved Allocation on an
  annual basis. Once you deposit, the following will be available for you: . . . Secure any of the 51
  worldwide Marriott Vacation Club Resorts . . .” A copy of the July 17, 2012 Letter from Eveleen
  Babich is attached hereto as EXHIBIT C.

           77.   Eveleen Babich’s July 17, 2012 letter did not specify whether this proposed
  affiliation would allow the 400,000 Marriott Vacation Club members to access the Ritz Carlton
  Club locations and in fact assured Class Members that “nothing about the Home Club
  Membership…has changed” as a result of this affiliation.

          78.     This announcement proposing a new affiliation agreement with Defendant
  MVW’s Marriott Vacations Club Destinations program generated extreme concern amongst the
  various “member controlled” Boards of Directors of the various Ritz-Carlton Destination Clubs.
  For instance, in a letter dated August 3, 2012, the Association Board of the Ritz Carlton Club-St.
  Thomas wrote to its members:

         We have been in frequent communications with each other and the Presidents of
         the other RCDC Clubs since this announcement. Our general but preliminary
         consensus regarding the ‘evolution’ of the RCDC brand as described in Eveleen
         Babich’s letter of July 17th is that we are concerned that this may not be an
         enhancement to our Membership Interests. We all, as members, invested in the
         Ritz-Carlton brand!

  A copy of the August 3, 2012 Letter from the association board of the Ritz Carlton Club-St.
  Thomas is attached hereto as EXHIBIT D.

          79.   On August 10, 2012, the Association Board of the Ritz Carlton Club-Jupiter wrote
  to its members:

                 We were disappointed as to how Ritz Carlton, Marriott Vacations
                 Worldwide Corporation and Cobalt Travel Company, LLC (‘RCDC
                 Parties’) separately and collectively chose to characterize these matters
                 they have defined as the “evolution of the RCDC brand.” No input from
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                   your Board of Directors or, to our knowledge, any of the other RCDC
                   Club Boards was ever solicited by these companies while they determined
                   these significant changes to the RCDC system in which we all own a
                   Membership Interest.

         A copy of the August 10, 2012 Letter from the association board of the Ritz
  Carlton Club-St. Thomas is attached hereto as EXHIBIT E. 3

          80.     On August 17, 2012, Lee Cunningham, the Executive Vice President and Chief
  Operating Officer of Defendant MVCW, wrote a letter (on Ritz Carlton Destination Club
  letterhead) to all Ritz Carlton Destination Club Members, including Class Members, “to provide
  you further information regarding certain changes announced on July 17th to the Lion and Crown
  Travel Company and The Ritz-Carlton Destination Club system” and to assure the Ritz-Carlton
  Vacation Club members that “nothing… has changed or will change as a result of the
  announcement.” The August 17th notice also stated that the original affiliation notice on July
  17th had generated questions from the members, which would be addressed in an upcoming
  Webinar on August 28, 2012. A copy of the August 17, 2012 Letter from Lee Cunningham is
  attached hereto as EXHIBIT F.

          81.    In the meantime, Defendant Association wrote a letter to Plaintiffs and Class
  Members on August 17, 2012, notifying them that the Association board was working with
  MVW executives to better understand the proposed affiliation. The letter states that “[f]rankly, it
  has been our position that our members bought into a Ritz-Carlton brand and do not want that
  brand diluted. The Board has concerns that … the nature of our club will change by opening the
  club to MVW timeshare/points members who have a much lower cost of entry.”

          82.    The August 17th letter from the Association states that “[t]he Board is also
  concerned that there are specific provisions in our Association documents which the Board
  believes does not permit MVW to conduct a separate program as they currently intend.” A copy
  of the August 17, 2012 Letter from the Association is attached hereto as EXHIBIT G.

         83.    One of the provisions that the Association was referring to is Section 19.8 of the
  Declaration of Condominium for Aspen Highlands Condominiums, entitled “Limit on
  Timesharing,” which states as follows:

                   Each Owner acknowledges that Declarant intends to create Fractional
                   Ownership Interests with respect to Tourist Accommodation Units within
                   Aspen Highlands Condominiums and Aspen Highlands Village. Other

  3
    Ultimately the announced intention to affiliate the Marriot Vacation Club Destinations program, with its over
  400,000 members, caused the Condominium Association Boards of Ritz-Bachelor Gulch and Ritz-Jupiter Clubs to
  put a vote to their members as to whether to terminate their management agreements with RC Management and
  Cobalt. In 2013 and 2014, respectively, both of these clubs’ memberships voted to terminate the management
  agreements with Defendant RC Management, and both clubs have since left the system.
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                   than the right of Declarant” (sic) or a Successor Declarant and their
                   respective officers, agents, employees, and assigns to create Fractional
                   Ownership Interests in accordance with Article 23 of this Declaration
                   (specifically including, without limitation, the Plan of Fractional
                   Ownership), no Unit shall be used for the operation of a timesharing,
                   fraction-sharing, interval ownership, private residence club,
                   membership program, vacation club, exchange network or system or
                   similar program whereby the right to exclusive use of the Unit is
                   alternated or scheduled among participants in the program on a fixed or
                   floating time schedule over a period of years whether by written,
                   recorded agreement or otherwise. (Emphasis added.)

  A copy of the Declaration of Condominium for Aspen Highlands Condominiums is attached
  hereto as EXHIBIT H. 4

          84.   On August 30, 2012, the Ritz-Carlton Destination Club released a new
  “Frequently Asked Questions for Members” pamphlet to Plaintiffs and Class Members, which
  stated that “Marriott Vacations Worldwide intends to sell most of its remaining unsold Ritz-
  Carlton Club inventory through the Marriott Vacation Club Destinations program.” 5 A copy of
  the August 30, 2012 pamphlet “Frequently Asked Questions for Members” is attached hereto as
  EXHIBIT I.

          85.    The August 30, 2012 “Frequently Asked Questions for Members” also states:
  “Given the current state of the luxury fractional market and the market’s unlikely recovery in the
  near term, selling this inventory through the Marriott Vacation Club Destinations program
  relieves the significant financial burden of this unsold inventory in a balanced way . . .” and
  “Marriott Vacations Worldwide is paying club dues on these unsold fractions in excess of eleven
  million dollars a year, plus continues to subsidize the operating costs at a number of clubs for an
  additional four million dollars a year.”
          86.    On October 2, 2012, the Association issued another letter to Plaintiffs and Class
  Members that purported to update them on the discussions with MVW on this pressing issue.
  The letter revealed, inter alia, that “MVW has been advised that it is the view of the Board and
  its counsel, that in order for MVW to move towards the points based system it is planning on,
  that the underlying Association documents would need to be revised as it is in our view that
  the documents prohibit what MVW is planning.” A copy of the October 2, 2012 Letter from the
  Association is attached hereto as EXHIBIT J. (Emphasis added.)


  4
    The Declaration for Aspen Highlands Village which created the “Master Association”, and which also govern the
  Class Members’ Fractional Units, sets forth a similar use restriction, labeled “No Timeshare” at Section 8.25.
  5
     The August 28, 2012 pamphlet stated: “Marriott Vacations Worldwide is paying club dues on these unsold
  fractions in excess of eleven million dollars a year, plus continues to subsidize the operating costs at a number of
  clubs for an additional four million dollars a year.”
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         87.     While the Association was conducting its discussions with MVW, on November
  5, 2012, the President of the Board of the Ritz-Carlton Club, Bachelor Gulch, Michael Mullenix,
  wrote a letter to Mr. Steven Weisz, President and CEO of MVW and Lee Cunningham,
  Executive Vice President and COO of MVW, stating:

                I am writing on behalf of the Board of Directors to continue our dialogue
                about the proposed affiliation of Ritz Carlton Bachelor Gulch Members
                with Lion and Crown in 2013 and beyond and to request that such
                proposed affiliation be canceled. At a minimum, the proposed affiliation
                should be delayed until January 1, 2014 and the status quo maintained
                until that time . . . The Board and membership of the Club have serious
                concerns that the Club’s affiliation with Lion and Crown is contrary to the
                Club’s governing documents and, in any event, will have permanent
                negative impacts on the club, including most importantly to the value of
                our residence units…

          88.     The letter from the Board of the Ritz-Bachelor Club, Gulch to Steven Weisz and
  Lee Cunningham ended as follows: “Please advise no later than Thursday, November 15, 2012,
  whether MVW will agree to this requested delay of affiliation. If MVW will not voluntarily
  agree to this delay and insists on permitting affiliation with Lion and Crown now, the Board may
  have no alternative but to enforce the Club Declarations prohibition on timesharing through
  formal legal action. We do not believe that should be necessary given our aligned interests on
  this issue.” A copy of the November 5, 2012 Letter from the Board of the Ritz-Bachelor Gulch to
  Steven Weisz and Lee Cunningham is attached hereto as EXHIBIT K.

          89.     Between April 5, 2013 and April 8, 2013, the Association wrote letters to all
  Plaintiffs and Class Members that:

                Positive discussions were held today between the Board of Directors and
                representatives of the Ritz/Marriott including Lee Cunningham, COO of
                the Ritz-Carlton Destination Club. Ritz Marriott representatives agree
                that unless a majority of Aspen Highlands Members (excluding the
                Marriott interests and Members not in good standing) vote in favor of
                doing so, Ritz/Marriott will not include Aspen Highlands in the Marriott
                Vacation Club affiliation/exchange/point program. Discussions continue
                on other important issues affecting Aspen Highlands, including
                alternatives for divesting the current inventory of Aspen Highlands units
                owned by Ritz/Marriott. Such inventory will not be sold through the
                Marriott Vacation Club trust without an additional vote of the Members.

  Copies of letters dated April 5, 2013 and April 8, 2013 from the Association to Class Members
  are attached hereto as EXHIBIT L. (Emphasis added)
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         90.    No vote of the Members of Ritz-Aspen Highlands, including by Plaintiffs or Class
  Members, in favor of allowing the Defendants to include Ritz-Aspen Highlands in the Marriott
  Vacation Club affiliation/exchange/point program ever occurred. Likewise, no vote of the
  Members of Ritz-Aspen Highlands in favor of allowing the Defendants to sell their unsold
  inventory of Aspen Highlands units through the Marriott Vacation Club trust ever occurred.

          91.     However, in April 2014, Defendant Association, acting in concert with and/or
  aided and abetted by the other Defendants, including MVW, RC Management, and Cobalt,
  unilaterally decided to include the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the
  Marriott Vacation Club affiliation/exchange/points program; and agreed and conspired with
  Defendants to have the Association breach its fiduciary duties to Plaintiffs and Class Members
  by, inter alia, 1) agreeing to act and acting in a disloyal manner towards Plaintiffs and Class
  Members by favoring the interests of the Defendants over the interests of the Plaintiffs and Class
  Members by including the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the Marriott
  Vacation Club affiliation/exchange/points program; and 2) agreeing not to and/or failing to
  enforce the Declaration, including the covenant against further timesharing, as set forth in
  paragraph 19.8 of the Declaration.

          92.     In April 2014, the Association wrote a letter to all Plaintiffs and Class Members
  updating them on “your Board of Directors’ efforts on your behalf . . .” On page 2 of the letter,
  the Board dropped a bombshell under the heading “Marriott Vacation Club Destination
  Exchange Program: In response to the Members’ wishes - both past and present, the Board has
  crafted a very unique program which would allow Aspen Club Members to exchange a week of
  their reserved allocated time for points within the Marriott Vacation Club Destinations exchange
  program.” A copy of the April 2014 Letter from the Association to Plaintiffs and Class Members
  is attached hereto as EXHIBIT M.

           93.    Plaintiffs allege that sometime in 2014, in contravention of the promises made to
  Class Members on April 5 and April 8, 2013 (that unless a majority of Aspen Highlands
  Members vote in favor of doing so, Ritz/Marriott will not include Aspen Highlands in the
  Marriott Vacation Club affiliation/exchange/point program), Defendants MVW, RC
  Management and Cobalt, pursuant to an agreement it made with Defendant Association,
  affiliated the Ritz Carlton Club, Aspen Highlands with Marriott Vacation Club
  affiliation/exchange/points program.

          94.    Plaintiffs allege on information and belief that sometime in 2014, in contravention
  of the promises made to Class Members on April 5, 2013 (that Defendants’ unsold inventory of
  fractionals “will not be sold through the Marriott Vacation Club trust without an additional vote
  of the Members”), Defendant MVW, pursuant to an agreement it made with Defendant
  Association not to enforce Section 19.8 of Declaration of Condominium for Aspen Highlands
  Condominiums, sold a portion of its remaining unsold Ritz-Carlton Club inventory to the
  Marriott Vacation Club trust.
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           95.    The actions of the Defendants described above were knowingly made in violation
  of their respective duties of loyalty owed to Plaintiffs and Class Members, as well as in violation
  of Section 19.8 and other provisions of the Declaration of Condominium for Aspen Highlands
  Condominiums, as well as the promises made to Plaintiffs and Class Members between April 5
  and April 8, 2013 that unless a majority of Aspen Highlands Fractional Unit owners and
  members vote in favor of doing so, Defendants would not include Ritz Carlton Club, Aspen
  Highlands or the Plaintiffs’ and Class Members’ Fractional Units in the Marriott Vacation Club
  affiliation/exchange/point program. The actions described herein violated and/or aided and
  abetted the violation of Defendants’ fiduciary duties owed to Plaintiffs’ and Class Members.

          96.    Now, approximately 400,000 Marriott Vacation Club members –– who paid a
  small fraction of the purchase prices and who pay approximately a third of the annual fees ––
  have access to luxury resorts that were formerly only available to Plaintiffs and Class Members.
  Defendants have derived huge profits and/or cost savings through this affiliation, while
  devaluing Plaintiffs’ vested property interests. Worse yet, Plaintiffs have had to pay, in the form
  of inflated annual maintenance fees, for the increased use and wear and tear resulting from the
  opening of the Ritz Carlton Club, Aspen Highlands to Marriott Vacation Club Members.

                                 V.      CLASS ACTION ALLEGATIONS

           97.    Pursuant to Rule 23(b) of the Colorado Rules of Civil Procedure, Plaintiffs bring
  this action on behalf of themselves and the following proposed class:

                 All entities and individuals (including their assignees) who, at any time
                 from January 1, 2001 to the present, purchased a 1/12 fractional interest in
                 the Ritz-Carlton Aspen Highlands development.

          98.   Excluded from the proposed class are Marriott Vacations Worldwide Corporation;
  Marriott Ownership Resorts, Inc., d/b/a Marriott Vacation Club International; Ritz Carlton
  Development Company, Inc.; Ritz-Carlton Management Company, LLC; Cobalt Travel
  Company, LLC; Aspen Highlands Condominium Association, Inc.; Aspen Highlands Tourist
  Accommodation Board; The Lion & Crown Travel Co., LLC; any affiliate, parent, or subsidiary
  of any Defendant or Ritz Carlton Development Company, Inc.; any entity in which any
  Defendant or Ritz Carlton Development Company, Inc. has a controlling interest; any officer,
  director, or employee of any Defendant or Ritz Carlton Development Company, Inc.; any
  successor or assign of any Defendant or Ritz Carlton Development Company, Inc.; anyone
  employed by counsel in this action; any judge to whom this case is assigned, his or her spouse;
  and members of the judge’s staff.

          99.     Members of the proposed class are readily ascertainable because the class
  definition is based upon objective criteria.

         100. Numerosity. Defendants sold over 800 1/12 fractional interests in the Ritz-
  Carlton Aspen Highlands development from 2001 to the present. Members of the proposed class
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  are thus too numerous to practically join in a single action. Class members may be notified of the
  pendency of this action by mail, supplemented by published notice (if deemed necessary or
  appropriate by the Court).

         101. Commonality and Predominance. Common questions of law and fact exist as to
  all proposed class members and predominate over questions affecting only individual class
  members. These common questions include whether:

         a.      Defendants Association, RC Management, and Cobalt owed fiduciary duties to
                 Class Members;

         b.      Defendants Association, RC Management, and Cobalt were the agents and/or sub-
                 agents of Plaintiffs and Class Members as a result of certain written agreements
                 and/or by operation of law

         c.      Defendants, including MVW, MVCI, Association, RC Management and Cobalt,
                 aided and abetted any breaches of fiduciary duties owed to Class Members;

         d.      Defendants, including MVW, MVCI, Association RC Management and Cobalt
                 conspired with other Defendants to breach fiduciary duties owed to Class
                 Members;

         e.      Any breaches of fiduciary duty, or aiding and abetting such breaches, caused a
                 diminution in value of the Class Members’ Fractional Units and if so, by how
                 much;

         f.      Any Defendant was unjustly enriched by the conduct described herein, and if so,
                 by how much;

         g.      Plaintiffs and Class Members are entitled to damages, including compensatory or
                 statutory, and the amount of such damages;

         h.      Plaintiffs and Class Members are entitled to equitable relief, including restitution
                 or injunctive relief;

         i.      Plaintiffs and Class Members are entitled to an award of reasonable attorneys’
                 fees, pre-judgment and post-judgment interest, and/or costs of suit.

          102. Typicality. Plaintiffs’ claims are typical of the claims of the proposed class.
  Plaintiffs and the members of the proposed class all purchased 1/12 fractional interests in the
  Ritz-Carlton Aspen Highlands development, giving rise to substantially the same claims.

          103. Adequacy. Plaintiffs are adequate representatives of the proposed class because
  their interests do not conflict with the interests of the members of the proposed class they seeks
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  to represent. Plaintiffs have retained counsel competent and experienced in complex class action
  litigation, and will prosecute this action vigorously on class members’ behalf.

          104. Superiority. A class action is superior to other available means for the fair and
  efficient adjudication of this dispute. The injury suffered by each Class Member, while
  meaningful on an individual basis, is not of such magnitude as to make the prosecution of
  individual actions against Defendants economically feasible. Even if Class Members themselves
  could afford such individualized litigation, overseeing hundreds of individual actions would
  overburden the court system.. In addition to the burden and expense of managing many
  individual actions arising from Defendants’ conduct, individualized litigation presents a potential
  for inconsistent or contradictory judgments. Individualized litigation increases the delay and
  expense to all parties and the court system presented by the legal and factual issues of the case.
  By contrast, a class action presents far fewer management difficulties and provides the benefits
  of single adjudication, economy of scale, and comprehensive supervision by a single court.

         105.     In the alternative, the proposed class may be certified because:

         a.      the prosecution of separate actions by the individual members of the proposed
                 class would create a risk of inconsistent adjudications, which could establish
                 incompatible standards of conduct for Defendants;

         b.      the prosecution of individual actions could result in adjudications, which as a
                 practical matter, would be dispositive of the interests of non-party class members
                 or which would substantially impair their ability to protect their interests; and


                                       VI.     CAUSES OF ACTION

                                        FIRST CAUSE OF ACTION
              (Breach of Fiduciary Duty Against Association, RC Management, and Cobalt)

          106. Plaintiffs and Class Members incorporate by reference the allegations contained
  in the preceding and subsequent paragraphs, as if fully set forth in this cause of action.

          107. Defendants Association, RC Management, and Cobalt owed fiduciary duties to
  Plaintiffs and Class Members arising both out of their agency (or sub-agency) relationship with
  the Plaintiffs and Class Members, as well as by virtue of said Defendants’ high degree of control
  over Plaintiffs’ and Class Members’ Fractional Units and had a duty to act with the utmost good
  faith and loyalty in the best interests of Plaintiffs and Class Members.

          108. These Defendants breached this duty by advancing their own interests and the
  interests of third parties, including the interests of MVW and MVCI, at the expense of Plaintiffs’
  and Class Members’ interests, by agreeing to act and acting in a disloyal manner towards
  Plaintiffs and Class Members and by favoring the interests of the Defendants over the interests of
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  the Plaintiffs and Class Members through inclusion of the Ritz-Carlton Club, Aspen Highlands
  Fractional Plan and the Plaintiffs’ and Class Members’ Fractional Units in the Marriott Vacation
  Club affiliation/exchange/points program; and 2) agreeing not to and failing to enforce the
  Declaration, including the covenant against further timesharing, as set forth in paragraph 19.8 of
  the Declaration and/or by failing to act as a reasonably prudent fiduciary would have acted under
  the same or similar circumstances.

           109. Defendants Association and RC Management owed Plaintiffs and Class Members
  a fiduciary duty that required them to, among other things, enforce the restrictive covenants of
  the Declaration, including Section 19.8 thereof, as well as section 8.25 of the Declaration for
  Aspen Highlands Village. These Defendants failed to enforce Section 19.8, Section 8.25 and
  other provisions, thereby breaching their fiduciary duty, by: (1) failing to enforce these
  restrictive covenant against timesharing, as set forth in Section 19.8 and Section 8.25; and/or (2)
  imposing and/or conspiring with the other Defendants to impose the affiliation of the Marriott
  Vacation Club affiliation/exchange/points program with the Ritz-Carlton Club, Aspen Highlands
  Fractional Plan and the Plaintiffs’ and Class Members/ Fractional Units,

         110. Defendants Association, RC Management and Cobalt also owed Plaintiffs and
  Class Members a fiduciary duty of loyalty arising both out of their respective agency (or sub-
  agency) relationship with the Plaintiffs and Class Members, as well as by virtue of their high
  degree of control over Plaintiffs’ and Class Members’ Fractional Units and Cobalt’s exclusive
  control of Plaintiffs and Class Members’ rights under the appurtenant Ritz-Carlton Club
  Membership Program.

          111. The fiduciary duties described herein required that Defendants Association, RC
  Management and Cobalt act in the best interests of Plaintiffs and Class Members, which includes
  refraining from any actions that would unjustly enrich themselves or their affiliates at the
  expense of the value of the Fractional Units that Plaintiffs and Class Members purchased. These
  Defendants breached that duty by, inter alia, imposing, allowing and/or conspiring with the other
  Defendants to impose the affiliation of the Marriott Vacation Club affiliation/exchange/points
  program with the Ritz-Carlton Club, Aspen Highlands Fractional Plan and the Plaintiffs’ and
  Class Members/ Fractional Units.

          112. Defendants Association, RC Management and Cobalt breached these fiduciary
  duties by advancing their own interests and the interests of third parties, including the interests of
  MVW and MVCI, at the expense of Class Members’ interests, in allowing the affiliation of the
  Marriott Vacation Club affiliation/exchange/points program with the Ritz-Carlton Club, Aspen
  Highlands Fractional Plan and the Plaintiffs’ and Class Members/ Fractional Units.

        113. As a result of Defendants’ breach of fiduciary duties, Plaintiffs and Class
  Members suffered damages, including the destruction of the value in their fractional units, in an
  amount to be proven at trial.
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          114. As a result of Defendants breach of fiduciary duties, Defendants profited at
  Plaintiffs and Class Members’ expense. Defendants should be ordered to forfeit to Plaintiffs and
  Class Members all profits Defendants received as a result of the conduct described herein; and
  that a constructive trust be imposed upon said profits for the benefit of Plaintiffs and Class
  Members.

                                  SECOND CAUSE OF ACTION
            (Aiding and Abetting Breach of Fiduciary Duty Against All Defendants)

          115. Plaintiffs and Class Members incorporate by reference the allegations contained
  in the preceding, and subsequent paragraphs, as if fully set forth in this cause of action.

         116. Defendants and each of them, including MVW, MVCI and L & C aided and
  abetted the breaches of fiduciary duty by Defendants Association, RC Management and Cobalt.

          117. As described above, Association, RC Management, and Cobalt owed fiduciary
  duties to Plaintiffs and Class Members.

          118. As described above, Association, RC Management and Cobalt breached their
  fiduciary duties to Plaintiffs and Class members.

          119. Defendants, including MVW, MVCI and L & C knowingly aided and abetted and
  participated in the breaches of fiduciary duty by, inter alia, participating in further timesharing
  (prohibited by, inter alia, Section 19.8 of the Declaration of Condominium for Aspen Highlands
  Condominiums and Section 8.25 of the Declaration for Aspen Highlands Village) and by
  participating in, intermeddling, forcing and otherwise improperly influencing the decision by
  Cobalt and the other Defendants to affiliate the Marriott Vacation Club and with the Ritz Carlton
  Club, Aspen Highlands and with Plaintiffs’ and Class Members’ Fractional Units, despite
  promises made to Plaintiffs and Class Members that such affiliation would not occur without a
  vote by the Plaintiffs and Class Members.

          120. Defendants’ aiding and abetting the breach of fiduciary duties alleged herein has
  caused damage to Plaintiffs and Class Members, including the destruction of the value in their
  fractional units, in an amount to be proven at trial.

          121. As a result of Defendants aiding and abetting of the breach of fiduciary duties
  described herein, Defendants profited at Plaintiffs and Class Members’ expense. Defendants
  should be ordered to forfeit to Plaintiffs and Class Members all profits Defendants received as a
  result of the conduct described herein; and that a constructive trust be imposed upon said profits
  for the benefit of Plaintiffs and Class Members.
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                                    THIRD CAUSE OF ACTION
                               (Conspiracy Against All Defendants)

          122. Plaintiffs and Class Members incorporate by reference the allegations contained
  in the preceding and subsequent paragraphs, as if fully set forth in this cause of action.

        123. Defendants, and each of them, conspired with the remaining Defendants’ scheme
  to commit the wrongful and unlawful conduct alleged herein.

          124. As described in detail above, MVW, MVCI and L & C, in furtherance of their
  own financial gain, conspired with Defendants Association, RC Management and Cobalt in
  breaching their fiduciary duties by agreeing to the affiliation of the Ritz-Carlton Club, Aspen
  Highlands and Plaintiffs’ and Class Members’ Fractional Units with the Marriott Vacation Club,
  in violation of promises made by Defendants both in April 2013, in the Affiliation Agreement,
  and in the Declaration of Condominium at Aspen Highlands.

          125. All Defendants agreed on an object to be accomplished – the affiliation of the
  Ritz-Carlton Club, Aspen Highlands and Plaintiffs’ and Class Members’ Fractional Units with
  the Marriott Vacation Club. There was a meeting of the minds among all Defendants on that
  object. The Defendants, working together, accomplished the unlawful overt act of aiding and
  abetting the Association, RC Management, and/or Cobalt in breaching their fiduciary duties to
  Plaintiffs and Class Members by participating in said affiliation, in violation of promises made
  by Defendants in April 2013, the Affiliation Agreement, and the Declaration of Condominium at
  Aspen Highlands.

          126. As a proximate result, Plaintiffs and Class Members suffered damages, including
  the destruction of the value in their fractional units, in an amount to be proven at trial.

           127. As a result of Defendants conspiracy to breach of fiduciary duties described herein,
  Defendants profited at Plaintiffs and Class Members’ expense. Defendants should be ordered to
  forfeit to Plaintiffs and Class Members all profits Defendants received as a result of the conduct
  described herein; and that a constructive trust be imposed upon said profits for the benefit of
  Plaintiffs and Class Members.

          128. Plaintiffs and Class Members incorporate by reference the allegations contained
  in the preceding and subsequent paragraphs, as if fully set forth in this cause of action.

        129. Defendants acted in a wrongful manner, unfairly causing detriment to Plaintiffs
  and Class Members.

          130. Defendants, and each of them, conspired with and aided and abetted each other in
  achieving a unilaterally imposed affiliation with the Marriott Vacations Club, in order to rid
  themselves of a poor financial investment with the Ritz-Carlton Club, to increase the
  attractiveness, value and price of MVC timeshares sold by the MVW and MVCI through the
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  affiliation with the Ritz Carton Club Aspen Highlands, as well as to increase exchange fees
  payable to Cobalt and L & C, despite knowing that such an affiliation would devalue Class
  Members’ Fractional Units, while at the same time making Marriott Vacation Club Destinations
  more attractive, valuable and expensive, all to the unjust enrichment of Defendants, including but
  not limited to MVW, MVCI, Cobalt and L & C.

          131. Under these circumstances, it would be unjust for Defendants to retain the benefit
  and ill-gotten profits they made without commensurate compensation to Class Members. As
  such, Plaintiffs and Class Members request that the Court impose a constructive trust for the
  benefit of Plaintiffs and Class Members, on all profits Defendants received as a result of the
  conduct described herein.

                                       RESERVATION OF RIGHTS
         132. Plaintiffs and Class Members expressly reserve all rights accorded under
  Colorado law, including but not limited to the right to amend this pleading as may be necessary
  in light of new or additional factual information gathered throughout the disclosure and
  discovery phases of this litigation and the right to plead exemplary damages in accordance with
  C.R.S. § 13-21.102.
                                             JURY DEMAND
         Plaintiffs demand a trial by jury for all issues so triable.


                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs and Class Members pray for relief as follows:


         a.      That the Court determine that this action may be maintained as a class action
                 under Rules 23(a), 23(b)(2), and (b)(3) of the Colorado Rules of Civil Procedure,
                 that Plaintiffs be certified as class representatives and Plaintiffs’ counsel be
                 appointed as counsel for the Class;

         b.      That Plaintiffs and Class Members recover damages, as provided by law,
                 determined to have been sustained as to each of them;

         c.      That Defendants RC Management, Cobalt and L & C forfeit and repay to
                 Plaintiffs and Class Members all compensation paid to them by Plaintiffs and
                 Class Members;

         d.      That Defendants forfeit to Plaintiffs and Class Members all profits Defendants
                 received as a result of the conduct described herein; and that a constructive trust
                 be imposed upon said profits for the benefit of Plaintiffs and Class Members;
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         e.     That Plaintiffs and Class Members receive pre-judgment and post-judgment
                interest as allowed by law;

         f.     That Plaintiffs and Class Members recover their costs of the suit, and attorneys’
                fees as allowed by law; and

         g.     For all other relief allowed by law and equity.


  DATED this 26th day of April, 2016.

                                                      Respectfully submitted,


  LAW OFFICE OF MICHAEL J. REISER                    THE MATTHEW C. FERGUSON LAW FIRM, P.C.




  /s/ Michael J. Reiser____________                  __________________________________
  Michael J. Reiser, # 16161                         Matthew C. Ferguson, #25687
  961 Ygnacio Valley Road                            119 South Spring, Suite 201
  Walnut Creek, CA 94596                             Aspen, Colorado 81611
  Telephone: (925) 256-0400                          Telephone: (970) 925-6288
  Facsimile: (925) 476-0304                          Facsimile: (970) 925-2273
  E-mail: reiserlaw@gmail.com                        E-mail: matt@matthewfergusonlaw.com

  Michael L. Schrag (CA SBN 185832)                  Tyler R. Meade (CA SBN 160838)
  GIBBS LAW GROUP LLP                                (Motion for Pro Hac Vice Admission to be
  (Motion for Pro Hac Vice Admission to be Filed)    filed)
  1 Kaiser Plaza, Suite 1125                         THE MEADE FIRM P.C.
  Oakland, CA 94612                                  1816 Fifth Street
  Telephone (510) 350-9718                           Berkeley, CA 94710
  Facsimile: (510) 350-9701                          Telephone (510) 843-3670
  Telephone (510) 350-9718                           Facsimile: (510) 843-3679
  Facsimile: (510) 350-9701                          E-mail: tyler@meadefirm.com
  E-mail: mls@classlawgroup.com
                                                      Attorneys for Plaintiffs
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  Plaintiffs’ Addresses:

  RCHFU, LLC
  2323 Broadway
  Oakland, CA 94612

  Jeffrey A. Bayer and Gail L. Bayer
  2222 Arlington Avenue
  Birmingham, AL 35205

  Robert Buzzetti
  411 N.E 25th Avenue
  Fort Lauderdale, FL 33308

  Julie C. Canner
  2000 Town Center, Suite 1500
  Southfield, MI 48075

  Lee James Chimerakis and Theresa Ann Chimerakis
  3801 PGA Blvd. Suite 700
  Palm Beach Gardens, FL 33410

  Kevin Clare and Nancy Lynne Shute
  818 Sixth Street
  Manhattan Beach, CA 90266

  Toby L. Cone Trust and Toby L. Cone
  17 Morehouse Lane
  Norwalk, CT 06850

  Richard David and Shirley J. Davis
  107 Creek Side Lane
  Houston, TX 77024

  Carl Eichstaedt, III
  917 Highview Ave
  Manhattan Beach, CA 90266

  James Richard Farquhar and Jennifer Lucille Farquhar
  342 Condailly Street
  Gunnedan, NSW 2380
  Australia

  Koppelman Family Trust and Larry Koppelman, its trustee
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  135 Santo Tomas Lane
  Santa Barbara Ca. 93108.


  David Lancashire and Stephen Andrews
  5080 Spectrum Drive, Suite 320W
  Addison, TX 75001

  6415 Desco Dr.
  Dallas TX 75225

  David Lancashire
  6415 Desco Dr.
  Dallas TX 75225

  Bonnie Likover
  593 Piney Point
  Houston, TX 77024

  Craig Lipton
  1138 Taylor Street
  San Francisco, CA 94108

  Jeremy Lowell, D.D.S. and Lori Lowell
  2345 Juniper Hill Road
  Aspen, CO 81611

  Edward P. Meyerson and Andrea C. Meyerson
  420 20th Street North, Suite 1400
  Birmingham, AL 35203

  Jerry M. Nowell Trust and Jerry M. Nowell, its Trustee, and Dee Ann Davis Nowell Trust
  and Dee Ann Davis Nowell, its Trustee
  6511 East Monterosa Street
  Scottsdale, AZ 85251

  Thomas M. Prose Revocable Living Trust and Thomas M. Prose, M.D
  its Trustee
  21333 Haggerty Road, Suite 150
  Novi, MI 48375

  Casey M. Rogers and Courtney S. Rogers
  2115 Forest Drive East
  Charlotte, NC 28211
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  Robert A. Sklar Trust, and Robert A. Sklar , its Trustee
  26650 Woodlore Road
  Franklin, MI 48025

  D.Richard Stasney, M.D. and Susan P. Stasney
  6550 Fannin Street, Suite 2025
  Houston, TX 77030

  D. Richard Stasney, M.D.
  6550 Fannin Street, Suite 2025
  Houston, TX 77030

  TSE HOLDINGS, LLC
  601 Rio Grande Place #120
  Aspen, CO 81611

  Stephen Weinstein and Brenda Weinstein
  17069 Brookwood Drive
  Boca Raton FL, 33496

  Jack Zemer
  4330 La Jolla Village Dr., Suite 100
  San Diego, CA 92122

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                                     THE RITZ-CARLTON CLUB
                                     MEMBERSHIP PROGRAM

                                     AFFILIATION AGREEMENT




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                   THIS RlTZ-<:ARtTON CUUB MEMBERSHIP PROGRAM AFFILIATION AGREEMENT
            ("Agreement") fs made and entered this.         day of                    , 200_, by and among
            The Rfe-Carlton Travel Company, L.L.C., a Delaware limited liability company, whose address
           Is 6649 Westwoad Boulevarc) - Suite #500, Orlando, Florida 32821-8090, ("Program
           Manager"), The Rte-Carttan Development Company, Inc. ("Developer"); Aspen Highlands
           Condominium Association, Inc. ("Members Association"), and The Rltz-Carfton Management
           Company, L.L.C., g Delaware limited liability company, whose address is 8649 Weatwood
           Boulevard - Suit© #500, Orlando, Florida 32321-GQ9D ("Club Manager11)- The afopedascribed
           parties are sometimes Individually referred to as a "Party" or collectively as "Parties", and said
           terms shall alao indude respective successors and assigns of any Party or. Parties.
                                                   RECITAtS
                        WHEREAS, the Developer has developed a luxury, fractional ownership project
           known as The Rftz-Cartton Club, Aspen Highlands, located in Aspen, Colorado (the "Club"); and
                            WHEREAS, the Program'Manager has established a reservation system (the
           "Reservation System") and other related benefits and services known as The RJte-Cartton Club
           Membership Program (the "Membership Program") for the purpose of providing a moans for
           Members to reserve the use of accommodations and facJirtlns at the Club and other locations
           affiliated with the Membership Program, In accordance with and as restricted by the terms of
           the Membership Program as sat forth In this Agreement and the procedures governing
           reservations {the "Reservation Procedures11); and
                          WHEREAS, the Members Association is the not-for-profit owners' association for
           the Club with responsibility for the management and operation of the Club; and
                           WHEREAS, the Members Association has entered Into that certain property-
           management agreement with the Club Manager, which, among other things, provides for the
           delegation, to the extent permitted by law and not otherwise prohibited, of certain management
           and operations responsibilities to the Club Manager, and
                          WHEREAS, the Developer and the Members Association desire that the Club
           become affiliated with the Membership Program and that aach Owner (defined below) at the
           Club becama a Member (defined below) of t£» Membership Program with the ability to make
           use of the Reservation System (defined below) and the other benefits of the Membership
           Program, pursuantto the terms of thie Agreement and the Reservation Procedures; and
                         WHEREAS, the C(ub Manager: desires to have the Club become affiliated with
           the Membership Program and further desires to coordinate Its activities and perform services
           associated therewith In accordance with the provisions of ttils Agreement; and
                         WHEREAS, tha Program*' Manager desires that the Developer, the Members
          Association, the Club Manager and the Members acknowledge that the Program Manager shall
          have all of tha duties, obligations and responsibilities for the operation of the Reservation
          System regarding the use of Residences (defined below) at the Club as part of the Membership


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            Program fn accordance with the terms of thfs Agreement, tfie Reservation Procedures and
            applicable Jaw, so as to fully integrate Residences at the Qlub and their respective Members
            into the Membership Program,

                           NOW, THEREFORE, in considsration of ttis mutual covenants and obligations
            contained in this Agreemant, the parties hereby agree as follows:

                                                    AGREEMENT

                                          '• ftecltate and Qwnor Covenants.

                           1.1 Py execution of this Agreement, the Parties agree that the above radfals are
            true and correct and are hereby incorporated into this Agreement.

                            1.2 By acceptance of a conveyance of a Residence Interest (defined ba/ow) at
            (he Club subject to the Residence Documents (defined be|ow), which have been provldsd to or
            made available to each Member, eseh Member Is deemed to have consented to the terms and
            conditions of this Agreement and to have further consented to the appointment of the Members
            Association as the authorized representative to act on behalf of the Member with respect to thfl
            provisions of this Agreement. Wherever the Members Association acknowledgment, consent
            understanding and/or agreement is stated or Implied In thfa Agreement, such acknowledgment,
            consent, understanding andtor agreement shall be cfeemed to aloo have been given by the
            Board of Directors, if applicable, and each Member,


                                                   II. DafTnitlons.

                 Unless ths context requires a different meaning, the following tarros used In thla
           Agreement are defined as follows;

                   Agreement means this RtoCarttpn Club Membership Program Affiliation Agreement,
                  Allocation means the total number of .days each year, as established in the Residence
           Documents, far which a Member is entitled to gsa a Residence without Incurring a per diem
           charge. An Allocation may be further divided into Reserved Allocations (Defined below) and
           Unreserved Allocations {defined below),

                  Associate Member means a parson having privileges within the Membership Program
           through a separate category of membership other than that type of membership associated with
           ownership of a Residence Interest and mandatory affiliation with the Membership program

                   Associated Club means a location pursuant to which membership in the Membership
            Program Is made available to persons on a volqntaiy baste in accordance with auch terms end
           conditions as may be determined by the Program Manager and for which an agreement similar
           io the subject Agreement has bssn executed.                             , •
                Calendar means the annual oa/endar(s) promulgated by the Program Manager and
           made available to all Members which Identifies Seasons (defined below), the Reserved and




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            Unreserved Allocations, Reservation and Confirmation Periods and other pertinent information
            for each specific Club in a given year.

                  Club means a Member Club or Associated Club, or in wma cases the subjacf Club
            depending upon the context,

                 Club Manager means ths person engagad by the Developer, or as applicable, the
            Members Association, with responsibility far the management and operation of a particular
            Member Club.
                    Devatooer means the person who rms developed and created a plan for the shared
            usage by Members of Residences and common facilities at a particular Member Club and Is
            selling Residence Interests therein directly or through others.

                    Effective Data means the date when this Agreement hae been fufiy executed by all
            Parties,

                  Guest of the Program Manager meqns any person who lodges In a Residents et & Club
           on a space-available basis as an Invited guest of the Program Manager, who, except where
           otherwise specifically provided, shall be> treated as a guest,

                   Home Club means the particular Member Club In which the Member owns e Residence
           Interest.

                   Member means a pe^on (natural or otherwise) who, by virtue of ownership of a
           Residence interest, has membership privileges fn the Membership Program on a mandatory
           basis. Where morejhan ona person own a Residence Interest, then aqch persons shall
           designate at the time of purchase of a ResWenoa interest which person will be deemed to be
           the Member (cannot be more than one) for .purposes of reserving usage under the Resarvation
           Procedures, Where a Member is not an Individual, it shall designate at the time of purchase of
           a Residence Interest, which individual will be treated as the Individual Member for purposes of
           reserving usage under the Reservation Procedures, end such designated person will remain fn
           place until changed In accordance wfth the Residence Documents.

                    Members Association msar^s all of the Members, including the Developer as the owner
           of unsold Residence Interests, who own Residence Interests at a particular Member Ciub
           (cjefined below) and who are part of an association of Members, whether such association is
           Incorporated or unincorporated.
                   Member ciob means those locations, Including the subject Club, which became affiliated
           with tha Membership program from time to time pursuant to an agreement similar to this
           Agreement or otherwise, and for which membership In the Membership Program is a mandatory
           obligation of ownership of a Residence Interest For locations where membership In the
           Mamberahip Program may only be a condjtipn of ownership of Residence Interests In some
           Residences, the term "Member Club" shall only be deemad to refer to such Residences.
                                 Program or The Rltz-Carfton Club Membership Program means the
           program of benefits and services created and operated by the program Manager as they may
           exist from time to time, which Member? participate in by virtue of ownership of 3 Residence


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            Intorert or by other means established by the Program Manager, e.g., the benefits and services
            made available to Associate Mamtw.

                  Membership Program Documents means this Agreement, the Reservation Procedures
            and any other documents governing tha use and operation of the Membership Program, as
            may be amended from time to time,

                 Membership Program Dues shall consist of the costs and expenses of the Membership
           Program that are assessable to the Members Association each calendar year end become
           common charges,

                   Membership Program Marks means all present and fttfure trademarks or service marks,
           trade names, symbols, logos, slogans, dsslens, insignia, emblems, devices and distinctive
           designs, whether owned by or licensed to the program Manager or any of its affiliates or
           subsidiaries, and whether or not registered under the laws of the United States of America or
           any other country, which are used to identify the Membership Program and/or Program
           Manager or are othsrwisa used in the promotion anoVor operation of the Membership Program,
           including, but not limited to, the marRs idarrtlfjed on Exhibit A attached hereto, as may be
           amended from time to time by the Program Manager In its soie discretion.

                   Membership Program" Materials means those reservation services, promotional and/or
           informational materials developed by the Program Manager for the Membership Program from
           time to time.

                  Owner means the owner of record of a Residence Interest at trie subject Club and at
           other Member Clubs who is also a Member and is referred to herain as such.
                 Prqarain Manager means the person which manages and operates the Membarahlp
           Program.

                 Reservation System means ma method, means or system by which Members and, as
          applicable, Associate Members are required.fo compete among themselves In order to reserve
          thQ use of any Residences ai any Member Club and, as applicable, an Associated Club,

                 Reserved Allocation means the portion of the Allocation as established in the Residence
          Documents, for wtilch a Member Is assigned usage of a specific Residence or a specfflc type of
          Residence during a specific period or periods of time each year pursuant to the Calendar for a
          given Home Clut>
                  Residence means an apartment, villa, unit or other separate lodging accomrnodatlana
          avaflabls for occupancy at a Club as defined in the Residence Documents.

                  Residence Documgnla means those documents governing the use of Residences at a
          particular Home Club pureuant to whlcryhe .Dsvelopar has created Residence Interests owned
          or to be owned by Members such as, but not limited to, any declaration or other Instrument
          establishing the Resident* Interest conveyed to Owners, any Bylaws of the Members
          Association and any Rules and Regulations of the Members Association. .




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                   R^slcjance Interest means the particular real property Interest In or use rights a Member
           has at a Member Club.

                   Season means that time or times of the year set forth In the Calendar for each
           particular Club which reflects usage of a Residence consistent with the Residence Interest
           purchased by a Member as set forth In the Residence Documents.

                   Unreserved Allocation means th« days remaining each year from a Member's Allocation
           alter the number of days designated as Reserved Allocation aro deducted as established In the
           Residence Documents,

                            III, The Club'a Relationship wtfh the Memborahip Pro pram

                         3.1 By execution of this Agreement, the Parties agree to affiliate the Club with
           the Membership Program in accordance with the terms and conditions of the Membership
           Program Documents. During the term of this Agreement and a.ny renewal terms, the
           Developer, the Members Association and Club Manager shall cooperate fully with the Program
           Manager in the promotion and operation of the Membership Program at the Club.
                           3.2 The Developer, the Members Association and the Club Manager hereby
           acknowledge the following:
                                                 i
                                 a.    In accordance with the Resfdenca Documents, membership In the
           Membership Program Is an appurtenance, to and a condition of ownership of a Residence
           Interest at the Club.

                                  b.   The Program Manager manages the use of all Residences at the
           Club, and at all other Member Clubs, through a Reservation System operated under the name
           of The Rfa-Carfton Club Membership Program.

                                   c.      In the event the Program Manager affiliates other resorts with the
           Membership Program' In accordance with Article VII below, the Members at such locations will
           compete, through participation In -the Reservation System, with Members at all Member dubs,
           Including the subject Club, for reservations for any Residences at such Member Clubs thai are
           available after any priority given to Members at a particular Membar Club, if any.

                               d.     The relationship between the Members Association and the
          Program Manager and the operation of tha Membership Program on behalf of the Members at
          a particular Member Club constitutes, legitimate business of the Members Association.
                                 e.      The Membership Program Is not a legal entity nor an association
          of any kind, but Instead is a servlcs name given to the variety of reservation services and other
          benefits currently offered and the restrictions currently imposed through the Program Manager.
          Members do not acquire any Interest in the Membership Program per 39 ac part of their
          Rocidenoe interest. The services provided by the Program Manager do not Include Club
          Manager's site management and assessment collection duties for the subject Club, which are
          provided for and governed by the Club Manager's management agreement with Members
          Association,



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                             IV, Covenants of the Developer, Members Association,
                                               and Club Manager.

                      4,1 In connection with the Club, tha Developer, Members Association and Club
          Manager agree to do the following;
                                a,      Promptly submit or cause to be submitted to tha Program
           Manager copies of all fully executed and recorded daads or other evidence satisfactory to the
          Program Manager Indicating that a Residence Interest at the Club has been transferred to a
           Membar and setting forth that the Residence Interest Is subject to membership In the
          Mornbersnlp Program as an appurtenance to the Residence Interest such that tha Member's
          use of a Residence at the Club or other Member Club IB subject to tha terms and conditions of
          the Membership Program,

                                 b.    Fully and accurately deecribe the Membership Program to
          Members and prospective purchasers of Residence Interests at tno sutyect Club. The
          Developer, Members Association and Club Manager shall not In any way misrepresent tha
          Membership Program or tha Club's relationship with tha Program Manager to Members or
          prospective purchasers of Residence interests at the dub. The Developer, Members
          Association and Club Manager shall not amend, summarize, change or modify any Membership
          Program Materials without the prior express wrtttap consent of the Program Manager, and ehal)
          provide such Membership Program Materials, the Membership Program Documents and
          Residence pocumente, as amended, to Members upon their reasonable request and/or as
          requested by applicable law,,_
                              . .,t
                                 o.    Remain informed of new services and benefits provided by the
          Program Manager to Members,

                                d.      Comply with all applicable fedaralr state and local laws, as well as
          ajl applicable administrative rules, regulations snd orders in the conduct of their respective
          businesses as sucn conduct may affect the Club and the Membership Program.
                                                 c*
                        4.2 The Members Association agrees that at the tfme the Developer transfers
         control ofihe Cfub to the Members Assoofatjon as set forth in the Residence Documents, If any,
         the Ciub shall continue to b» affiliated with the Membership Program as a Member Club
         pursuant to tha provisions of the Membership Program Documents.

                         4.3 The Developer and Members Association represent and warrant to the
          Program Manager that (a) tha Developer owne or leases, or shall own or lease or have a
         contract for the purchase or lease prior to marketing or commencement of aales, the real estate
         and Improvements constituting tha Club; and (b) each Member at the Club shall acquire,
         possess and enjoy the right to use a Residence at the Club in accordance With tha restrictions
         contained In the applicable deed or othar Instrument pursuant to which a Member acquired a
         Residence Interest, the Residence Documents and the Membership Program Documents and
         in accordance with applicable law,

                         4.4 The Developer, Members Association and Club Manager agrea that during
         the farm of this Agreement, white the Club remains affiliated with the Membership Program as



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           a Member Club, all requests for reservations of Residences at the Club from Membra shall be
           processed through the Program Manager.
                          4.3 The Developer, Members Association and Club Manager agree to manage,
          operate and maintain the Club In a manner consistent with the standards of quality ami
          customer service established by tha Program Manager for all Member Clups from time to time,
          In this regard, tha Program Manager shall have the right to consent to the employment of any
          Club Manager engagao: by the Developer or Mambers Association to manage, operate and
          maintain the Club. The Developer, Members Association and Club Manager agree to
          immediately notify the Program Manager of any change In any fact or circumstance affecting
          the operation of the Club and/or the Membership Program with respect to the Club, including,
          but not limited to, the termination of any existing Club Manager, and they further agree that
          should the Program Manager's consent not be obtained and given to the termination and/or
          employment of a naw Club Manager that the Program Manager shall have the right to
          immediately terminate thie Agraament and the affiliation of the Club wfth the Membership
          Program,
                          V. Operation; and Marv^qprngnt of tho Reservation System.
                          5.1 By execution of .this Agreement, the Developer, Members Association and
          Club Manager hereby, acknowledge that the Program Manager has all of the rights and duties
          with regard to the reservation of use .rights by Members at the Club and at other Member Clubs
          or Associated Clubs,,for the purpose of'Implementinfl the reservation restrictions by virtue of
          and as outlined In the Membanshlp Program Documents. The Parties agree that the Program
          Managar's rights, dutfes and obligations as set forth In this Agreement are exclusive ta the
          Program Manager, and the Program Manager hereby agrees to perform all such duties and
          obligations.
                          5.2 the Program Manager shall have the right to adopt and amend those
          portions of the Membership Program Documents which the Program Manager, in Ma sole
          discretion, determines are nacess,ary or desirable to amend from tlms to time In order to
          operate and manage the Membership Program and/or Reservation System. The MamJwrshlp
          Program Documents will only be adopted or amended In a manner that In the Program
          Manager's reasonable business judgment will be for the principal purpose of Improving upon
          the quality «nd operation of the Membership Program and/or Reservation System and
          furthering tha collective enjoyment of tho Membership Program by present and future Members
          (indudlns Associate Members) as a whole. The pevelopsr, Members Association and Club
          Manager agree that each Member's use of a Residence at his or her Home Club and the
          partiofpation of each Member In the Membership Program shall be governed by the provisions
          of the Memijersh/p Program Documents a? adopted and amended from time to time by the
          Program Managar.
                         5.3 The Developer, Members Association and Club Manager agree that the
          Program Manager shall have the right pursuant to tho Reservation Procedures to reserve any
          unreserved use of Residences for its own promotional uss, rental for its own account or any
          other purpose as the program Manager, determines in its sole discretion. In return, tha
          Program Manager agrees to make available to the Members Association that portion of such
          unreserved usage verified by tha Clu^rManager as being reasonably necessary to perform
          additional maintenance of the Residences,


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                         5.4 The Developer, Members Association and Club Manager acknowladge and
          agree that all persona) and Intellectual property related to the Program Manager's operation of
          the Reservation System for Residences at the Club, Including, but not limited to, any and all
          computer hardware and software, Is and always shall be the persona] property of the Program
          Manager. In the event that this Agreement Is terminated, Irrespective of whether the
          termination is voluntary or involuntary and irrespective of tha cause of such termination, the
          Program Manager shall continue to own and control the Reservation System, subject tor and fn
          accordanca with applicable law.

                           5.5 By execution of this Agreement, the Developer, Members Association and
          Club Manager hereby aoKnowledga that the Program Managar is responsible for exercising all
          of the rights and duties associated with the affiliation of Residences at tho Club with any other
          program which provides use rights to Members at various locations through exchange of use
          rights or ottier means, and neither the Developer, Members Association nor Club Manager shall
          affiliate or attempt to affiliate such Residences with any such program other than as directed
          and approved by the Program Manager. The Program Manager shall have the right, bwt not the
          obligation, to manage all such use rights made through any such program on behalf of
          Members at the Club In coordination with the provider of such other usa prooram,

                             vl. AMeaamgntg. Collections and Transaction Costs.

                        6.1 The Program Manager shall have the responsibility for providing the
          Members Association and Club Manager with notice of its total proposed Membership Program
          Dues assessment for the Club far the learning operating year at least ninety (90) days prior to
          the Members Association's annual meeting. In accordance with the Residence Documents,
          costs and expenses Incurred by the Program Manager in connection with the operation of the
         Reservation System and the. delivery of other Membership Program services and benefits shall
         be assessed by the Program Manager as Membership Program Dues to each Member and/or
         Member Resort based upon a reasonably prorated formula, together with a reasonable fee to
         the Program Manager which will contain a reasonable profit factor. Any extraordinary or special
         costs and expenses fncurred by the Program Manager with respect to a given Member, group
         of Mernters or Member Club, may be asaesssd py the Program Manager only to the affected
         Member, group of Members or Member Resort as a portion of their Membership Program Dues,
         The Developer, Members Association, and Cfub Manager are not entitled to approve Increases
         fn Membership Program puss assessments'; however, the Program Manager agrees that In no
         event shall the amount of Membership Program Dues assessed to the Club per Member In a
         given calendar year exceed one hundred twenty percent (120%) of the Dusa assessed to the
         Club per Member in the previous calendar year (i.e., a twenty percent (20%) increase) on a
         cumulative basis (e.g., if there is no Increase (none year, than the increase in the following year
         may be forty percent (40%),

                        6.2 Ae provided in 'section 3,2a of Article III above, this Agrasment including
         the rights and obligations cat fortji herein, strait constitute an appurtenance to and obligation of
         ownership of a Residence Interest at the Club, The Members Association shall be IfaWe to the
         Program Manager for ail Membership Program Puea assessed hereunder; however, the
         Members Association may, In gccordance with the Residence Documents for the Club, assess
         and collect from each Member that portion of the Membership Program Dues attributable to
         such Member. The Members Association agrees that It shall pay to the Program Manager an
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               amount equal to all the Membership Program Dues assessed against Members for a given year
               by February 28* tor such oiher reasonable date established by the Program Manager) of that
               year, whether or not the Members Association has actually been successful In coflecifnfl such
               amount from the Members by such date.

                               5.3 The Developer, Members Association and Club Manager agree to use their
               best efforts to annually assess and collect all amount* due from Members for the maintenance
               and operation of the Club, as required by the Residence Documents. Afl Membership Program
               Dues owed to the Program Manager from Members shall be assessed and collected by the
               Members Association and the Club Manager with such amounts. Membership Program Dues
               shall be remitted to the Program Manafler by the Members Association on at least a weekly
               basis (or such other reasonable periodic basis established by the Program Manger) as
               collected; and in any event, pursuant to Section 6.2 above, shaft pa paid in full to the Club
               Manager by the Members Association no later than February 28th (or such other reasonable
               periodic basis established by the Program Manger) of each year.

                             3.4 The peveloper, Members Association and Club Manager acknowledge and
               agree that any Member making a reservation pursuant to the Reservation Procedures, other
               than a reservation by a Member to use a Residence at the Club as part of the Member's
               Reserved Allocation, shall be personally liable for any transaction charges assessed to the
               Member by the Program Manager from time to time as set forth in the Reservation Procedures.

                              6.5     A Member shall only pe permitted to use a reservation pursuant to the
               Reservation procedures ff all common assessments, taxes and otter charges attributable to tha
               applicable Residence Interest for the year for which the reservation is requested have been
               pa|d In toll. In the event the Members Association has not yet assessed such gmounts to
               become due, then, as a condition to acceptance by the Program Manager of the reservation
               request, the Member may be required to remit to the Program Manager an amount equal to the
               estimated amounts to become due, as determined by tha Program Manager after consuttation
              with the Club Manager. All such monies shall be held by the Program Manager for the benefit
               of the Members Association and/or the Member as required by applicable law. Any Interest
              earned on such funds will be paid to the Members Association, and. In no event, will It be due
               and payable to the Member. In the event the amount remitted to the Program Manager for the
              estimated amounts due fs In excess of the actual amounts due, the excess amount shall be
              returned to the Member or applied to f(ie following year's common assessments taxes, at the
               Program Manager's sate discretion. In the event the amount remitted to tha Program Manager
              is lass than the actual amounts due, the Member shall remain liable for the deficiency and In no
              event shall be forgiven for said deficiency. The Members Association agrees, however, not to
              exerdse any "lock-out" remedy ft may have pursuant to applicable law and/or the Residence
              Documents, against any Member with, respect to any deficiency which may exist between actual
              amounts assessed to the Member for a given calendar year, and th« estimated amounts for
              that calendar year actually collected by Program Manager and to the Members Association.

                                    VII. Other Member cjub and Associated Clubs.
                                              c
                              7,1      In the event the Program Manager affiliates one or more additional
              Member clubs or Associated Clubs with the Membership Program, the agreement executed to
              effect such affiliation shall, subject to applicable law, contain substantially the same terms and



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           conditions as this Agreement In all material respects under the circumstances as pertaining to
           each such additional Member Club or Associate Club.

                           7.2 The Parties agree that the Program Manager shall have the fallowing
           rights with respect to the addition of locations as Member Clubs or Associated Clubs:

                                   a.      The Program Manager may, in Its sole discretion, elect to affiliate
          other locations with the Membership Program as Member Clubs or Associated Clgbs from time
          to tima, Neither the Developer, Members Association, nor Club Manager shall bo entitled to
          participate in or consent to the Program Manager's decision In this regard. The Paveloper,
          Members Association and the Club Manager acknowledge and understand that In the event
          other locations ere affiliated with the Membership Program, r the addition of accommodations
          and facilities will result in the addition of new Member? and, who, subject to the Allocation fcr
          each respective Member, will compete with existing Members qnd/or Associate Members in
          making reservations for the use of available accommodations and facilities within the
          Membership Program, Including Residences at the subject Club.

                                   b.      The Program Manager may, In its sole discretion, create a
          separate membership program, develop individual resort properties as residential, transient or
          other uee, or enter into management agreements wHh resort properties without the approval of
          the Developer, Members Association or Club Manager; and the Club Manager is under no
          obligation to affiliate with the Membership Program any specific location.

                        7.3 The Parties agree that any delation of Member Cluba and/or Associated
          Clubs from the Membership Program shall b§ governed by the following:

                                a.     In the event of a deletion of any Member Club or Associated Club
          that results in accommodations or facilities of such Member Club or Assoq'ated Club being
          unavailable for use by Members, and/or, Associate Members, the Program Manager shall notify
          all Mambers and Associate Mernbers^wiUi confirmed reservations at the applicable Member
          Glut or Associated Club of such unavailability of use within thirty (30) days after the related
          event of casualty, eminent domain, action or automatic deletion,

                                 b.      The Program Manager may, In its sole discretion, delete en entire
          existing Member Club or Associated dub from the Membership Program dua to caauatty where
          any of the affected accommodations or facilities are not reconstructed or replaced. With
          respect to casualty, subject to applicable law the Parties further agree that;

                                      (1)   the Members Association and Club Manager shaft obtain
          and maintain casualty Insurance ^e to all aocommodqtfans, facilities and furnishings located
          upon th« Club In amounts required by applicable law and/or the Residence Documents The
          Program Manager shall not be liable for any costs associated with obtaining or maintaining
          such Insurance.

                                        (2)    any insuranca proceeds resulting from a casualty at the
          Club shall be applied to the replacement or acquisition of additional similar accommodations or
          facilities,




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                                             £3)     any replacement of accommodations or facilities of the
           Club due to casualty shall be made so as to provide Owners with an opportunity to enjoy a
           substantially similar experience as was available with trie deleted accommodations or facilities,
           as determined by the Program Manager in its sole discretion, In determining whether the
           replacement accommodations and facilities will provide a substantially similar experlen&e, the
           Program Manager shall consider all relevant factors, Including, but not limited to, some or all of
           the following; size, capacity, furnishings, maintenance costs, location (geographic, topographic
           and soenlo), demand and availability for use. The Program Manager reserves the right, In fts
           sole discretion, to reject replacement accommodations and facilities that do not meet 'As
           affiliation criteria including the high standards of quality and customer service established by the
           Program Manager for all Member Clubs or Associated Clubs from time to time.

                                  c.      Tha Program Manager may, In Its sole discretion, delete existing
           Member Clubs or Associated Clubs from the Membership Program where an eminent domain
           action has taksn place and where any of the affected accommodations or facilities are not
           replaced. With respect to any such eminent domain action, subject to applicable tew, the
           Parties further agree as follows:
                                               e
                                         (1)       in the event of a taking of all or a, portion of the
           accommodations and facilities of a Member Club or Associated Club by eminent domain, the
           Developer, Members Association and the Club Manager agree that any procoBtfs resulting from
           such taking shall ba applied, with the prior axpress written approval of the Program Manager, to
           the replacement or acquisition of additional simitar accommodations or facilities.

                                      (2)    any replacement of accommodations or facilities due to a
          taking by eminent domain shall ba made upon the same basis as replacements made due to
          oasuaHy as set forth above,      •    0


                                d.       The Program Manager may, in its sole discretion, delete an
          existing Member Club or Associated Club pursuant to the specific termination rights contained
          In the applicable agreamant pursuant to which trie location became affiliated with the
          Membership Program. A Member Club or Associated Club wilt also be automatically deleted
          from the Membership Program upon the expiration or esriier termination of the term of its
          fractional ownership plan, if any, and/or other almilar plan for shared ownership and/or use of
          Residences as set forth In the applicable Residence Documents,

                                e.     During any reconstruction or replacement parted, Members may
          temporarily compete for available accommodations on a greater than one-to-one purchaser to
          accommodation ratio, tf available, the Members Association and Club Manager shall acquire
          business Interruption Insurance for securing replacement aocommodatlona or facilities during
          any reconstruction, replacement or acquisition period.

                              f.    Tne Program Manager may delete an Associated CJub from the
          Membership Program at spy time, In its sole discretion in accordance with the terms 'of the
          applicable agreement pursuant to which, tha Associated Club became affiliated w/th the
          Membsnshfp Program,
                             g.    In the event thai a Membar Club or Associated Club [s deleted
          from the Mombership Program, all Mambars or Associate Members who own Residence



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           Interests at the deleted location will also bs deleted from the Membership Program and will not
           be able to make reservations at other Member Clubs or Associated Clubs; however, they will
           continue to have reservation rights in the location where he or she owns a Reeidance Interest In
           accordance with the terms of the Residence Documents.

                           7.4 While the Program Manager does not currently Intend to substitute new
           locations for existing M«nfe»r Clubs, the Program Manager reserves the right to exercise
           substitution rights, from time to time, in accordance with applicable law.

                           7.5 The Developer, Members Association and Club Manager understand and
          acknowledge that the accommodations and facilities of Associated Clubs are voluntarily
          affiliated with the Membership Program and there is no guarantee that accommodations and
          facilities at an Associated Club will ever be available for reservation or use by Members.

                     VIM. Mambershlp Program Marks and Membership Program Material?.

                          8,1. Trie Program Manager and Its affiliates and subsidiaries are ths owners of
          all rights in tho Membership Program Marks, Neither the Members Association nor the
          Members have any. license to uco or other Interest in the Membership Program Marks. The
          Developer and/or the Club Manager may identify the Club as a Ritz-Carfton Club location and
          part of the Membership Program until auch time as the Program Manager, in Its sole discretion,
          determines otherwise.                  K


                         8.2 The Developer, Members Association and Club Manager acknowledge that:

                                a.     the Program Manager has the right to exclude others from using
          the Membership Program Marks a.nd Mernbarshlp Program Materials and any variant or
          combination of said .marks or materials dotermlned by ths Program Manager to be confusingly
          similar to the Membership Program Marks or Membership Program Materials;

                             b.   the Program Manager has ths right to control the use of the
          Membership Program Marks and Membership Program Materials In connection with the
          Membership Program; and

                               c.      all uses of the^ambership Program Marks and Membership
          Program Materials Inure exclusively to the benefit of the Program Manager.

                         5.3 The Developer and Club Manager may use the Membership Program
           Marka and Membership Program Materials only with prior written approval from the Program
           Manager and In connection with any materials furnished from time to time by the Program
           Manager and only far the sole purpose of promoting the Membsrship Program- Said Parties
          shall comply with ail requests of the Program Manager with respect to the appearance and use
          of the Membership Program Marks and Membership Program Materials. Said Parties agree to
          promptly submft one copy of all printed material which will use any of the Membership Program
          Marks or all or a portion of any Membership Program Materials to the Program Manager for
          Inspection and approval In advance of use, which approval may be withheld or conditioned by
          the Program Manager in Its sole and absolute.dlscretfcn,




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                   8,4     In the event Program Manager, In Its sole discretion, provides written notice to
            the Developer and/or the Club Manager that it shall no longer be permitted to use Membership
            Program Marks, each Party notified shall Immediately take steps to caaaa all USB of the
            marks(s) Identified in Program Manager's notice and shall:

                                 (a)    Immediately remove all signs containing the Membership Program
            Marks from the Club, and from any off-alte location;

                                   (b)    Immediately destroy all stat/onery, descriptive literature or printed
            or written matter bearing the Membership Program Marks;

                                 (c)      Immediately cease and desist from using Ihe Membership
            Program Marks (b'r any variation! thereof) orally or In writing;

                                   (d)    take Immediate action to effect changes to any and all documents
            of the Davdopar and/or Ihe Club Manager that reflect the Membership Program Martc(s) 10
            eliminate the use of such mark(s) as soon as passible, but in any event, wltiiln three (3)
            months.
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                    The provisions of thfe Section M mgy be enforced by any remedy at law or equity,
            including mandatory and/or prohibitory injunctions by the Program Manager against the
            Members Association, the Members, tha Devejoper and/or Management Company,
                            . ... •.'    •, ••
                                       IX. Torni. Earlv Termination and Remedies.


                            9.1. This Agreement shall nave an Initial term commencing on the Effective
            Date and terminating fivo (5) years from December 31ri of the first year that the Club Is
            operational and Residences are available for occupancy for any portion of the year, Upon the
            expiration of said Initial five (5) yaar period, this Agreement ehgll automatically renew for
            successive periods of five (5) years each until or unless terminated by a vote of not lass than
            61% of the votes entitled to be casf by Members in the Members Association. Under no
            circumstances shall the Members Association be authorized to terminate this Agreement
            without such vote. Program Manager may terminate this Agreement at the end of the initial
            term or any renewal term by giving written notice to the Members Association no later than
            ninety (90) days prior to the end of any such initial term or subsequent renewal term.
            Notwithstanding the foregoing, this Agreement may otherwise be terminated as provided for
            below In this Article IX.

                        9.2 Termination of this Agreement and tha club no longer bafng affiliated with
           tha Membership Program can occur as follows:

                                  *.        This Agreement will automatically terminate upon:

                                         (i)     th* decoration of bankruptcy or Insolvency of the
           Developer, Members Association or pub Manager according to law or If any general
           assignment shall be matte of the Developer's, Members Association's or Club Manager^
           property for the benefit of creditoRs; provided, however, the program Manager shall have the



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                       right In Its sols discretion, to continue the Agreemant ae to the Parties that have not been
                       declared bankrupt or insolvent or made tha subject of a general asslgnmsnt far the benefit of
                       creditors or during the pendency of sqcri actions; or

                                                                            (2)      the deletion of the Club In accordance with Article Vll
                      above.

                                                            b,              The Parties may terminate this Agreement;

                                                   (1)     by the mutual written agreement of all of the Parties,
                      effective upon the date agreed to-by all Parties; or

                                                      (2)     In the event of a material breach of any of the terms,
                      conditions, covenants, representations or warranties contained [n this Agraarrmnt without the
                      breaching Party curing the asserted breach to tha reasonable satisfaction of the Party giving
                      such notlcs within thirty (30) days of the data of written notice to tfia breaching Party stattng the
                      grounds for such termlnatlon;_or

                                                     (3)    In the event the Members Association votes to terminate
                      this Agreement pursuant to a majority vote of the non-Developer Members to be conducted
                      avary five (5) years at a meeting of the Members Association at which (notwithstanding any
                      provision of the Bylaws to the contrary) frfty percent (50%) or mare of the votino power of the
                      Members Association residing In Owners other than Developer Is present, in persqn or by
                      proxy. Any such meeting of the Members Association shall be considered a special meeting of
                      the Members Association and shall only be held of requested by the Board or tha Owners, as
                      provWed for In the Bylaws of the Members Association. Any special meeting of the Members
                      Association called to consider ;a termination- of thl» Agreement muat be held wfthln thirty (30)
                      days of any five (5) year anniversary data of the original recording of the Declaration.


                                           c.      The Program Manager may terminate or suspend its participation
                      in this Agreement, Immediately upon written notice to the Developer, Members Association and
                      Club Manager, In the event that the Program Manager determines, in its sola discretion, that
                      the Developer, Members Association and/or Clyb Manager have failed to manage, operate and
                      maintain the Club in a manner consistent with the standards of quality and customer service
                      established by the Ffrogram Manager from time to time, Including, but not limited to, tha
                      employment or termination by the Developer and/or Members Aasocfatlpn of a management
                      company without the Program Manager's consent, aa addraased at Section 4,5 of Artlde IV
                      herelnabove.
                                     9.3 Any Party's exercise,of fts right to terminate pursuant to this Agreement shall
                      in no way limit or impair Its right to seej^other legal cr equitable remedies In connection with a
                      breach by any other Party. . .,            . ,- .
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                                              5.4 Upon termination or of this Agreement, tha following events shall oocun

                                           a.     The Peveioper..shall Immadlately discontinue the offering of
                      Residence Interests with appurtenant memberships in the Membsrahlp Program to prospective
                      purchasers at the Club.


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                                         b.    The Developer. Members Association and Club Manager shall
                Immediately cease using and thereafter abstain from using all the Membership Program Marks
                and any name or mark similar thereto and all Membership Program Materials including, but not
                limited to, all of the Program Manager's personal and Intellectual property utilized In connection
                with the operation and management of the Membership Program, except as specifically
                authorized by this Agreement. No property right in or privilege to use the Membership Program
                Marks or Membership Program Materials is created by this Agreement that will extend beyond
                the expiration or termination of this Agreement, except as specifically permitted by this
                Agreement Failure to abstain from using the Membership Program Marks or Membership
                Program Materials following termination of this Agreement shall entitle the Program Manager to
                receive liquidated damages from the offending Party In the amount of One Thousand Dollars
                ($1,000) per day In addition to any other Injunctive or equitable relief available to the Program
                Manager,

                                       c.     The Program Manager shall honor all reservations and reserva-
                tion privileges of Members or Associate Members from other Member Clubs or Associated
                Cluba raservlng time at the subject Club that are confirmed or accrued prior to termination or
                suspension and shall honor all reservations and reservation privileges of Owners at the Club
                reserving time at other Member Clubs 4>r Associated Clubs that are confirmed or accrued prior
                to termination of this Agreement. The -Developer, Members Association and Club Manager
                shall honor all reservations and reservation p.rivllages of Members or Associate Members from
                other Member Clubs or Associated Clubs reserving time at tha Club that are confirmed or
                accrued prior to termination- This requirement shall survive the termination of this Agreement,

                                9.5 In the evsnt that tha:Deve|oper( Members Assadatlon and/or Club
                fails to perform its duties under this Agreement to the extent that a Member, Associate Member
                or other authorized person with a confirmed reservation at the Resort is wrongfully denied
                access to a Residence at the subject Club, than the Developer, Members Association and/or
                Club Manager shall immediately correct euch denial of access at its own expanse.

                               9.6 Each Party acknowledges that, unless specifically stated otherwise in this
               Agreement, damages cannot adequately compensate the other Parties for a breach of any of
               the provisions of this Agreement, and therefore ths Parties agree that each Party shall be
               entitled to a remedy of specific performance .or Ir^unctlve relief, as appropriate, In the event of a
               breach or threatened breach of any suc.h provisjonG by any other Party, In addition to any othar
               appropriate legal or equitable remedies.:

                               9.7 Each Party agrees to Indemnify, defend and hold harmless the other Parties
               from and against any and alt claims, demands, obligations, deficiencies, Judgments, damages,
               suits, losses, penalties, expenses, costs (including attorneys1 fees at the trial and appellate
               levels) and liabilities of. any Kind, type or nature whatsoever directly or IndirecUy resulting from.
               arising out of or in connection with tills Agreement or the operation of Its business as a result of
               any acts or omissions by It or any of Its directors, officers, partners, employees, repre-
               sentatives, agents, brokers, salesmen or associates.
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                             10.1 This Agreement shall become effective on me date ft Is executed by all
            Parties and shall continue in force and effect until its scheduled termination or until such tlmo as
            It is otherwise terminated pursuant to Article IX above.

                            10.2 The program Manager reserves the right, and the Developer, Members
           Association and Out) Manager acknowledge the Program Manager's right, ta assign Its rights
           and duties under this Agreement No other Party may assign its rights and duties under this
           Agreement without the prior written consent of the Program Manager, which It may give or
           withhold In fts sole discretion.

                           10.3 Except as may be otherwise provided herein, any notice, demand, request,
           consent, approval or communication under.this Agreement shall be in writing and shall be
           deemed duly given or made: (a) when deposited, postage prepaid, in the United States mall,
           certified or registered mall with a return receipt requested, addressed to tha Party at the
           addreeo shown above; (b) when delivered personally to the Party at the address specified
           above; or (c) when deposited wtth a reliable overnight courier service, fee prepaid, with receipt
           of confirmation requested, addressed to the Party as specified above. A Party may designate a
           different address for receiving notices hereunder by giving notice thereof to the other Parties
           pursuant to this Section 10.3.

                          10.4 The headings in this Agreement are intended solely for convenience of
           reference and shall be given no effect in the construction or interpretation of this Agreement
           All references In this Agreement to particular recitals, articles, sections and subsections are
           references to recitals, articles, sections and subsections of this Agreement,
                                    i
                           10.6 In the event that any clause or provision of this Agreement Is held to be
           invalid by any court of competent jurisdiction... ,tha Invalidity of such clause or provision shall not
           effect any other provision of this Agreement Failure of any Party to insist on strict compliance
           with ths provisions of this Agreement shall not constitute waiver of that Party's right to demand
           later compliance wfth the same or other provisions of this Agreement.

                          10.6 This Agreement constitutes the entire understanding and agreement
           among the parlies concerning ,lhe subject matter of this Agreement AH understandings
           between the Parties are merged, into this Agreement, and there are no representations,
           warranties, covenants, obligations, understandings or agreements, oral or otherwise, in relation
           thereto between the Parties other than those Incorporated herein.

                            10.7 This Agreement shall be governed by, and shall be construed fn
           accordance with, the laws of the State of Florida. THE PARTIES HEREBY WAIVE ANY
           RIGHT TOBY MAY HAVE UNDER ANY APPLICABLE LAW TO A TRIAL PY JURY WITH
           RESPECT TO ANY SUIT OR LEGAL ACTION WHICH MAY BE COMMENCED BY OR
           AGAINST THE OTHER CONCERNING THE INTERPRETATION, CONSTRUCTION,
           VALIDITY, ENFORCEMENT OR PERFORMANCE OF THIS AGREEMENT OR ANY OTHER
           AGREEMENT OR INSTRUMENT EXECUTED IN CONNECTION WITH THIS AGREEMENT.
           In the event any such suit or logal action is commenced by either Party, the other Party hereby
           agrees, consents and submits to the persona) Jurisdiction of the Circuit Court of the Ninth
           Judicial Circuit of Florida in and for Orange County, Florida, with respect to such suit or legal
           action, and each Party also hereby consents and submits to and agrees that venue In any such
           suit or logal action is proper In said court and county, and each Party hereby waives any and all



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             personal rights under applicable law or In equity to object to the jurisdiction and venue In said
             court and county. Such jurisdiction and venue shall be exclusive of any other Jurisdiction and
             venue.
                             10.8 In tha event any Party initiates gctfon to enforce its rights hereunder, the
             prevailing Party shall recover from tha non-prevailing Party Its reasonable expenses, court costs
             and reasonable attorneys1 fees, whether suit be brought or not, As used herein, expenses,
             court costs and attorneys' fees Include expenses, court costs and attorneys' fees incurred In
             any appellate proceeding. AJF such expenses shall bear Interest at the highest rate Allowable
             under the laws of tha Stats of Florida from the date the prevailing Party pays such expenses
             until the date trie non-prevailing Party repays.sMch expenses. Expenses Incurred In enforcing
             this Section 10.8 shall be covered by this provision,
                             10.9 This Agreement and all of Its provisions shall be binding upon and Inure to
             the benefit of the Parties and ihelr successors and permitted assigns, In no event shall the
             terms and conditions of this Agreement be deemed In any way to Inure to the benefit of any
             person or party not expressly made a Party hereto except for successors or permitted assigns
             to Parties hereto.

                           IN WITNESS WHEREOF, the parties have caused this Agreement to be
             executed as of the date set forth above.

             WITNESSES                                                   PROGRAM MANAGER:

                                                                         The Ritz-Carjton Travel Company, L.u.c
                                                                         a Delaware limited liability company

              ^^g        -*w.                                            By: The RftoCartton Development
                                                                         Company, Inc., Sole Member

                                                                        By;
                                                                        Print Name;
                                                                        As Its: Vice President                7
                                                                                                     /v
             WITNESSES                                                  DEVELOPER

                                                                        The Rftz-Cartt                     ment Company,
                                                                        Inc.


                                                                        Print Name;           W
                                                                        As Its:           Vice President




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                                                                            ASSOCIATION:
        WITNESSES
                                                                  Aspen Highlands Condominium
                                                                  Association. Inc.

                                                                  By:
                                                                  Print Name:
                                                                  As its;




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        WITNESSES                                                     CLUB MANAGER;

                                                                      the Ritz-Carlton Club Management
                                                                      Company, L.L.C.
                                                                      a Delaware limited liability company

                                                                      By: The Rltz-Cartton Club Devalopmsnt
                                                                      Company, Inc., Sole Member


                                                                      By:
                                                                      Print N              F. Soalo
                                                                      As Its:       Vice President




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       In the past several years wo evolved The Ritz-Carlton Destination Club for the greater enjoyment
       of our Members. As you are aware, three years ago, we launched a new product offering known
       as Portfolio, providing a flexible membership option which allows Members to enjoy participating
       in Ritz-Carlton Destination Club locations within the Portfolio program. As a result of the Portfolio
       program offering, we also extended Home Club Members the opportunity to enjoy more flexible
       travel by exchanging their allocated time for points through The Lion & Crown Exchange
       Company.

       In response to Member feedback, we sought ways to provide exceptional usability through a
      variety of destinations and experiences. As a result, we have some changes to share with you.
      Not surprisingly, with the decline of the economic climate, some adjustments had to be made but
      in other areas we are continuing to advance forward. Rest assured that as we advance forward,
      nothing about your Home Club Membership has changed,

      After careful consideration, The Ritz-Carlton Destination Club has made the strategic business
      decision to remove The Ritz-Carlton brand from The Abaco Club at Winding Bay. The
      unforeseen deterioration of and uncertainty surrounding global economic conditions have not only
      rendered this location unsustainable from a business perspective, but have limited the prospects
      of any enhancements in the near term.

      On July 10, 2012, The Ritz-Carlton Management Company, LLC, as manager of the property
      known as The Rilz-Carlton Club, Kapalua Bay, exercised its right to issue a default notice
      pursuant to its management agreement with the Kapalua Bay Vacation Owners Association, As
      a result, it is the intention of The Ritz-Carlton Management Company, LLC to terminate its
      management agreement for The Ritz-Carlton Club, Kapalua Bay and to remove The Ritz-Carlton
      brand from the property at the conclusion of the applicable notice period, with termination to be
      effective on September 10, 2012 at 11:59 P.M. HST. Concurrently with the termination of the
      management agreement for The Ritz-Carlton Club, Kapalua Bay, the Kapalua Bay Condominium
      will no longer be a Ritz-Carlton Destination Club location. If you have future reservations or
      waitlist requests for Kapalua Bay, Member Services is available to assist you with making •
      alternate arrangements.

      While we understand that it may be disappointing not having he Abaco Club at Winding Bay or
      Kapalua Bay Condominium within the collection of Ritz-Carlton Destination Club locations, we
      have determined new ways to provide a variety of experiences

     Based on The Ritz-Carlton Destination Club Member feedback, additional benefits and
     experiences will be available through a new affiliation with Marriott Vacation Club Destinations.
     This affiliation will enable Ritz-Carlton Destination Club Members to expand their options.

     Affiliation win extend you the opportunity to deposit your Reserved Allocation on an annual basis
     Once you deposit, the following      be available for you

             Secure available Ritz-Carlton Destination Club locations while enjoying the ability to
             choose the appropriate size accommodation and length of travel
             Secure any of the 5 worldwide Marriott Vacation Club Resorts, including Europe
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               Bank unused points into the following year
               Borrow points from the coming year
               Book any experience in the Explorer Collection which includes over 100 experiences to
               enjoy. The Explorer Collection will replace the current affiliation with Abercrornbie & Kent
               Residence Club; however, the new offering will include fully escorted tours, upscale
               cruises, special events and packages


       To clarify, nothing about tiie Home Club Membership that you purchased has changed. If you
       wish to continue to use your Membership as you do today, you maintain the opportunity to:
            » Reserve your allocated time
            o     Exchange your Reserved Allocation with fellow I lome Club Members via the existing
                 The Cobalt Travel Company, LLC
            °     Retain the ability to purchase additional Space Available Time at the prevailing per diem
                 fee
           "      Continue to enjoy The Ritz-Carlton 2012 Hotel Reservation Service

       Initially access to the enhancements made available through the new affiliation with Marriott
       Vacation Club Destinations will be complimentary and easily added to your Membership for you
       to enjoy. We encourage you to participate, as we feel that you will be delighted with the
       additional destinations and countless experiential excursions available to you when you choose
       not to visit your I lome Club during your allocated time.




      Eveleen Babich
      General Manager
      The Cobalt Travel Company, LLC
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                  < ; J U v y r i V \ V C O i N [ X ) M J N H J M O W N K K S ASSOCIATION, I N C .
                                  THE-; N E I G H B O R H O O D ASSOCIATION, INC.
                                                            6900 Great Bay
                                                       St. Thomas, USVI, OOM2




                            Re.




                               I'irsI :IIK| f o r e m o s l , we vv.inl om Members lo know that (he Si. Thomas Club Hoaicl
     I ' j c s u l e n i s received notice of t h i s I c i t e . r durinr, a ( o n f e i e n c e i all with t h e RCDC and [he K i l z -
     Oirlloji M a n a j H - i n c n i O x n p a n y ( l ! JU ' , M ( ' " ) , only one (lay before it was .sent to all RCDC M c i n l ) L ' J K .
     We were noi SM\n a n y a d d i t i o n a l a d v a n c e i n d i c a t i o n or n o l i c e of the inimine.nl t c i n i i n a t i o n of (lie 1
     K a [ - > a l u a hay (;Ylaui) ("kih or t h e l e i i n n i a t i( H I of t h e Ah;ico ( ' I n h at Windirij' p May (Bnhainas) f r o m t h e




                                   W h i l e t h i s d e v e l o p m e n i ih disconcerting, we believe t h e sitnaLion in these t w o c l u b s
     is s u b s t a n t i a l l y d i f f e r e n t irom o u i s in St. 'Thomas. We believe t h a t a majority of the whole
     residences and ( r a c l i o n a l i n t e r e s t s <u K a p a l u a were never sold and instead remained the
     r e s p o n s i b i l i t y of the D e v e l o p e r          We understand l l i a t the Abaco property, which was not fully
     developed, was also undersold and u n d e r u t i l i / c d .

                            All t h e Resident es in Si. 'I'homas have now been sold and rhe l)cve]o[)inent
    Company letanis only approximately 75 inlcrcsls - a little more than 6 physical icsidenccs ~ - in the'
    S L i i t e s I ; or yeai's the Si ' I ' h n n n i s ( i l u b has enjoyed the highest occupancy of any of (he R ( J ) ( "
    l o c a t i o n s . Also, w i l h K:ipahi.i and A b a < o no longer part o( the K i t / ( ^ a r l i o n ( i l u b system, the St.
    'Thomas c l u b i c i n a i n i ; Hie only beach l o c a t i o n in t h e Kiu-Carltoii J ^ e s t i n f i t i o n O l u b .
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       Paec 2




      and c o l l e c t i v e l y chose in characlenxe these mailers as ( l i e "evolution oi the RCOC brand." No
      in] nn from your boards of Ui reel or:, or, to our knowledge, any of t h e oilier RC] )C Club Hoards was
      ever s o l i c i t e d by these c o m p a n i e s while the) 1 d e t e r m i n e d these s i j u i l l i c a n l changes to t h i 1 RCDC
      system in which we all own a iMcmbciship Interest.

                         Pel us l a k e dm, o p p o r t u n i t y to a s s u i c you t h a i your Hoards of D n c e i o t s are not
      ukim; this "evolution" notice liglilly f-roin the RCOC Parties. Yv'e are currently evaluating the
      systemic changes they h a \ c o m m u n i c a t e d in their l e t t e r as to how it will a f l c c t our ( H u b and,
      together w i t h a!! of t h e oilier remaining K O X ' ( Hub Assoeiauon.s, assessing vhc impact on I he entire
      R(^)C^ .system. However we arc not in possession of any o t h e r written material describing the
      "systcmu i-volution" and its impact on our interests.

                      VX'c have been in f r c ' c j u e n t c o m m u n i c a t i o n with each other and the Presidents uf the
      other KC'OC C ^ l u b s since this announcement.. Our gencrnl but prdtininary c;onsensns rqvirdinj^ the
      "evolution" ot t h e H(""D(^ brand as described in Rvuletn l^abich's letter of J u l y 17'1' is t h a t we arc
      concerned that t h i s may not be an e n h a n u ' i n e i H to our Memberships' Interests. We a l l , as members,
      invested in the K i t / Curium brand!

                           We plan lo have more e x t e n s i v e , detailed communication with the RCI )C Panic's
      aboul this m a t t e r and will try to s o i l out t h e many issues involved in t h i s "evolution." In I lie
      meantime., your Jioajxis tifjjjrccinrs inviu; you to siibmit_your c()iiiineiii,s ? (jiu's^ns and/or
      concerns regarding: _lhis n i a t t c r .t^J>()u_r_ci,siih()iiKiK(rt}uo!.t'.ojTLJiji__sc)c)n._;is 42.ussib!c,_as _\ye
      \yo_ii Id .J.ikc as nuH-l_i_McnTbt:r input a^_.j)osj;i

                     OIKX the IVjard ot Directors have had a chance 10 luilher explore and e v a l u a t e the
     "evolution" siluation with the RCi)C Parties and the other remaining RCDC (aub Associations, we
     will communicate back to our Membership. Please rest assured t h a t your Board will hold the RCDC
     Parties accountable lo preserve, m:\iinain, and c o n t i n u a l l y enhance, the Rif./-Carlloii Destination
     C^luh product they developed and sold lo all of us.

                   We t h a n k you (or your support, and \velconie. your imiTieciiatc injrjut_on tliis
     matter. We take this situati(in seriously and are workins^ diligently to1 protect the interests of our
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                                      |olm Doyle, l'.si|.       President


                                      Sieve Rcclan              V i c e President


                                      Abbey Chun;',             Treasurer


                                      'I'lioinas ). Doyle jr.   Director




                                      Sal C.uirona

                                      ( lino ( )rsini           Vice I'fcsiclenl tv: Treasurer


                                      ! leni y Troy             Secretary


                                      Marc Iktesh, Us(|.        Director-


                                      Ken ( j > o k c           Director
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       We are w r i t i n g to provide you further i n f o r m a t i o n regarding certain changes announced on
       J u l y 17th to (he Lion & Crown Travel Company and The- Rit/.-Carlton Destination Club


      l-'irst of a l l , we would like to assure you that nothing that you originally purchased has
      changed or will change as a result of the announcement mentioned above. As a Member of
      The Rit/,~Carlton Destination Club, you will c o n t i n u e to enjoy at your I Ionic Club the service
      levels that you have come to expect from The Rit/.-Carllon brand. Rest assured that our other
      Rif/,-CarlU>n Club loeations will also continue to deliver on these exacting brand standards.

      Access to the Home Club product you purchased a deeded interest in a fixed unit with a
      rotating calendar along with the exchange and per diem programs in your Home Club and
      sister Rit/-Carlton Clubs remain unchanged. A d d i t i o n a l l y , The Hotel Reservation Service
      remains in place with no change, subject to annual review and approval of The Rit/.-Carllon
      I lotel Company in accordance w i t h past practice.

      We also would l i k e to make it clear that we value yon as a Member and look forward to
      providing the world-class service you have come to expect for your member services needs
      through our dedicated Rit/,-Carlton Club Member Services staff and The Ritz-Carlton Mote!
      Company during your C l u b stays for many years to conic.

      Hascd on prior Member feedback, The Ritz-Carlton Destination Club team has been exploring
      ways to broaden the experiences available to all Ritz-Carlton Destination (.'lub Members
      through external exchange affiliations. As you may know, our first outside affiliation was
      with Abcrcrombie & ICent which began over two years ago. While the experiences thai
      affiliation provided were attractive,-the imbalance in size between the two groups proved to
      be too great and ultimately led to the cancellation of that arrangement.

      The affiliation option announced in our J u l y 17. 2012 letter regarding the evolution of
      The kit/-Carlton Destination C l u b is the next step in p r o v i d i n g significantly more vacation
      options for our RiU-Carlton Destination Club Members. This new option is being offered
      with no additional cost to current 1 lome Club Members and participation is completely
      optional. Should Members decide to participate in tins opportunity, they would be able to
      exchange one or more weeks for Lion & Crown points. This choice is an annual decision in
      the same way that u t i l i z i n g the current sister ('lub exchange program is an annual decision.
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      Members choosing to lake advantage o f t l i e exchange program would receive points in ihcir
      account that they could t h e n use to access a l l of the options within the Marriott Vacation C l u b
      Dcslinalions program. Prior to the launch of the program tor Rilz-Carllon Destination Club
      Members, ttie Destinations exchange club is working to expand its luxury experience options.
      \Yc anticipate thai participants will be able to use (heir points to access oceans and river
      cruises on luxury lines as well as premier events such as the Masters, f a s h i o n Week in New
      York City, the K e n t u c k y Derby and more. These new options are in addition to o p p o r t u n i t i e s
      already provided through the I )cstinations exchange club which oilers access to more than 50
      Marriott Vacation Club locations around the world, including locations such as Newport
      Coast, California, Aruba and Marbclla, Spain. The service levels provided at these locations
      are aligned with standards befitting the M a r r i o t t brand and provide numerous new
      destinations for Members to experience through the use: of their Ritx-CarHon Destination Club
      Membership. This a f f i l i a t i o n option will be available for you to choose in 201 3 witli usage in
      7014.

      We are also continuing to explore exchange a f f i l i a t i o n options that would be available
      exclusively to Kitz-Carlton Destination Club Members through their Membership in the Lion
      & Crown exchange program, such as Member access to private luxury vacation homes,
      affiliation with other club networks, and a variety of o t h e r experiences provided through
      select l u x u r y partners.

      We understand our original communication generated questions for a number of our Members
      and may not have fully anticipated all of your questions regarding the changes to
      The Ritz-Carlton Destination Club. We have received initial feedback from a few Members
      and your Board and would appreciate hearing from you with your comments and questions.
      Your feedback will allow us to communicate w i t h you and the other Members in the
      upcoming weeks. ' We would love to hear from you directly at
      Man her     !!}(/tiiry(it}riL:cfirlf(W<'luh.(.:<)»!.

      We have scheduled a webinar for Members of The Rit7.-Carllon Destination Club with myself
      and the President and Chief Executive Officer of Marriott Vacations Worldwide on August
      28 1 ' at 4:00 PM Lantern Standard Time to help address questions we have received from our
      Members. So that we can address as many questions as possible during the webinar, please
      provide any feedback or questions by August 24 th . To access this event please follow one of
      the methods below:


       .oca : -480-629-9645
      To -free: 1-866-225-8754
      Conference II); 4561025
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                                 HIGHLANDS TOURIST ACCOMMODATION HOARD
                                              0075 Prospector Road
                                             Aspen, Colorado 8 1 6 1 1




                                               August 1 7 , 2 0 1 2


  To the Members of the Aspen Highlands
   Condominium Association

                   Re:     Involution of the Ritz-Carilon Destination Club Brand

  Dear Members:

                   We wanted to follow up on our letter of July 26, 2012 and provide you with an
  update. As mentioned in our July 26 ' letter, wo have been paying close attention (together with
  the other owner controlled boards of other Ritx-Carlton clubs), to the program that is being
  introduced by Ritz-Carlton Club and Marriott. We are particularly concerned about and focused
  on what impact there may be to our club as a result of the unsold fractional interests owned by a
  subsidiary of Marriott Vacations Worldwide ("MVW") and interests owned by a points based
  trust affiliated with MVW (which together aggregate approximately 13.4% of our Aspen
  Highlands membership based on information provided to us). Specific questions we have raised
  with MVW relate to the number of points a MVW timcshare or points owner would have to
  utilize in order to reserve time in Aspen Highlands; whether MVW members will be able to
  access time in Aspen Highlands on a nightly or more or less transient basis; whether the Ritz-
  Carlton Club points and Marriott timcshare points will be marketed jointly; and whether Aspen
  Highlands members will be competing for space available as well as exchanging time periods
  with tens of thousands of Marriott timcshare/poinls members. These issues are very important to
  us. We have raised these issues with MVW and are awaiting comprehensive responses.

                 Our allotted times will be unaffected by the new program as well as our ability to
 exchange weeks (except that it is not yet clear that we will be able to exchange weeks as to the
 13.4% of interests controlled by MVW). It is also not yet clear if or how the "float" weeks
 relating to the 13.4% of interests will affect our members.

                  In the most recent phone conversation with senior executives of MVW, they are
 actively considering our suggestions including the imposition of minimum night stays. They will
 continue to keep us advised as they work through the point valuations between Aspen Highlands
 and other timoshare facilities in the MVW system and arc mindful of the desirability for all
 concerned to market the Ritz-Carlton and Marriott timesharc properties separately. To date, we
 arc not satisfied that Aspen Highlands is appropriately valued (meaning we believe that the
 owners of Marriott timcshares/points will find it too easy to exchange into Aspen Highlands).
 Frankly, it has been our position that our members bought into a Ritx-Carlton brand and do not
 want that brand diluted. The Board has concerns that since the core business of MVW has and

 ' MVW is now a separate company which was spun of'HVom Marriott International, which is the parent company of
 Ritz-Carlton Hotels (whose personnel manage our facility).
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  To the Members of the Aspen Highlands Condominium Association
  August 17, 2012
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 likely will be the timesharc business (which is appears to be evolving into a points based
 system), and that the nature of our club will change by opening the club to MVW
 timcshare/points members who have a much lower cost of entry. The Hoard is also concerned
 that there are specific provisions in our Association documents which the Board believes does
 not permit MVW to conduct a separate program as they currently intend. We are also concerned
 about our belief that MVW is not currently selling fractional interests (in fact, one of our
 suggestions is that some of the unsold interests be offered to Aspen Highlands members in
 weekly increments).

                 The same concerns have also been expressed by the other member controlled
 Ritz-Carlton Club boards (St. Thomas, Bachelor's Gulch, Jupiter and Kapalua). In addition, we
 are monitoring, as best as possible, the events relating to the potential termination by Ritz-
 Carlton Hotels of its management agreement at Kapalua and the lost affiliation within the
 system. We understand that discussions are ongoing but in any real estate restructuring, it is hard
 to predict an outcome. We continue to compare concerns and communicate directly with the
 presidents of the other owner-controlled fractional clubs.

                  On a different note, we wanted to provide you with a brief 1 financial overview of
 the financial strength of our Association. Our Association continues to be operating on budget,
 the few members who arc in arrears for 2012 (or prior years) are cither now current or legal
 action is being actively pursued and since Willow Creek is on all of our minds, it is performing
 essentially as expected and we expect that by year-end, the operating loss for the amenities
 acquired (Willow Creek, Caffe Sienna, the spa and the telephone system) will operate at a net
 loss of less than $200,000 which is approximately what this Board projected in its consideration
 of the proposed acquisition. We have replaced the major kitchen appliances in each of the u n i l s
 and during the offseason, will be installing wood panel covers on the new refrigerators to match
 the rest of the kitchen.

               We at Aspen Highlands arc fortunate to be operating as well as we are and we
 thank our Aspen Highlands staif and our managers for another great year of outstanding
 performance.

                                               Best regards,

                                              Jay A. Neveloff
                                              (jncvduff@kramcrluvin.coni)
                                              Philip Schneider
                                              (pjsdm2351@aol.cum)
                                              Gerald Marsden
                                              (rnyjcrry@aot.com)
                                              Tyler Oliver
                                              (tsoliver@hcn7likolivcr.com)
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                                         DECLARATION OF CONDOMINIUM.

                                                           FOR

                                         ASPEN llIGHLANDS CONDOMINIUMS

                                           ASPEN HIGHLANDS VILLAGE

                                                 CITY OF ASPEN

                                                PITKIN COUNTY

                                                     COLORADO




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•                                                     DECLARATlON OF CONDOMINIUM

                                                                               FOR

                                                    ASPEN HIGHLANDS CONDOMINIUMS

                  THIS DECLARATl ON OF CONDOMINIUM FOR ASPEN HIGHLANDS CONDOMINIUMS (this
                 "Declaration") dated as of January 10, 2001, shall be effective upon recordation and is made by THE
                  RITZ-CARLTON DEVELOPMENT COMPANY, INC., a Delaware corporation, and HINES
                  HIGHLANDS LIMITED PARTNERSHIP. a Delaware limited partnership (each a "Declarant" and
                 jointly sometimes referred to as "Declarant"). Declarant is che owner of certain real property in Pitkin
                 County, Colorado, more particularly described collectively on Exhibit A attached and made part of this
                 Declaration by this reference (the "Property"). Each Declarant hereby makes the fol lo.wing grants,
                 submissions and declarations for the Property:

                                                                ARTICLE l.
                                                         IMPOSITION OF COVENANTS

                          Section 1.1        Purpose.

                          The purpose of this Declaration is to create a mixed use condominium project (the "Projcctu)
                 pursuant to the Colorado Common Interest Ownership Act as set forth in Article JJ.J. Title 38, Colorado
                 Revised Statutes, as amended and supplemented from time to time (the "Act"), within the Buildings (as




•                hereinafter defined) and other improvements located on the Property, which Project shall incorporate
                 residential and commercial uses (that part of the Project to be used for residential purposes being referred
                 to as the "Residential Project" and that part of the Project to be used for commercial purposes being
                 referred to as the "Commercial Project") and, subject to the terms of Article 23 hereof, the creation of a
                 fractional ownership regime (the "Plan of Fractional Ownership") that will allow the sale and ownership
                 of undivided ownership interests ("Fractional Ownership Interests" as defined below in Article 23) in the
                 Tourist Accommodation Units (hereinafter defined).

                          Section 1.2        Residential Units.

                       The Residential Project shall consist of Tourist Accommodation Units (collectively, the "Tourist
                Accommodation Project") nnd Deed Restricted Re>idential Units (hereinafter defined) {collectively, the
                "Deed Restricted Residential Project").

                          Section 1.3        C9mm~rcial Units.

                          The Commercial Project shall consist of Commercial Units.

                          Section 1.4        Plan of Frnctional Ownership.

                        Declarant may commit the Tourist Accon1modations Units lo a Plan of Fractional O\vnership.
                The Plan of Fractional Ownership will provide for the creation of undivided fee ownership interests (lo be
                known as Residence Interests) in the ·roorist Accommodation Units.




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•                       Section 1.5      Intention of Declar!!fil.

                          Declarant desires to (a) establish a uniform plan for the development, sale, ownership, use and
                 maintenance of the Property including commercial and residential uses; (b) create a plan of fractional
               . ownership permitting short-term accommodations to owners and guests; (c) protect the value and
                 desirability of the Project as a whole while respecting the separate and distinct interests of the owners of
                 each of the Residential Project and the Commercial Project; {d) further a plan for the improvement, sales
                 and condominium ownership of the Residential Project and the Commercial Project; (e) create a
                 harmonious and attractive mixed use development within the Project; and (f) promote and safeguard the
                 health, comfort, safety, convenience and welfare of the owners of condominium units and Fractional
                Ownership Interests in the Residential Project and the owners of condominium units in the Commercial
                 Project.

                        Section 1.6      Development and Use.

                        As of the recording of this Declaration, the Project consists of seventy-eight (78) Units (without
               consideration of any resubdivision of Units or the creation of Fractional Ownership Interests), of which
               forty-seven (47) are Tourist Accommodation Units, rwenty-three (23) are Deed Restricted Residential
               Units, and eight (8) are Commercial Units, all located in those Buildings referred to for convenience as
               "Buildings 4 and 8." Declarant reserves the right for itself and any Successor Declarant to expand the
               Property and to expand the Common Elements by the addition of a Building referred to for convenience
               as "Building 2." In the event of expansion by the addition of Building 2, the number of units subjected to
               this Declaration shall be subject to the maximum limitations set forth in Section 3.1. All Tourist



•              Accommodation Units may be subject to further subdivision into Fractional Ownership Interests. No
               additional condominium units may be established on the Property by subdivision of existing units,
               conversion of non-condominium space, or otherwise, except as provided herein and as provided· by
               applicable land use regulations.

                       Section 1.7       Mixed Use.

                        The Residential Project and the Commercial Project together shall comprise the condominium
               project, the name of which is Aspen Highlands Condominiums. The functions, activities, physical
               appearance and other features commonly associated with commercial uses and residential uses shall be
               expressly permitted on the Property and within the Building and other improvements, all as more
               particularly described and governed herein.

                       Section !.8      Submission of Property.

                      To accomplish the purposes and intentions recited above, Declarant hereby submits the Property,
              together with all improvements, appurtenances and facilities relating to or localed on the Property now
              and in the future, to the provisions of the Act, and hereby imposes upon all of the Propetty the covenants,
              conditions, restrictions, casements. reservations. rights-of-way and other provisions of this Declaration,
              and Declarant hereby declares that all of the Property shall be held, sold, conveyed, encumbered, leased,
              rented, occupied and improved, subject to the provisions of this Declaration.

                       Section 1.9      Ma.liter Dcc1~r.ation.

                      The Property is subject to the Declaration for Aspen Highlands Village dated, October 13, 1998,
              and recorded October 15, 1998, under Reception No. 423272 in the Office of the Clerk and Recorder of




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              Pitkin County, Colorado (the "Master Declaration") and the Final Plat of Aspen Highlands Village


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•                 P.U .D., recorded in the Office of the Clerk and Recorder of Pitkin County, Colorado, on October 15,
                  1998 as Reception No. 423275 (the "Final Plat").

                           Section I. I 0   Covenants Running with the Land.

                          All provisions of this Declaration shall be deemed to be covenants running with the land or
                  equitable servitudes, as the case may be. The benefits, burdens and other provisions contained in this
                  Declaration shall be binding upon and shall inure to the benefit ofDcclarant, all Ow11ers and their
                  respective heirs, executors, administrators, personal representatives, successors and assigns.

                                                                   AR'flCLE 2.
                                                                   DEFINITIONS

                          The following words, when used in this Declaration, shal I have the meanings designated below
                  unless the context shall expressly provide otherwise:

                           Section 2.1      "Allocated !merest" means the interest allocated to each Unit expressed as a
                  percentage as set forth in Exhibit B attached hereto and incorporated herein by reference. Allocated
                  Interests govern voting rights, assessment obligations and ownership interests for all Units.

                          Section 2.2    "Allocated Interest-Commercial" means, with respect to any Commercial Unit,
                 the Allocated Interest-General allocated to such Commercial Unit as set forth on Exhibit B, attached
                 hereto and incorporated herein by reference divided by the total of Allocated Interests-General allocated




•                to all Commercial Units in the Association from time to time .

                          Section 2.3      "Allocated lntei:e>t-Oeed Restricted Re_sidential" means, with respect to any
                 Deed Restricted Residential Unit, the Allocated Interest-General allocated to such Deed Restricted
                 Residential Unit as set forth on Exhibit B, attached hereto and incorporated herein by reference, divided
                 by the total of Allocated Interests-General allocated to all Deed Restricted Residential Units in the
                 Association from time to time.

                          Section 2.4      "Allocated Interest-General" rneans 1 with respect to any Linlt, the Allocated
                 Interest allocated to such Unit as set forth on Exhibit B, attached hereto and incorporated herein by
                 reference, divided by the total of Allocated Interests allocated to all Units in the Association from time to
                 tilne.

                          Section 2.5      "Allocated Interest-Tourist Accommodation" means, with respect to any Tourist
                 Accommodation Unit, the Allocated Interest-General allocated to such Tourist Accommodation Unit as
                 set forth on Exhibit B, attached hereto and incorporated herein by reference, divided by the total of
                 Allocated Interests-General allocated lo all Tourist Accommodation Units in the Association from time to
                 time.

                          Section 2.6     ''Allocated lnterest-Rcsidential 11 means) with respect to any Residential Unit, the
                 Allocated Interest-General allocated to such Residential Unit (whether such Unit is a Deed Restricted
                 Residential Unit or a Tourist Accommodation Unit) as set forth on Exhibit B, attached hereto and
                 incorporated herein by reference, divided by the total of Allocated Interests-General allocated to all
                 Residential Units (whether such Units are Deed Restricted Residential Units or Tourist Accommodation
                 Units) in the Assoclation from time to time.




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                          Section 2.7       "Amenities" shall have the meaning given it in Section 5.4 hereinbelow.


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•                        Section 2.8    "Amenities Association" means the Aspen Highlands Village Residential
                Amenities Association, created by that certain Residential Amenities Declaration for Aspen Highlands
                Village, dated October 15 1998, and recorded October 15, 1998, under Reception No. 423273 in the
                Office of the Clerk and Recorder of Pitkin County, Colorado, and the articles of incorporation and bylaws
                of the Amenities Association.

                        Section 2.9       "Aspen HighJands Village" means all of the real property subject to the Master
                Declarotion.

                        Section 2.10 "Assessments" means !he annual, special, personal and default Assessments
                levied pursuant lo Article 8 below. Assessments are also referred to as a Common Expense Liability
                under the Act.

                       Section 2.1 l "Association" means Aspen Highlands Condominium Association, Inc., a
                Colorado nonprofit corporation, and its successors and assigns.

                         Section 2.12 "Association Documents" means the basic documents creating and governing the
                Project, including, but not limited to, this Dedaration, the articles of incorporation and bylaws of the
                Association, the Map and any procedures, rules, regulations or policies relating to the Project adopted
                under such documents by the Asscciation or the Executive Board.

                         Section 2.13 "Building(s)" means the building or buildings as !he case may be (including all




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                fixtures and improvements contained within it) in which Units and Common Elements arc located.
                Buildings may be referred to as Buildings 2, 4 and 8 with reference to the particular Lot on which the
                Building or Buildings are located. The tenn "Building" or "Buildings" includes Building 2 only if Lot 2
                is made subject to this Declaration.

                         Section 2. 14 "Category" shall mean each separate category of members in the Association,
                namely the Deed Restricted Residential Owners, the Tourist Accommodation Owners (including the
                Owners of Fractional Ownership Interests therein), and the Commercial Owners (all as described in
                Section 6.2 of this Declaration), and "Categories" shall mean all such categories collectively. The term
                shall also refer to the respective Categories of Units as well as the respective Categories of Directors that
                serve on the Executive Board.

                       Section 2.15 "Pa~s" shall mean individually the Residential Owners and the Commercial
                Owners, and "Classes" shall mean both such classes collectively. The term shal I also refer to the
                respective Classes of Units as \Yell as the respective Classes of Directors that serve on the Executive
                Board.

                      Section 2.16 "Commercial Directors" means the members of the Executive Board elected by
               the Commercial Owners after the expiration of the Declarnnt Control Period in accordance with the
               procedures set forth below and in the byla\VS of the Association. Until expiration oftbe'Declarant Control
               Period, any specific responsibilities of the Commercial Directors shall be undertaken and discharged by
               the entire Executive Board, and the entire Executive Board shall be authorized to so act. After the
               expiration of the Declarant Control Period there shall be three Commercial Directors, one of which shall
               be elected by the owners of Commercial Units in Building 4 and, if Building 2 has been subjected to this
               Declaration, Building 2; one of which shall be elected by the owners of Commercial Units in Building 8
               and one of which shall be elected by the owners of Commercial Units in all Buildings that arc subject to
               this Declaration nl large .



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•              Project.
                          Section 2.17   "Commercial Owners" means those Owners of Commercial Units within the


                       Section 2.18 "Commercial Unit" means a Unit designated with the prefix "C" on the Map and
               having a commercial use, and not the Residential Units.

                       Section 2.19 "CommQ!lj':lements" means all of the Project, exc!'l'l the Individual Air Space
               Units, and including, without limiting the generality of the foregoing, the following components:

                                2.19.1 The Property, excluding improvements on the Property unless specifically
               described in this subsection;

                                  2.19.2 The Buildings (including, but not by way of limitation, the foundations, columns,
               girders, beams, supports, perimeter and supporting walls, roofs, fireplaces, chimneys, flues, chin1ncy
               chases, patios, decks, balconiest corridors, lobbies, vestibules, entrances and exits; and the mechanical
               installations of the Buildings consisting of the equipment and materials making up any central services
               such as power, light, gas, hot and cold water, sewer •nd heating which exist for use by one or more of the
               Owners, including the pipes, vents, ducts, flues, cable conduits, wires, telephone wire and other similar
               utility installations used in connection therewith and the areas designated on the Map as including those
               installations; trash rooms and storage rooms; elevators and stairs), except for the Individual Air Space
               Units;




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                                 2.19.3 The plazas, yards, sidewalks, walkways, parking areas, paths, grnss, shrubbery,
               trees, planters, driveways, roadways, landscaping, gardens and related facilities upon the Property~

                                 2. l 9.4 The pumps, tanks, motors, fans, storm drainage structures) compressors, ducts
               and, in general, all apparatus, installations and equipment of the Buildings existing for use of one or more
               of the Owners; and

                              2.19.5 In general, all other parts of the Project designated by Declarant as Common
               Elements and existing for the use of one or more of the Owners.

               The Owners of the separate Units shall own the Common Elements, each Owner of a Unit having an
               undivided interest in the C:ommon Elements as provided below.

                          Section 2.20   "Common Expense(s)" means and includes the following:

                               2.20. l Expenses of administration, insurance, operation and management, repair or
              replacement of the Common Elements except to the ex.tent such repairs and replacements are
              responsibilities of an Owner as delineated in Section 9.2 below;

                              2.20.2 Expenses declared Common Expenses by the provisions of this Declaration or
              the bylaws of the Association;

                                2.20.3 All sums lawfully assessed against the Units by the Executive Board;

                                2.20.4 Expenses agreed upon as Common Expenses by the members of the Association;
              and




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•                              2.20.5 Expenses provided to be paid by the Residential Owners and the Commercial
                Owners collectively or respectively in accordance with the terms of this Declaration pursuant to the
                Management Agreement(s) for the maintenance of the General Common Elements, the Limited Common
                Elements-Residential, the Limited Common Elements-Tourist Accommodation, the Limited Common
                Elements-Deed Restricted Residential and/or the Limited Common Elements-Commercial.

                               Section 2.2 l   "Condominium Map" or "Map" means and includes any engineering survey or
                surveys of the Property as provided in Article 4, below.

                        Section 2.22 "Declarant" means Hines Highlands Limited Partnership, a Delaware limited
                partnership ("HHLP"), and The Ritz-Carlton Development Company, Inc., a Delaware corporation
                     4
                ('       RCDC 11 ) and their respective successors 1 transferees and assigns which are Successor Declarants. No
                party other than HHLP and RCDC shall exercise.the rights and privileges reserved herein to Declarant, or
                be deemed a successor, transferee or assignee ofDeclarant rights, unless such party shall receive and
                record in the Office of the Clerk and Recorder of Pitkin County, Colorado, a written instrument from
                HHLP and RCDC assigning or transferring all or a portion of such rights and privileges.

                         Section 2.23 "Declarant ContrQ[J'eriod" means the period of time commencing on the date of
                incorporation of the Association and terminating on the earliest of the following events: (i) sixty (60) days
                after conveyance by Declarant of seventy-five percent (75%) of the Units to Owners, (ii) two (2) years
                after the last conveyance of a Unit or Fractional Ownership lnterest by Declarant in the ordinary course of
                business, or (iii) the date on which Declarant voluntarily relinguishes such power evidenced by a notice




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                recorded in rhe Office of the Clerk and Recorder fur Pitkin County, Colorado .

                        Section 2.24 "Declaration" means this Declaration of Condominium for Aspen Highlands
                Condominiums together with any supplement or amendment to this Declaration, recorded in the Office of
                the Clerk and Recorder of Pitkin County, Colorado.

                         Section 2.25 "Deed Restricted Residerttial Directors" means the members of the Executive
                Board elected by the Deed Restricted Residential Owners after the expiration of the Declarant Control
                Period in accordance with the procedures set forth below and in the bylaws of the Association. Until
                expiration of the Declarant Control Period, any specific responsibilities of the Deed Restricted Residential
                Directors shall be undertaken and discharged by the entire Executive Board, and the entire Executive
                Bourd shall be authorized to so act.

                       Section 2-26 "Deed Restricted Residential Owners" means those Owners of Deed Restricted
                Residential Units within the Project.

                       Section 2.27 "Deed Restricted Residential Unit" mea11s a Unit designated with the prefix
               "DR" on the Map and restricted as an affordable housing sale unit, rental unit or dormitory unit pursuant
               to the PUD Plan, and not the Tourist Accommodation Units or the Commercial Units.

                              Section 2.28     "Pirector" means a member of the Executive Board.

                         Section 2.29 "District" means, collectively, the Aspen Highlands Commercial Metropolitan
               District, a Colorado quasi-municipal corporation, and the Aspen Highlands Residential Metropolitan
               District,. a Colorado quasi~municipal corporation .




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•                      Section 2.30 "Eligible Mortgagee" means a holder of a Firsl Mortgage on a Unit or Fractional
               Ownership Interest who has submitted a written request that the Association notify it on any proposed
               action requiring the consent of a specified percentage of Eligible Mortgagees.

                       Section 2.31 "Executive Board" means the governing body of the Association, us provided in
               this Declaration and in the articles ofincorporation and bylaws of the Association.

                       Section 2.32 "Expansion Property" means che real property more particularly described on the
               attached Exhibit C attached hereto and incorporated herein which Declarant may subject to this
               D~claration by one or more duly recorded Supplemental Declarations and Supplemental Maps.

                       Section 2.33 "First Mortgage" means an unpaid and outstanding mortgage, deed of trust or
               other security instrument recorded in the Office of the Clerk and Recorder of Pitkin County, Colorado,
               which secures financing for the construction or development of the Project or which encumbers a Unit or
               Fractional Ownership Interest and which, in any case, has priority of record over all other recorded liens
               except those liens inude superior by statute (such as general ad valorem tax Hens and special assessments)
               and liens of other associations.

                       Section 2.34    "First Mortgagee" means the Mortgagee under a First Mortgage.

                       Section 2.35 "fraction.~J. Ownership lnterestn or 0 Resldence Interest'" shall have the meaning
               given to it in Article 23 below.




•                       Section 2.36 "Fractional Ownership Plan," "Plan of Fractional Ownership" or "Plan" means
               the system of mutual use rights and obligations created and established by Article 23 of this Declaration
               for Owners of Fractional Ownership Interests.

                       Section 2.37    "General Common Elements" means the Common Elements, except for Limited
               Common Elements and the Restri<::ted Common El~ments.

                        Section 2.38 "!odividual Air Srace Unit" means, with respect to a Residential Unit or a
               Commercial Unit, that portion of a single Unit designated for separate ownership by an Owner depicted
               on the Map and consisting of enclosed rooms and bounded by the interior face of the unfinished perimeter
               walls, ceilings, and floors of the Individual Air Space Unit, and the doors and windows thereof; providd,
               however, some Commercial Unit(s) may not be bounded on all sides by walls, in which case the
               boundaries.on such sides of an Individual Air Space Unit(s) shall be those boundaries as are designated
               on the Mop. For the purpose of delining an Individual Air Space Unit, the terms set forth below shall be
               defined as follows:

                             2.38. I "unfinished perimeter wall" means the interior surfaces of the studs, supports
              and other wooden, metal or similar structural materials which constitute the interior face of a wall of an
              Individual Air Space Unit.

                                 2.38.2 "unfinished perimeter ceilin11," means the beams, joists and wooden or ocher
              structural 111ateri.als that con;titute the interior face of the ceiling of an Individual Air Space Unit.

                               2.38.3 "unfinis.h.•.9.~imeter floor" means the beams, floor joists and floor deck
              material that constitute the interior face of the noor of an Individual Air Space Unit.




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•              An tndividual Air Space Unit shall include any drywall, wall paneling, wood, tile, paint, paper, carpeting
               or any other Walt. ceiling or floor covering, windo1.vs, 1.vindow gl::sss and window frames, shutters,
               awnings, doorsteps, stoops and doors, door glass and door frames. An Individual Air Space Unit shall
               also include any fireplace or stove heartl1, facing brick, tile or firebox. An Individual Air Space Unit shall
               further include fixtures and hardware and all improvements contained within the unfinished perimeter
               walls, ceilings and flcors. An Individual Air Space Unit shall include any heating and refrigerating
               elements or related equipment utility lines and outlets, electrical and plun1bing fixtures, pipes and alJ
               other related equipment required to provide heating, air-conditioning, hot and cold water, ele<:trical or
               other utility services lD the Individual Air Space Unit and located within the unfini,hed walls, ceilings and
               floors; provided, however, that an Individual Air Space Unit shall not include any oftlie structural
               components of the Building or utility or service lines located within the Individual Air Space Unit but
               serving more than one Individual Air Spa(.;C lJnit.

                        Section 2.39 "Limited Common Elements" means those parts of th• Common Elements that
               are limited to and reserved for the use offewer than all oflhe Owners. Limited Common Elements d1at
               are reserved for the exclusive use of all Residential Owners are defined as "Limited Common Elcments-
               Residcntial" or "L.C.E.-R" on the Map. Limited Common Elements that are reserved for the exclusive
               use ofTourjst Accommodation Owners Hre defined as uLimited Co1nmon Elements-Tourist
               Accommodation" or "L.C.E.~TA" on the Map. Limited Common F..!ements that arc rese1-ved for the
               exclusive use of Deed Restricted Residential Owners are defined as "Limited Common Elements-Deed
               Restricted Residential" or "L.C.E.-DR" on the Map. Limited Common Elements that are reserved for the
               exclusive use of Commercial Owners are defined as "Limited Common Elements-Commercial" or
               "L.C.E.-Cll on the Map. Limited Comrnon Elements - Commercial include the storefronts ofC01n1nercial



•              Units located on the ground floor extending the width and height of the Commercial Unit to which they
               are appurtenant, all as may be further defined on the Map. Limited Common Elements may be reserved
               for the exclusive use of one or more Classes or Categories of Owners. Without limiting the foregoing, the
               Limited Common Elements shall include any balcony, deck, patio, private entryway or porch adjacent to
               an Individual Air Space Unit, storage spaces lhat may be designated as Limited Common Elements
               serving those particular lndividuat Air Space Units, parking space units owned by the Association that
               may be ~esignated as Limited Common Elements for particular Units pursuant to Section 5.3 below, and
               any individual fireplace chimneys and flues, individual air-conditioning units and fixtures and individual
               water and sewer service lines, water heaters and any plumbing or other installation or item servicing an
               Individual Air Space Unit, including, but not limited to, all such items designated as Limited Common
               Elements on the Map. The deck, balcony or patio, fireplace chimneys or other items which are accessible
               from, associated with and which adjoin a particular Individual Air Space Unit or Units, without further
               reference thereto. shall be used in connection with such Individual Air Space Unit or Units to the
               exclusion of the use thereof by the other Owners, except by invitation. Notwithstanding any other
               provision of this Section, certoin Limited Common Elements-Tourist Accommodation shall be made
               available for use by persons other than the T()urisl Accommodation Owners, as more particulruly
               described in Section 5.4 hereinbelow. No reference to the limited use by individual Owners need be
               made in any instrument of conveyance, encumbrance or other instrument

                      Section 2.40 "Mi!_tl~!!™fll__ t\greement'' means any contract or arrangement entered into for
               purposes of discharging the responsibilities of the Exe<:utive Board relative to the operation, maintenance
               and management of the Project.

                      Section 2.41 "Managing Agent" (or sometimes as the case may be "Management Company")
              means a person, firm, corporation or other entity employed or engaged as an independent contr<lctor by
              the Association pursuant to a Management Agreement to perform .management services for the Project.




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•                      Section 2.42 "Master Association" means the Aspen Highlands Village Association, created
               by the Master Association Documents.

                       Section 2.43 "Master Association Documents" means tlie Master Declaration and the articles
               of incorporation and bylaws of the Master Association, and any procedures, rules and regulations and
               policies adopted under such documents by the Master Association.

                      Section 2.44 "Master Declaration" means the Oecloralion for Aspen Highlands Village, dated
               October 13, 1998, as recorded Oc!Ober IS, 1998, at Reception No. 423272 in the Office of the Clerk and
               Recorder of Pitkin County, Colorado, as further amended and supplemented from time to time.

                        Section 2.45 "Maximum Rate" shall mean three (3) percentage points greater than that rate of
               interest charged by a bank (designated from time to time by the Executive Board) to tne best commercial
               customers of the designated bank for short-tenn loans and identified as the "prime rate" by such bank as
               of the date on which such Maximum Rate is imposed with respect to any amount payable under this
               Declaration, or ifless, the maximum rate allowed by law.

                       Section 2.46     uMortgage" means any unpaid and outstanding tnortgage, deed of trust 6r other
               security instrument recorded in the Office of the Clerk and Recorder of Pitkin County, Colorado, which
               secures financing for the construction or development of the Project or which encllmbers a Unit or
               fractional Ownership Interest.

                       Section 2.47    "Mortgagee" means any person or entity named as a rnortgagee or beneficiary



•              under any Mortgage, or any successor to the interest of any such person under such Mortgage .

                       Section 2.48 "Owner" means any record owner (including Declarant, and including a contract
              seller, but excluding a contract purchaser), whether a natural per.;on or persons. or an entity, of a fee
              simple title interest in and to any Unit (including, without limitation, an owner of an Fractional
              Ownership Interest); excluding, however, any record owner with an interest therein 111erely as a
              Mortgagee (unless such Mortgagee has ac4uired fee simple title interest in the Unit pursuant to
              foreclosure or ony proceedings in lieu of foreclosure).

                      Section 2.49 "Parki11gfiliociation" means Aspen Highlands Village Parking and Loading
              Dock Facility Association, a Colorado nonprofit corporation, established pursuant to the Parking
              Association Documents and any organization established to succeed it.

                       Section 2.50 uParking Association Oocurnenrs" means the Parking Declaration, together wlth
              the articles of incorporation and the bylaws of the Parking Association and all rules, regulations, design
              guidelines, and other docL1mcnts established pursuant to the Parking Declaration and other documents
              described above, all as amended, supplemented and restated from time to time.

                       Sect.ion 2.51 "Parking Declaration" means the Decla~tin for Aspen Highlands Village
              Parkin~r Loading Dock Facility, a Cqndominium, dated B          IP GI        , and recorded on
              __Q1jj ~'--· under Reception No. ~ 5D451..-- in tlie Office o the Clerk and Recorder of Pitkin
              CourjtY,    lorado, as amended, supplemented and restated from time to time.

                     Section 2.52 "Parking Facility" means one or more buildings, together with the real property
              on which such building(s) are located, which is submitted to condominium or planned community
              uwnership by the Parking Declaration and the associated map .




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•                         Section 2.53
                  hereinbelow.
                                            "Plan Assessment" or "Q!!hjluesn shall have the meaning given it in Article 23


                           Section 2.54     "Plan Member" shall have the meaning given it in Article 23 hereinbelow.

                          Section 2.55      "Plan_U.]1it" or "Rcsid_cnce'~ shall have the meaning given it in Article 23
                  hereinbelo\v.

                          Section 2.56      "l'!~n Unit Furnishl!!fil" shall h•ve the meRning given it in Article 23
                  hereinbolow.

                           Section 2.57     "Plan Year" shall have the meaning given it in Article 23 hereinbelow.

                           Section 2.58     "Propcrtv" means the real property described in the attached Exhibl!__~.

                         Section 2.59 "PUD Plan" means (i) the Aspen Highlands Village Detailed Submission
                 Consolidated Plan recorded as Reception No. 423269 in the Office of the Clerk and Recorder of Pitkin
                 County, Colorado, (ii) the Aspen Highlands Planned Unit Development Guide recorded as Reception No.
                 423274 in the Office of the Clerk and Recorder of Pitkin County, Colorado, (iii) the Final Plat, (iv) the
                 Village Core Plat. (v) Ordinance No. 35 (Series 2000) of the City Council of the City of Aspen, and (vi)
                 Ordinance No. 36 (Series 2000) of the City Council of the City of Aspen.




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                         Section 2.60       "Reservation Procedures" shall have the meaning given it in Article 23
                 hereinbelow .

                          Seclion 2.61      "Reserve Account" shall have the meaning given it in Section 7.2 hereinbelow.

                        Section 2.62 "Re~idential Directors" means the Tourist Accommodation Directors and the
                 Deed Restricted Residential Directors.

                        Section 2.63 ttResidential Owners'' n1eans those Owners of Residentiul Units (including any
                 Owner of Fractional Ownership Jntcrcst.5 therein) within the Project. Unless the context otherwise
                 requires, Owners of Fraction•! Ownership Interests shall be deemed to be Owners for usage and access
                 purposes only durlng those times when they are entitled pursuant to the Association Documents and the
                 Membership Program Documents to have access to the Project

                       Section 2.64 "Residential Unit" means a Unit having a residential use (including the Tourist
                 Accommodation Units and the Deed Restricted Residential Units), and not the Commercial Units.

                         Section 2.65 "Restricted Common Elements" means those portions of the Common Elements
                 designated as "R.C.E." on the Map, designated by the Executive Board, with the approval of the
                 appropriate Directors pursuant to Section 7.1, or designated in these Declarations, which' areas are subject
                 to easernents, leases, or licenses created for the benefit of certain third parties as described on the Map,
                 this Declaration or otherwise and restricted to lhe uses described therein.

                          Section 2.66     "Successor DeC;larant" means any party or entity to whom Dcclarant or either of
                 them assigns any or all of its rights, obligations or interest as Declarant, as evidenced by an assignment or
                 deed of record executed by both the assigning Declaranl and the transferee or assignee and recorded in the
                 Office of the Clerk and Recorder of Pitkin County, Colorado, designating such party as a Successor




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•               Declarant. Upon such recording, Declarant's rights and obligations under this Declaration shall cease and
                terminate to the extent provided in such document.

                       Section 2.67 "Supplemental Declaration" means an instrument which subjects any part of the
                Expansion Property to this Declaration, as more fully provided in Article 21 below.

                        Section 2.68 "Supplemental Map" mea11s a condominium map of the Project which depicts
                any part of the Expansion Property becoming subject to this Declaration through a Supplemental
                Declaration, as more fully provided in Article 21 below.

                        Section 2.69 "Tourist Accommodation Directors" means the members of the Executive Board
                elected by the Tourist Accommodation Owners after the expiration of the Declarant Control Period in
                accordance with the procedures set forth below and in the bylaws of the Association. Until expiration of
                the Dec(arant Control Period, any specific responsibilities of the Tourist Accommodation Directors shall
                be undertaken and discharged by the entire Executive Board, and the entire Executive Board shall be
                authorized to so act.

                        Section 2. 70 "Tourist Accommodation Owners" means those Owners of Tourist
                Accommodation Units (including any Owner of fractional Ownershi? Interests therein) within the
                Project. Unless the context otherwise requires, Owners of Fractional Ownership Interests shall be deemed
                to be Owners for usage and access purposes only during those limes when they are entitled pursuant to the
                Association Documents to have access to the Project.




•                      Section 2.71 "Tourist Accommodation Unit" means a Unit designated with the prefix "TA" on
                the Map and designated as a tourist accommodation unit in the PUD Plan, and not the Deed Restricted
                Residential Units or the Commercial Units,

                         Section 2.72 "Unit" means, with respect to a Tourist Accommodation Unit, a Deed Restricted
                Residential Unit, or a Commercial Unit, the fee simple interest in and to an Individual Air Space Unit.
                together with the undivided interests in the Common Elements appurtenant to the Individual Air Space
                Unit, specifically excluding, however, any Fractional Ownership Interest in a Unit. Each Unit's
                undivided interest in the Common Elements shall be equivalent to the Allocated Interest of such Unit with
                respect to the General Common Elements and each category of Limited Common Elements. Unit is also
                referred to as a Unit under the Act.

                        Section 2.73    "Use Periods" shall have the meaning given it in Ariicle 23 hereinbclow.

                        Section 2. 74 "Village Core Pl.~!" means the Supplemental Plat, Aspen Highlands Village
                P.U.D., Block D, recorded on September 28, 1999, under Reception No. 436003 in the Office of the Clerk
                and Recorder of Pitkin County, Colorado, as amended. surplemcnted and restated from time to time.

                Each capitaJjzed term not otherwise defined in this Declaration or in the Map shall have the same
                meanings specifit:d Qr used in the Act.

                                                    ARTICLE3.
                                 DIVISION OF PROJECT INTO CONOOMINIUM OWNERSHIP

                       Section 3.1      Division into Units.




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                       As of the recording of this Declaration, the Property is hereby divided into sevcnty-eighl (78)
               Units (without consideration of any resubdivision of Units or the creation of Fractional Ownership

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•              Interests), of which forty-seven (47) are Tourist Accommodation Units (fony-five (45) in Building 8 and
               two (2) in Building 4); twenty-three (23) are Deed Restricted Residential Units (seven (7) in Building 8
               and sixteen(! 6) in Bui~ding 4); and eight (8) are Commercial Units (four (4) in Building 8 and four (4) in
               Building 4). Each Unit consists of a fee simple interest in an Individual Air Space Unit and an undivided
               fee simple interest in the Common Elements in accordance with the respective undivided interests in the
               Common Elements. Such undivided interests in the Common Elements are hereby declared to be
               appurtenant to the respective Units. Declarant reserves the right fOr itself and any Successor Declarant to
               expand the Property and to expand the Common Elements by the addition of n Building reti:rred to for
               convenience as "Building 2." In the event of expansion by the addition of Building 2 and/or the
               resubdivision of Units the maximum number of Units that can be created in the Project subject to any
               development limitations governing the Property a< reflected in the PUD Plan, as the same may be
               amended, is sixty (60) Commercial Units and one hundred ninety·four ( 194) Residential Units.

                             Section 3.2   Commercial Units.

                        The Owner or Owners of one or more Commercial Units shall have lhe right to (a) relocate the
               boundaries of and between adjoining Commercial Units, (b) physically combine A pan of or combination
               of parts of the space of one Commercial Unit with a part of or combination of parts of the space within
               one or more adjoining Commercial Units, or (c) subdivide a Commercial Unit or part of a Commercial
               Unit to create additional Commercial Units; provided, however. that no Commercial Unit shall be Jess
               than 250 square feet. In order to accomplish any one of the foregoing, a Commercial Owner may remove
               or construct additional walls subject to the tenns of this Section and any other applicable provisions of
               this Declaration. Upon the relocation, combination or subdivision of any Commercial Units. the




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               Commm;ial Unit(s) resulting from such relocation, combination or subdivision shall be re-allocated the
               Allocated Interest of the predecessor Commercial Unit(s) in and to the General Common Elements and
               the Limited Common Elements-Commercial. A Commercial Owner must first obtain the consent of the
               Commercial Directors as described below and must obtain all necessary approvals from any
               governmental authority having jurisdiction over the Project before exercising its rights herein. The cost
               and expense incurred for legal, architectural and/or engineering fees and all other costs and expenses
               incurred by the Association shall be bumc by that par1y requesting such a chonge.

                        In order to relocate lhe boundaries of, combine or subdivide any Commercial Unil(s) as provided
               above, the Owner(s) of such Commercial Unit(s) shall submit an application tu the Commercial Directors,
               which application shall be executed by such Owner and shall inclnde (a) evidence that the proposed
               relocation of the boundaries of, combination or subdivision of a Commercial Unit or Units complies with
               all building codes, fire codes and other applicable ordinances or resolutions adopted and enforced by the
                Master Association, the City of Aspen and the State of Colorado, and that the proposed action does not
               violate the terms of any Mortgage encumbering the Commercinl Unit(s), (b) the propooed reallocations of
               Allocated Interests, (c) the proposed form of amendments to this Declaration, including the Map, as may
               be nec~ssary to show the Commercial Unit(s) which are created by the relocation, cornbinalion or
               subdivision ofn Commercial Unit(s) and their dimensions and identifying numbers, (d) a deposit against
               attorneys' fees and costs which the Commercial Owners and/or the Association may incur in revitwing
               and effectuating the transaction, in an amount reasonably estimated by the C<Jrnmercinl Dircctors 1 (e)
               evidence of the required approval of the Commercial Owner(s) that own the subject Commercial Unit(s),
               (f) evidence satisfactory to the Comrnercial Director< that the Ovmer(s) has obtained or caused to be
               obtained all requisilc insurance in connecrion \Vith any constn1ction required to effect the proposed action,
               {g) indemnification of the Association by the Owncr(s) for any and all matters relating to the proposed
               action, and (h) such other information as may be reasonably requested by the Commercial Directors. To
               the extent possible, the Commercial Directors shall be permitted to execute and record any amendnient
               effectuating the n:location of boundaries of or combination or subdivision of Commercial Units. Jf th~



•              Commercial Directors require the consent of or the. execution of docu1nents by the entire Executive Board



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•                in connection with effectuating such relocation of boundaries of or combination or subdivision of
                 Commercial Units. the Executive Board shaH approve and take such necessary actions in connection
                 therewith if the requirements in this paragraph have been satisfied.

                         Section 3.3     Residential Units.

                          The Declarant during the Declarant Control Period shall have the right tu (a) relocate the
                 boundaries of and between adjoining Residential Units, (b) physically combine a par1 of or combination
                 of parts ofthe space of one Residential Unit with a part ofor combination of parts of the space within one
                 or more adjoining Residential UnilS, or (c) subdivide a Residential Unit or part of a Residential Unit to
                 create additional Residential Units; provided, however, that no Residential Unit shalt be Jess than 250
                 square feet. In order to accomplish any one of the foregoing, the Declarant may remove or construct
                additional walls subject to the terms of this Section and any other applicable provisions of this
                 Declaration. Upon the relocation, combination or subdivision of any Residential Unit(s), the Residential
                Unit(s) resulting from such relocation, combination or subdivision Shall be re-allocated the Allocated
                Interest of tl1e predecessor Residential Unit(s) in and to the General Common Elements and the Limited
                Common Elements-Residential. "fhe Declaranl is not required to obtain the consent or the Executive
                Board or any Owners to relocate, combine or subdivide any Residential Unit(s) during the Declarant
                Control Period but must obtain all necessary approvals from any governmental authority having
                jurisdiction over the Project before exercising its rights herein.

                         In order to relocate the lx>undaries of, combine or subdivide any Residential Unit(s) as provided
                above, the Declarant shall be responsible for submitting documentation reflecting (a) the proposed



•               reallocations of Allocated Interests, (b) the proposed form of amendments to this Declaration, including
                the Map, as may be necessary to show the Residenlial Unit(s) whi<:h are created by the relocation,
                combination or subdivision of a Residential Unit(s) and their dimensions and identifying numbers, (c)
                evidence that the Declarant has obtained or caused to be obtained all requisite necessary governmental
                approvals as well as providing insurance in connection with any construction required to effect lhe
                proposed action, and (d) indemnification of the Association by the Declarant for any and all matters
                relating to lhe proposed action. The Dc:clarant shall be permitted to execute and record any amend1nent to
                the Declaration or the Map, or both, effectuating the relocation of boundaries of or combination or
                subdivision of Residential Unit(s). If the Declarant requires, whether for tille purposes, governmental
                approvals or otherwise, the ratification of the action by the entire faecutive Board or the execution of
                documents by the executive officers of the Association in connection with effectuating such relocation of
                boundaries of or combinatioo or subdivision of Residential Unit(s), the Executive Board shall ratify and
                take such necessary actions in connection therewith if the requirements in this paragraph have been
                satislied.

                      The rights reserved to Declaram under this Section 3.J shall not apply to a Tourist
                Accommodation Unit after Declarnnt first conveys a Fractional Ownership Interest in such Tourist
                Accommodation Unit to an unaffiliated third-party purchaser thereof.

                        Section 3.4      _Q_~j_jnea_tion of Unit Boundaries.


                        The boundaries of each Individual Air Space Unit are delineated and designated by an identifying
                nurnbtr on the Map

                        Section 3.5     !fill'oarability oLVni!.




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                        Except as provided in Article 23 of this Declaration and except as provided in Section 3.2 and
                Section 3.3 hcrcinabove, no part of a Unit or of the legal rights comprising ownership of a Unit may be

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•               partitioned or separated from any other part thereof during the period of condominium ownership
                prescribed in this Declaration. Subject lo Section 3. l above, each Unit shall always be conveyed,
                transferred, devised, bequeathed, encumbered and otherwise affected only as a complete Unit. Every
                conveyance, transfer, gift, devise, bequest, encumbrance or other disposition of a Unit or any part thereof
                shall be presumed to be a disposition oflhe entire Unit, together with all appurtenant rights and interests
                created by Jaw or by this Declaration.

                        AH rights with respect to the use, posseS<ion, enjoyment, management or disposition of a Unit
                (including any Fractional Ownership Interest) which an Owner might otherwise have as a tenant-in-
                common (including, but not limited to, any common law or statutory right jointly to use, possess or
                manage commonly owned property) •re hereby unconditionally and irrevocably subordinated to this
                Dedaration for so long as this Declnralion shall remain in effect; provided, however, that in tile event that
                an election to tcnninate this Declaration is made pursuant any provision of this Declaration, an Owner
                shall have the rights specified in this Declaration and the Act.

                         Section 3.6     Nonpll_l1itigna~iJlb'ofCommon Elements.

                         Subject lo the provisions ofthi• Article and Article 5 below, the Common Elements shall be
                owned in common by all of the Owners and shall remain physically undivided; provided, however, the
                Limited Common Elements shall be for the exclusive use of, enjoyment by and control by the Owners of
                Units to which such Limited Common Elements arc appurtenant, except as provided with respect to the
                Amenities in Section 5.4 hereinbelow. l\o Owner shall bring any action for partition or division of the
                Common Elements. By acceptance of a deed or 01her instru111enr of conveyance or assignment IO a Unit




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                or Fractional Ownership Interest, each Owner of the Unit or Fractional Ownership Interest shall be
                deemed to have speclfically waived such Owner's right to institute or maintain a partition action or any
                other cause of action designed to cause a division. of the General Common Elements or any Limited
                Common Elements, and this Section may be pleaded as a bar to the maintenance of such an action. Any
                Owner who shall institute or maintain any such action shall be liable to the Association and hereby agrees
                to reimburse the Association for the Assocjation's costs, expenses and reasonable attorneys' fees in
                defending any such action. Such amounts shall automatically become a default Assessment determined
                and levied ngainsr such Owner's Unit or Fractional Ownership Interest and enforced by the Association in
                accordance with Section 8.11, Section 8.12 and Section 8.13 below.

                         Notwiths!anding the foregoing, the Association shall have the right lo dedicate, sell or otherwise
                transfer all or any part of the Common Elements to the fullest extent pennilled under tile Act. The
                granting of easements by the Executive Board, including the approval of a majority of Residential
                Directors and a mojority ofConuncrcial Directors, for public utilities, for access by pedestrians or for
                other purposes not inconsistent with the intended use of the Common Elements shall not be deemed a
                transfer requiring any consent of the Q\vners.

                                                               ARTICU:4.
                                                         CONDOMINIUM MAP

                        Section 4.l      Condominium.Map.

                        The Map shall be filed for record in the Office oftl1e Clerk and Recorder of Pilkin County,
                Colorado. Any Map filed subs0<ju<nt to the first Map shall be termed a supplement to such Map, and the
                numerical sequence of such supplements shall be shown thereon. The Map shall be filed for record
                following substantial completion of those ponions of the Building subject to this Declaration and prior to
                the conveyance of any Unit depicted on the Map to a purchaser. The Map shall show the location of the



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                Building on the Property; the floor am! elevation plans; !he location of the Units within the Building, both



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•              horizontally and vertically; the thickness of the common walls, if any, between or separating the Units
               one fronl the other, or from Conunon Elements, as applicable; the Unit designations; designation of
               General Common Elements and Limited Common Elements; and such other information as Declarant
               may require in its discretion. The Map shall contain a certificate of o. registered professional engineer or
               licensed architect or a licensed land surveyor certifying that the Map substantially depicts the location and
               the horizontal and vertical measurements of the Building and the Units, the dimensions of the Units, and
               the elevations of the unfinished floors and ceilings as constructed, and certifying that such Map is
               prepared subsequent to the substantial completion of the improvements. Each supplement or amendment
               shall set forth a like certificate wh<n appropriate. The Map shall further contain such other information,
               certifications and depictions as may be required under Section 38-33.3-209 of the Act.

                       Section 4.2      Amendment.

                       Declarant reserves the right to amend or supplement \he Map, from time to time, to the fullest
               extent permitted under the Act or as pennitted by this Declaration.

                                                   ARTICLES.
                                   OWNERS' PROPERTY RIGHTS IN COMMON ELEMENTS

                       Section 5.1      <;Jenera! Common Elements.

                       Every Owner and the family members, guests, tenants and licensees of each Owner shall have a
              perpetual right and easement of access over, across ilnd upon the Gt:neral Co1nmon Element~ for the




•             purpose of entering and exiting such Owner's Unit and the public ways for both pedestrian and vehicular
              travel, which right and easement shall be appurtenant 10 and pass with the trnnsfer of title lo such Unit;
              provided, however, that such right and easement shall be subject lo the following:

                              5.1.l The covenants, conditions, restrictions, easements, reservations, rights-of-way
              and other provisions contained in this Declaration, the Master Declaration and the Condominium Map;

                              5.1.2 TI1e right of the Association to regulate on an equitable basis the use of parking
              spaces and storage spaces, if any, which are General Common Elements or Limited Common Elements
              from time to time;

                             5. l .3 The right of the Association to adop~ from time to time, rules and regulations
              concerning vehicular traffic and travel upon, in, uudcr <lnd across the Project; and

                                 5.1.4 The right of the Association to adopt, from time to time, any and all rules and
              regulations concerning the Common Elements a.~ the Association 1nay detennine ure necessary or prudent,
              sul>ject to the terms of Section 7.7 and Article 13 hereof.

                      Nol\vithstanding the foregoing, the Association shall Lake no action that unreasonably restricts
              any Owner's or its family members', guests', tenants' and licensees' right and easement of access o~er,
              across and upon the General Common Elements. to such Owner's Unit(s).

                      Section 5.2      Limited Common Elements.

                      Subject to lhe provisions of this Declaration (including. without limitation, the rights of others to
              use the Arneoities as described in Section 5.4 hcreinbelow), every O\vner shall have the exclusive right to




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              use and enjoy the Limited Common Elements appurtenant to his Unit. The Map shall specify to which
              Unit or Units each Limited Common Element is allocated .

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•                      Storage spaces, if any, may be designated on the Map as Limited Common Elements appurtenant
              to the Units or a Class or Category thereof and reserved for the exclusive use of the Owners and the
              tenants, guests, lessees, licensees, perminees and invitees of the Owners of the Units; provided, however,
              any such designation shall not be construed as granting any Owner of a Unit the ownership of such
              storage spaces. The Executive Board shull designate as General Common Elements and subject to
              regulation all remaining storage spaces.

                       Any redesignation of the boundaries of the General Common Elements or of the General
              Common Elements to Limited Common Elements shall be approved by the Executive Board, including
              the approval of a majority of Residential Directors and a majority of Commercial Directors. Dcclarant
              hereby reserves the right and grants to the Association the right to reassign Limited Common Elements to
              the fullest extent permitted under the Act. Any modification to the Common Elements and/or the Units
              shall not impair the life safety systems of the Project.

                      Section 5.3     Parking.

                              5.3.1     Association Regulation. The Owners acknowledge that the Association will
             own a portion of the Parking Facility initially consisting of forty-seven (47) parking spaces that shall be
             allocated for use solely by the Tourist Accommodation Owners as LCE-TA, thirty-three (33) parking
             spaces that shall be allocated for use solely by the Deed Restricted Residential Owners as LCE-DR (of
             which twenty-six spaces (26) parking spaces shall be allocated for use solely by the Deed Restricted
             Residential Owners in Building 4 and seven (7) parking spaces shall be allocated for use solely by the




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             Deed Restricted Residential Owners in Building 8), twenty.seven (27) parking spaces that shall be
             allocated for use solely by the Commercial Owners as LCE-C (of which eighteen ( 18) spaces shall be
             allocated for use solely by the Owners of Commercial Unit< in Building 4 and nine (9) parking spaces that
             be aJlocated for use solely by the Owners of Commercial Unit~ in Building 8). Subject to the foregoing.
             the Executive Board shall assign parking spaces among Units \vithin specific Classes and Categories in
             compliance with the PUD Plan. Additional parking spaces may be acquired and owned by the
             Association in connection with 1he expansion of the Project to the Expansion Property. In addition to any
             spaces acquired in conneclion with the Expansion Property, the Association may acquire additional
             parking spaces upon the approval of a majority of the Executive Board plus a majority of the Category of
             Directors representing the Owners who will be able to use such parking spaces. The expenses of the
             acquisition of any additional parking spaces shall be allocated as a special Assessment to the Class of
             Category of Owners entitled lo use such parking spaces.

                      'l'he Association will have full right, po\Yer, and authority to regulate such parking on an
             equital>le basis as determined by the Executive Board including, without limitation, the right to assign
             exclusive parking spaces to certain Units, the right to reassign parking spaces between or among certain
             Classes or Categories of Units based on handicap accessible parking space or other need, and the right to
             adopt rules and regulations governing the use and maintenance of such parking consistent with the
             Parking Documents provided that the parking spaces designated as Limited Corninon Elements for each
             Category shall be reserved for their exclusive use.

                               5.3.2    ParkioR Documents. The Parking Documents govern the ownership, use and
             maintenance of the Parking Facility. Each Owner acknowledges that the Association will be a member of
             the Parking Association and the Executive Boa.rd will detenninc all voting with respect to n1casures
             arising under the Parking Documents as follows: the Commercial Directors by a majority vote thereof
             shall vote on all matters of the Parking Association with respect to the parking spaces designated as
             Limited Common Elements-Commercial; the Deed Restricted Residential Directors by a majority vote




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             thereof shall vote on all matters of the Parking Association with respect to the parking spaces designated
             as Limited Common Elements-Deed Restri"ted Residential; and the Tourist Accommodation Directors by

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•               a majority vote thereof shall vote on all matters of the Parking Association with respect to the parking
                spaces designated as Limited Common Elements-Tourist Accommodation. Owners will have no direct
                ownersh;p interest in lhe Parking Facility nor \viii they exercise any vote in matters of rhe Parking
                Associalion.

                        Section 5.4     Amen it!_~~-

                       A portion of the Project is an outdoor-jened spa and swimming pool, which are identified on the
                Mop as "Pool L.C.E.-TA-Amenities" (the "Amenities"). The following provision; >hall apply to the use
                and management of the Amenities by the Tourist Accommodation Directors and the Tourist
                Accommodation Owners:

                                 5.4.1 Notwithstanding that the Amenities are Limited Common Elements-Tourist
                Accommodation pursuant lo this Declaration, Dec\arant intends that the Amenities shall be available for
                use by members of the Amenities Association and Tourist Accommodation Units (including Owners of
                Fractional Ownership Interests therein). Therefore, !he Association, by nnd through the Tourist
                Accommodation Directors, shall be obligated to enter into en agreement pcrmining the members of the
                Amenities Association, which shall consist of no more than sixty-three (63) free Market Residential
                Units as thar term is defined in the PUD Plan, from time to time to use the Amenities, which 11grccmcnt
                shall, at minimum, provide the following:

                                        (a)     The members of the Amenities Association <hall have the right to use the
               Amenities on the same terms and conditions as are provided for the use of the Amenities by tile Tourist




•              Accommodation Owners. Use of the Amenities by the members of the Amenities Association shall be
               governed by the nondiscriminatory provisions of the rules and regulations of the Tourist Accommodation
               Dirc~tors rc:garding use of the Amenities, and the Tourist Accommodation Directors shall have the same
               remedies (with the exception of the ability, if any, to assert a lien against a unit owned by a member of the
               A1ncnlties Association) for violation of such rules and regulations by members of the Amenities
               Association as are provided for the Tourist Accommodation Owners. Jn addition, the right of the
               n1embers of the Amenilies As:sociation to use the Amenities may be tenninated. after notice and faj[urc to
               cure, for nonpayrnent of amounts owed by the Arncnities Association;

                                           (b)    In order to compensate for the anticipated greater use of the Amenities
               hy the various Owners of Frachonal Own.;::rship Interests in a unit (whether a Unit hereunder or a unit
               subjc.."Ct to the Amenities Association}, all expenses of the operation, maintenance, renovation and
               replacement of the Amenities shall bt allocated such that each unit (whether such units are within the
               Project or are within the Amenities Association) that has been further subdivided into Fractional
               Ownership Interests is ass:ess:ed an amount that is one and one-half (I~) times the amount that is assessed
               to each unit (whether such units are within the Project or are within !he Amenities Association) that has
               not been subdivided into Fractional Ov,1nership Interests~

                                         (c)      The A1nenitics Associutjon shall be entitled lu comment upon the
               proposed budgertOr th.e Amenities, and the Tourist Accommodation Directors wBI take such comments
               into account when dctennining the budget for the Amenities. In addition, the Amt:nkies Association n1ay
               object to any budget for any reason in its discretion, and if the i·ourist Accommodation Directors do not
               1esolvc any such objectio11 to the satisfaction of 1he Amenities Association (a.nd with no obl!gation to do
               so) \Vithin ninety (90) days after written notice of objection. then the Amenities Association may
               terminate the agreement with the Association for the use of the An1enities. Upon such termination, the
               Amenities Association and its members will have no use rights in the Amenities and will have no




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               obligation to share in the cost thereof; and


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•                                         (d)      The Amenities Association will indemnify and hold the Tourist
                 Accommodation Directors harmless from and against any claims, losses, liabilities, costs and expenses
                 incurred by the Tourist Accommodation Din;ctur.> and arising out of the use of the Amenities by the
                 members of the Amenities Association or their guests or invitees, except for normal costs of operation,
                 maintenance, upkeep, repair and replacement of the Amenities the cost of which shall be allocated among
                 the users of the Arncnitics as provided herein.

                                  5.4.2 In addition to the obligation of the Tourist Accommodation Directors to make the
                 Amenities available to the members of the Amenities Association as provided in sub-section 5.4. \ aboY"e,
                 the Tourist Accommodation Directors shall have the right, but not the obligation, to make the Amenities
                 available to other parties, whether Or" not s;uch parties are residents of Aspen Highlands Village, on such
                 terms and subject to such conditions as the Tourist Accommodation Directors may detennine.

                                  5.4.3 Any person who is entitled to use the Amenities pursuant to the terms and
                 conditions of this Section 5.4 and any separate agreement is hereby grltntcd a noncxclusiYe easement over
                 and across portions of the Common Elements of the Project solely and only to the extent necessary for
                 access lo the Amenities, which easement shall be subject lo the reasonable rules and regularions of the
                 Executive Board or the applicable Class or Category of Directors.

                         Section 5.5     Rjghts ofQy;ners of Fractional Ownership Interests.

                        An Owner of a Fractional Ownership Interest in a Unit shall be permitted to access the Common
                Elements, the Amenities, and the Health Club facility, unless otherwise permitted by separ>te agreement,



•               only during the period of such Owner's actual occupancy of a Unit pursuant to such Owner's Fractional
                Ownership Interest.




                         Section 6.1
                                                       ARTICLE 6.
                                       MEMBERSHIP AND VOTING RIGHTS IN ASSOCIATION

                                         ;\ssociation MembersliiJ>.

                          Every Owner shall l.H=. a member of the Association and shall ren1ain a member for the period of
                the O\vner's ownership of a Unit or Fractional Ownership Interest. No Owner, \Vhether one or more
                persons, shall have more than ouc 1ner11bershlp per UniL or Fractional Ownership Interest owned, but all
                of the persons owning a Unit or Fractional Ownership Interest shall be entitled to rights of membership
                and of use and enjoyrncnt appurtenant to ownership ofa Unit or Fractional Ownership Interest. Joint
                owners or Fractional Ownership Interest shall, however, be required to coordinate usage rights as Owners
                of Fractional Ownership 1n~erests in uccordaocc \Vith the provisions of Aniclc 23 and as proYided below.
                lftitle too Fractional Ownership lnkrcst is held by more than one person, such Owners shall designate
                one person as their representative and nppoint such person as their proxy, as more fully described in this
                Declaration and the bylaws of the Association or as otherwise required by applicable law. Membership in
                the Association shall be appurtenant to, und may not fJ.c separatc:d frorn, o'vncrship ofa Unit or r·ractional
                O\'vners:hip Interest.

                        Section 6.2      Categories of Membership.

                        There shall be three (J) Categories of membership in the As,ocialion as follows:

                                 6.2. l    Tourist Acc<>mmodaticn Owners. Atl Owners of Tourist Accommodation




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                Units, including Fractional Ownership Interests therein, and including the Dcclara11t so long as Declarant
                continues to O\\ln an interest in a Tourist Accommodation Unit

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•                                6.2.2     _Deed Restricted Resid.!'ntial Owners. All Owners of Deed Restricted
                 Residential Units including the Declarant so long as Declarant continues to own an interest in a Deed
                 Restricted Residential Unit.

                                   6.2.3      Commercial Owners. All Owners of the Commercial Units including the
                 Oeclarunt so long as Declarant continues to own an interest in n Commercial Unit

                          Section 6.3       .Y9ting Rights.

                                   6.3.1      General Common Elenm!\s.

                        Each Unit shall be allocated a vote for the purpose of matters relating to the General Common
                 Elements or the Project as a whole equivalent to the Allocated Interest-General of such Unit as provided
                 on Exhibit B attached hereto and incorporated herein by reference.

                                   6.3.2      Limited Common Elements.

                                           (a)    Limited Common Elements-Commercial. Each Commercial Unit shal I
                 be allocated a vote for the purpose of matters relating to the Limited Common Elements~Commercial and
                 the election of Commercial Directors, equal to the Allocated Interest-Commercial of such Unit as set forth
                 in Exhibit R attached hereto.

                                           (b)     Limited Common Elements-Residential. Each Residential Uuit shall be



•                allocated a vote for the purpose ofrnalters relating to the Limited Common Elements-Residential, equal to
                 the Allocated Interest-Residential of such Unit as set forth in Exhibit B attached hereto.

                                      (c)       Limited Common Elements-Tourist Accomm_odation. Each Tourist
                 Accommodation Unit shall be allocated a vote for the purpose of matters relating to the Limited Common
                 Elements~ Tourist Accommodation and the election of Tourist Accommodation Directors, equal to the
                 Allocation lnterest-'fourist Accommodation of such lJnit as set forth in g~hibit ~attached hereto.

                                          (d)     1iwited Common Elements-Deed Restricted Residential. Each Deed
                 Restricted Residential Unit shall be allocated a vote for the purpose of matters relating to the Limited
                 Common Elements-Deed Restricted Residential and the election of Deed Restricted Residential Directors,
                 equal lo the Allocated Interest-Deed Restricted Residential of such Unit as set forth in Exhibit B attached
                 hereto.          ·

                The Association shall not have a vote with respect to any Unit that may be owned by it. Declarant shall
                be entitled to vote with respect to Uuils or Fractional Ownership Interests owned by it. Members of the
                Association may exercise such voting rights subject to and in accordance with the provisions below and
                those of the hylaws of the Association.

                         Section 6.4        Voting of Fractiop_~l Ownership Jnterest.

                        The votes with respect to each Tourist Accommodation Unit which is further subdivided into
                Fractional Ownership Interests \vill be allocated to the Owners of the FracrionaJ Ownership Interests
                comprising such Unit on the same basis as each Owner's fractional interest in the Unit~ 1neaning, by way
                of example and not of limitation, that if a Tourist Accon1modation lJnit is divided into Fractional
                Ownership fnterests constituting a 1/12 share of such Unit, then each Owner of a Fractional Ownership




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                lnteresttherein shall be enlitlcd to cast J 112 of the votes with respectto such Unit .


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•                        Section 6.5      Election oCDirectors.

                          During the Declarant Control Period, the Directors shall be appointed by the Declarant without
                 regard to the Categories of Directors or the election thereof by certain Categories of members as
                 described in \his Section below. The initial Executive Board sh•ll consist of six (6) Directors. The first
                 annual meeting of the Owners shall be held within one year after the closing of the escrow for the first
                 sale ofa Plan Unit or within sixty days after conveyance of twenty-five percent (25%) of the Units to
                 Owners other than Dec[ornnt, whichever occur<; first. At the first annual meeting of Owners, and at aJJ
                 times thereafter during the Declaiant Control Period, one (I) Director shall be elected by the Tourist
                 Accommodation Owners, other than Declarnnt, and one ( t) Director shall be elected by the combined
                 vote oflhe Deed Restricted Residential Owners and the Commercial Owners, other than Declarant. The
                 remaining Directo1> shall be as appointed by the Declarant. The Directors elected at the first annual
                 meeting and thereafter during the Dcclarant Control Period, including those appointed by the Declarant,
                 shall not be classified by Class or Category and any specific r~sponsibf Hties of any group of Directors
                 elected by a Class or Category of Owners shall be undertaken and discharged by the entire Executive
                 Board. and the entire Executive Board shall be: ilUthorizcd to so act. It is hereby detennined that, after the
                 expiration of the Declarant Control Period, in order to protect the valid interests of the various Categories
                 of Owners, each Category requires representation on the Executive Board and is hereby entitled to elect
                 certain Directors thereto. After the expiration of the Declarant Control Period, the Executive Board shall
                 consist of nine (9) Di<ectors, of whid1 the Category of Tourist Accommodation Owners shall be entitled
                 to nominate and elect four (4), lhe Category of Deed Restricted Residential Owners shall be entitled to
                 nominate and elect two (2), and the Class of Commercial Owners shall be entitled to nominate and elect
                 three (3) Directors as follows: (i) Owners of Commercial Units in Building 4 and, if applicable, Building




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                 2 shall be entitled cullectively to nominate and elect one ( 1) Director; (ii) Owners of Commercial Units in
                 Building 8 shall be entitled to nominute and elect one (I) Director; and (iii) Owners of Commercial Units
                 in all Ouililings that are subjectto this Declaration shall be entitled to nominate and elect one (I) Director
                 at large.

                         Section 6.6      Declarant Control.

                         Notwithstanding anything 10 the contrary provided for herein or in the bylaws of the Association,
                Declarant shall, during the Declarant Control Period, be entitled to appoint and remove the members of
                the Association's Executive Board and officers of the Association to the fldlest extent currently permitted
                under the Act, except as otherwise specifically provided in this Declaration and the bylaws of the
                Association. The specific restrictions and procedures eoverning 1he exercise of Dcclarant's right to so
                appoint and remove Directors and oftlcers shall be set out in the bylaws of the Association. Dedarnnt
                may voluntarily relinqujsh such power evidenced hy a notice executed by Dcclarant and recorded in the
                Office of the Clerk and Recorder for Pitkin County, Colorado but, in such even1, Declarant may at its
                option require that specified actions of the Association or the Executive Board as described in lhe
                recorded notice. during the period Declarant would otherwise be entitled to appoint and remove Directors
                and oCficers, be approved by Dcclnnu1t before they bcco1ne effective. For purposes of this Declaration
                and bylaws of the Association, a Unit which is subdivided into Fractional Ownership Interests shall be
                deemed conveyed co an Owner other than Decl::iro.nt for purpos.e.s of del.ennining Declarant control only
                after conveyance of fifty-one percent (SI%) of the Fractional Ownership Interests in such Unit.

                         Section 6.7      Executive Board.

                        During the Dcclarant Control Period, all members of the Executive Board shall be entilled lo
                participate in all Association affairs without regard to the provisions of this Section and any specific




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                responsibilities of any group of Directors elected by a Class or CaregorY of Owners shall be undertaken
                and discharged by the entire E:<.ccucivc Board, and the entire Executive Board shall be authorized to so

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•              act. After expiration of the Declarant Control Period, all members of the Executive Board shall be
               entitled to participate in Association affairs which affect the Project in its entirety, both the Residential
               Units and the Commercial Units, both the Residential Owners and the Commercial Owners, or the
               Common Expenses affecting both the Residential Units and the Commercia I Units. Except as otherwise
               provided in this Declaration, the Tourist Accommodation Directors shall have che sole and exclusive
                authority to vote \vit~ respect to all matters which relate solely to (i) the Tourist Accommodation Units, or
               (ii) the Limited Common Elements-Tourist Accommodation, Except as olherwi<e provided in this
                Decla..-ation, the Residential Dlrectors shall have the sole and exclusive authority to vote with respect to
                all matters which relate to (i) the Deed Restricted Residential Units or both the Deed Restricted
                Residentie.' Units and the Tourist Accoinmodation Units, or (ii) the Lin1ired Common Elements·
               Residential or lhe Limited Common Elements-Deed Restricted Residential. Except as otherwise provided
               in this Declaration, the Commercial Directors shall have the sole and exclusive authority to vote with
               respect to all matters that relate solely to the Commercial Units and the Limited Common Elements-
               Commercial. Notwithstanding the foregoing, amendments to the rules and regulations of the Association
               shall require the majority vote of the Executive Board and the majority vote of each Class of Directors.

                        The provisions of this Section 6. 7 atxive describe the intent of this Declaration regarding
               allocation of decision-making regarding various issues that may arise under this Declaration. In the event
               of a bona fide dispute umo11g membcr5 of the ExcCutive Board as to \Vhether a matter relates solely to an
               individual Class or its Units or Limired Common Elemencs, or, if applicable, the Category ofTourist
               Accommodation Units, the Directors shall use their good faith, reasonable judgment in detennining such
               matter and the determination as to whether a matter should be for the independent consideration of a
               single Class of Directors or, in the case of Tourist Accon11nodation Directors~ a Category, and not for




•              consideration of the entire Executive Board, shall require the affirmative vote of a majority of each Class
               of Directors.

                        If (a) a vote by the Executive Board to delermine whether a matter should be for the consideration
               of the entire Executive Board resutts in an affirmative vote of a majority of one Class of Directors 1 but
               fails to result in the affirmative vote of least a majority of both Classes of Directors, and (b) a majority of
               one Class of Directors vote within fifteen ( 15) days thereafter to submit such issue to arbitration, then the
               issue of whether a matter should be considered by the enlire Executive Board shall be submitted to
               binding arbitration in Pitkin County, Colorado, in accordnnce with the rules of the American Arbitration
               Association then in effect. The decision of the arbitration shall be tinal and binding on the parties and
               judgment may be entered thereon in a courc having jurisdiction over the As:sociation. The arbitrator shall
               be appointed by the Executive Board, which appointment shall require the affinnative vote of a majority
               of each Class of Directors. In the event the Executive Board is unable to do so withi11 ten (I 0) days of
               submitting this matter to arbitration, the arbitrator shall be designated by the chief judge in the District
               Court of Pitkin Cou11ty, Colorado. The cost and expense of the arbitrator shall be deemed an expense of
               the Association.

                        Notwithstanding any other provision in this Declaration to the contrary, in the event of an
               emergency requiring immediate action by the Executive Board~ the entire Executive Board shall
               participate in the decision to t~ke such action as is necessary t0 advance the lntcrcst of the Project as a
               whole pending a determination as to whether the lnattcr should be independently considered by a single
               Class or if applicable, a Category, of Directors. at which rime such Directors as are determined to be
               entitled to participate in the decision shall resolve the issue.

                       Section 6.8      Fairness Sta~ndard.




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                       The Ex.ecutive Board, the officers of the Association and the Association shaB have the duty to
               represent the interest of the l'ourist Accomnlodation O\vners, the Deed Restricted Residential Owners,

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•                 and the Commercial Owners in a fair and just manner on all matters that may affect any or all Categories
                  of Owners. In upholding their duties, the Executive Board, the officers and the Association shall be held
                  in their decisions, including, without limitation the determination of whether a matter should he for the
                  independent consideration of the Commercial Directors or the Residential Directors, or both, es described
                  in Section 6. 7 above, to the standards of good faith and reasonableness with respect to such matters,
                  taking into account the effect, if any, of the matter on the Project as a whole.

                           Section 6.9       Voting by Association M~JJljJe~.

                          To the extent a matter is required by this Declaration, the bylaws of the Association or the Act to
                  be submitted to the vote of the members of the Association, all members shall be entitled to panicipate in
                  the vote on such matters unless a majority of the voting Directors of the Executive Board, including the
                  affirmative vote of a majority of the Commercial Directors and a majority of the Residential Directors,
                  determine that a panicular matter affects exclusively either the membership Class of Residential Owners
                  (including the Owners of Fractional Ownership Interests therein, if any) or Commercial Owners, in which
                  case the Executive Board may give notice of a meeting of either the Residential Owners (including the
                  Owners of Fractional Ownership Interests therein, if any) or the Commercial Owners and conduct a vote
                  on the matter affecting only that Class in order to protect the legitimate, valid interest of such Class.

                           Section 6. I 0    Owner's and Association's Address for Notices.

                         All Owners of each Unit or Fractional Ownership Interest shall have one and the same mailing




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                 address to be registered with the Association and used by the Association or other Owners for notices,
                 demands· n.nd all other com1nunications regardit1g AsSociation rnattcrs. The Owner or Ownc:r.s of a Unit or
                 Fractional Ownership Interest shall furnish such address to the Secretary of the Association within five
                 (5) days after transfer of title to the Unit or Fractional Ownership Interest to such Owner or Owners.
                 Such registration shall be in written form and signed by all of the Owners of the Unit or Fractional
                 Ownership Interest or by such persons as are authorized by law to represent the interests of all Owners of
                 the Unit or Fractional Ownership Interest. Notwithstanding the foregoing, the Association shall be
                  entitled to rely upon any such registration or other nntice of a change in address of the Owners of the Unit
                 or Fractional Ownership Interest which is signed by less than all of the Owners of such Unit or Fractional
                 Ownershir Interest.

                         If no address isregistered or if all of the Owners cannot agree, then the address set forth in the
                 deed to the Unit or Fractional Ownership Interest shall be deemed their registered uddress until another
                 registered address is furnished as required under this Section.

                           Any notice delivered to a First Mortgagee in accordanco with the tenns of this Declaration shal I
                 be sent to the address for s\.lch party specified in the First Mortgage unless the First Mortgagee notifies
                 the Association in writing of a different address.

                         All notices and demands intended to be servecl upon the Executive Board shall be sent ro the
                 following address or such other address as the Executive Board inay designate from time to time by
                 notice to all of the Owners:

                                   Executive Board
                                   Aspen llighlands Co11dominium Association, Inc.
                                   c/o The Ritz-Carlton Club
                                   Attention: Director of Operation~




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                                   6649 Westwood Boulevard, Suile 500
                                   Orlando, Florida 12821

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•                                With a copy to:
                                 Hines Highlands Limited Partnership
                                 426 East Main Street
                                 Aspen, Colorado 81611

                All notices given in accordance with this Section shall be sent: (a) by personal delivery, which shall be
                effective upon receipt; (b) by overnight courier service, which shall be effective one (I) business day
                following timely deposit with the courier service; or (c) regular, registered or certified mail, postage
                prepaid, which shall be effective three (3) days after deposit in the U.S. mail.

                      Unless otherwise provided in writing by the Association or the Managing Agent, all bills for
                common utility services shal I be sent to the Executive Board at the address designated in this Section.

                                                            ARTICLE 7.
                                                        ASSOCIATION DUTIES

                        Section 7.1      Associntion Management Duties.

                                  7.1. l Subject to the rights and obligations of Dcclarant and other Owners as set forth in
                this Declaration, the Association through the Executive Board shall be responsible for the administration
                and operation of the Project, for the exclusive management, control, maintenance, repair, replacen1ent and
                improvement of the General Common Elements (including facilities, furnishings and equipment related




•               thereto), and shalJ keep the sarne in good, clean, attractive and sai1itary condition, order and repair. The
                expenses, costs and fees of such management, operation, maintenance and repair by the Association shall
                be part of the Assessments, and, subject to the budget approval procedures of Section 8.6 below, prior
                approval of the Owners shall not be required in order for the Association to pay any such expenses, costs
                and fees. The Executive Board, with the approval ofa majority of Commercial Directors and a majority
                of Residential Directors, and with the approval of the Owners representing a majority of the total votes
                entitled to be cast on Association matters, including a majority of the total votes allocated to the
                Residential Owners and a majority of the total votes allocated to the Commercial Owners at a meeting of
                the Owners called for that purpose, shall have the authority to lease or license any General Common
                Elements to others for all purposes permitted in this Declaration and by applicable Jaw; provided,
                however, that any such lease or license shaJI require the lessee or licensee to pay all costs and expenses,
                including costs of maintenance, repair and replacement, resulting from its use of such General Common
                Elements.

                                 7.1.2 The Residential Directors, on behalf of the Residential Owners, shall be
               responsible for the ex.clus.i\1e manage1nent, controJ, maintenance, repair, replacement and lrnprovemenr of
               the Limited Common Elements-Residential and the Limited Common Elements.Deed Restricted
               Residential. The Tourist Accommodation Directors, Oil behalf of the Tourist Accommodation Owners,
               shall be responsible for the exclusive management, control, maintenance, repair, replacement and
               imp,.ovement of the Limited Common Elements-Tourist Accommodation. The expenses, cos1s and fees
               of such management, operation, maintenance and repair (i) of the Limited Co1nmon Elements-Residential
               shall be part of the Assessments to be paid by the Residential Owners for such Limited Common
               Elements-Residential, (ii) of the Limited Common Elements-Tourist Accommodation shall be part of the
               Assessments to be paid by the Tourist Accommodation Owners for such Limited Common Elements-
               Tonrist Accommodation, and (iii) of the Limited Common Elements· Deed Restricted Residential shall be
               part of the Assessments to be paid by the Deed Restricted Residential Owners for such Limited Common




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               Elements-Deed Restricted Residential; and, subject to the budget approval procedures of Section 8.6


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•               below, prior approval of the applicable Category of Owners shall not be required in order for the
                Association to pay any such expenses, costs and fees.

                                  For all purposes permitted in this Declaration and by applicable law, the Residential
                Directors shall have the authority to lease or license any Limited Common Elements-Residential, the
                Deed Restricted Residential Directors shall have the authority lo lease or license any Limited Commori
                Elements-Deed Restricted Residential, and the Tourist Accommodation Directors shall have the authority
                to lease or license any Limited Common Elements-Tourist Accommodation. Any lease or license granted
                in accordance with this sub-section shall require the lessee or licensee to pay all costs and expenses,
                including costs of maintenance, repair and replacement~ resulting from its use of such Limited Common
                Elements.

                                  7.1.3 The Commercial Directors, on behalf of the Commercial Owners, shall be
                responsible for the exclusive management, control, maintenance, repair, replacement and improvement of
                the Limited Common Elements-Commercial. The expenses, costs and fees of such management,
                operation, maintenance and repair of the Limited Common Elements-Commercial shall be part of the
                Assessments to be paid by the Commercial Owners for such Limited Common Elements-Commercial
                and, subject to the budget approval procedures of Section 8.6 below, prior approval oflhe Commercial
                Owners shall not be required in order for the Association to pay any such expenses, costs and fees. The
                Commercial Directors, with the approval of the Commercial Owners representing a majority of the total
                votes entitled to be cast on Association matters or, !f such Limited Common Element is appurtenant to
                one or more, but fewer than all the Commercial Units, the approval of the Commercial Owners to which
                such Limited Common Element is appurtenant, shall have the authority to lease or license any Limited



•               Common Elements-Commercial to others for all purposes permitted in this Declaration and by applicable
                law; provided, however, that any such lease or license shall require the lessee or licensee to pay all costs
                and expenses, including costs of maintenance, repair and replacement, resulting from its use of such
                Limited Common Elements.

                        Section 7.2     Reserve Account.

                        The Association shall establish and maintain, as part of its budget and out of the installments of
               the annual Assessments, adequate reserve accounts for maintenance, repair or replacement of those
               Common Elements that must be replaced on a pcrio<lic basis, the reserve funds to be designated for the
               use of either the General Common Elemcnls, Limited Common Elemeuts-Residential, Limited Common
               Elements-Tourist A.ccommodation, Li1niced Common Elenu~nts-Deed Restricted Residential or Limited
               Common Elements-Commercial and segregated by account in these categories (collectively, the "Reserve
               Accounc").

                        Section 7 .3    Owner's Negligence.

                        Subject to the terms of Section 9.4 hereof, in the event that the need for maintenance, repair or
               replace1mnt of all or any portion of the Common Elements is due to the grossly negligent, reckless or
               willful act or omission of an Owner> any member of an O\vner's family, or an Owner's guests, invitees or
               tenants, then the expenses incurred by the Association for such maintenance, repair or replacement shall
               be a personal obligotion of such Owner. To the extent that the area in need of maintenance, repair or
               replacemenl is due to the negligent act or omission of an Owner, any member of an Owner's family, or an
               Owner's guests, invitees or tenants, the11 such Owner shall be liable to the Association for the amount of
               any applicable insurance deductible(s) and for any amounts in excess of insurance proceeds; provided,
               however, if such area is- not covered by insurance the expenses incurred by the Association for such




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               maintenance, repair or replacement shall be a personal obligation of such Owner. If the Owner fails to
               repay auy applicable expenses incurred by the Association within seven (7) days after notice to the Owner

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•               of the amount owed, then the failure to so repay shall be a default by the Owner under the provisions of
                this Section, and such expenses shall automatically become a default Assessment determined and levied
                against such Owner's Unit or Fractional Ownership Interest, enforceable by the Association in accordance
                with Section 8.11, Section &.12 and Section 8.13 below.

                        Section 7.4     Delegation of Manageinent and Maintenance Duties.

                         The Executive Board, with the approval of a majority of the Commercial Directors and a majority
               of the Residential Directors, may delegate all or any part of its powers and duties to one or more
               Managing Agents, including Declarant or affiliates of Declarant or either of them; provided, however,
               that if a Plan of Fractional Ownership has been created with respect to the Tourist Accommodation Units,
               the Executive Board shall designate a Managing Agent as provided in this Section, and the Management
               Agreement for such Managing Agent shall allow for either party to terminate, for cause, upon sixty (60)
               days' notice, or as required by applicable law. A Management Agreement entered into by the Executive
               Board may only be terminated by the Executive Board by a majority vote thereof, including the approval
               of a majority of the Commercial Directors and a majority of the Residential Directors and a vote of
               Owners representing sixty percent (60%) or more of the total number of voles entitled to be cast on
               Association matters. Notwithstanding the delegation by the Fxer11tiye Agard to a Managjng Agenh the
               Executive Board shall not be relieved of its res     · · 't'es und this Declaration. Any Management
               Agreement entere into y t e Executive Board shall require the Managing Agent to maintain garage
               keeper's insurance for the benefir of the 1·ourist Accommodation Owners as a Lin1ited Common Expense-
               Tourist Accommodation to the extent such Managing Agent provides parking valet services to the Tourist
               Accommodation Owners .



•                      Section 7.5      Acquiring and Disposing of Personal Prope..!1)1.

                        The Association may acquire, own and hold for the use and benefit of all Owners tangible and
               intangible personal property, including without limitation, membership rights, services and benefits for
               the use, enjoyment security, comfort und convenience of Owners and any Class or Category thereof and
               may dispose of the same by sale or otherwise, and the beneficial interest in any such property shall be
               deemed to be owned by the Owners in the same undivided proportion as their respective undivided
               interests in the Common Elemen1s. Such interests shall not be transferable except with the transfer of a
               Unit or Fractional Ownership Interest. A conveyance of a Unit or Fractional Ownership Interest shall
               transfer ownership of the transferor's beneficial interest in such personal property without any reference
               thereto. Each Owner 1nay use such personal property in accordance with the purposes for which it is
               intended. without hindering or encroaching upon the lawful rights of other Owners. The transfer of title
               to a Unit or Fractional Ownership Interest under foreclosure shall entitle the purchaser lo the interest in
               such personal property associated with the foreclosed Unit or Fractional Ownership Interest.

                       Section 7.6      Cooperation with District. Master Association and Other Associatiori_s_.

                         The Association may conlrnct or cooperate 'tvith 1he District, the Master Association or with other
               homeowners' associations or entities \Vithin Aspen Highlands Village as convenient or necessary to
               provide services and privileges, such as access to recreational facilities in Aspen Highlands Village, and
               to fairly allocate costs among the parties utilizing such services and privileges which n1ay be adrninistercd
               by the Association or such other organizations, for tht: benefit of Owners and their family members,
               guests, tenants and invitees. The costs associated with such efforts by the Association (to the extent not
               chargeable to other organizations) shall be a General Common Expense if for the benefit of all Owners or
               shall be a Limited Common Expense if for the benefit of one or more but less than all Owners .




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                       Section 7.7        Issuance of Rules und Regulations.

                       The Executive Board may, by a majority of lhe voting Directors, including the approval of a
              majority of each Class of Director.; consistent with Section 6.7 above, make and amend reasonable rules
              and regulations governing the use and rental of the Units and the use and operation of the Common
              Elements. Notwithstanding the foregoing, any such rules and regulations shall not be inconsistenl with
              the tenns of this Declaration, including, but not limited to Article 13. In addition, such rules and
              regulations sha ll, when applied to each of the Units considering the use of sm:h Unit, be equitable and
              reasonable as applied to the Unit with reo;pect to the use thereof. After the adoption oflhe initial rules and
              regulations, which may be approved by the Executive Board with the consent of the Dechtr.ml prior to the
              conveyance of the first Unit or Fractional Ownership Interest in the Project. the Executive Board shall
              provide thirty (30) days written notice pnor to the adoption or amendment ofnny rules and regulations
              and provide for a reasonable opportunity for Owners to comment at a mee11ng of the Executive Boord on
              the proposed adoption or amendment ofany rules and regulations.

                       Section 7.8       Enforcement of Associntion Documents.

                              7.8. l This Declaration and the bylaws of the Ass ·                                      m ..
              enefitmg each Unit end t e ro c a a w o can ma                   enforced b Dcclaranr, the Association or a
              ggneve     wner. A v10 at1on o any of the provisions o t i1s ec arat1011 causes irrepara e amu$e to
             the Property. Therefore, subject to the terms end conditions of this Section 7.8 anaexcepl as otherwise
             expressly provided elsewhere in this Declaration, Oeclarant, the Association and any aggrieved Owner
             may prosecute a proceeding at low or rn equity aga111st anyone violating or artempling to violate the
           1 ~rovisions of this Decl::irution, including, without limitation, an action for a temporary rcstroining order,
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          ~rcliminary injunction and pcnnanent injunction.
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                                7.8.3 Before an aggrieved Owner may prosecute any proceeding at luw or in equity
             enforcing the provisions of this Declaration or the bylaws oflhc Association or scekin other relief
             rellltin •to a violarion or actem ted violation of the    isions of this Declaration or the b laws o tie
             Association. the wner will first give written notice to the Executive Board specifying the violation or
             afiemptcd violation of the provisions of this Declar.ition or the bylaws, the facts and circumstances
             surrounding the violation, and the name of the person alleged to have violated or artempted to violate the
             provisions of this Declaration or the bylaws. The Executive Board 111ay initiate a proceeding in law or in
             equity to enforce che provisions of this Decldration or the bylaws of1he Associntion, to prevent a violation
             or to obtain damages for damage to the Common Elements resulting from the violation, or may otherwise
             enforce the provisions of this Decl::irntion. The <1ggrievcd Owner may exercise any of its rights under
             Section 7.8.1 if(i) the violation or attempted violation rc!sults or would result in direct and immediate
             physical damage to the Owner's Unit, or (ii) the Association fails to enforce or cause enforcement of the

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•                 violated provisions of this Declaration or the bylaws of the Association within sixty (60) days after the
                  Executive Board receives the Owner's notice.

                           Section 7.9      Identity of Executive Board and Managing Agent.

                          From time to time, but no less than annually, the As10ciation shall mail to each Owner a notice
                  containing the names and addresses of the members of the Executive Board and the Managing Agent(s),
                  if any.

                          ·Section 7.10    hnplied Rights.

                          The Association may exercise any and all other rights or privileges given to ii by this Declaration,
                  or by the other Association Documents, or as may otherwise be given to it by law, and every other right or
                  privilege reasonably to be implied from the existence of any right or privilege given to the Association in
                  the Association Documents or reasonably necessary to effectuate any such right or privilege.

                           Section 7.11    Books and Records of the Association.

                           The Executive Board, directly or through its Managing Agent(s), as the case may be, shall keep
                  detailed, accurate records of the receipts and expenditures affecting the Common Elements and shall
                  maintain such other books and records as may be required under the Act. Owners and Mortgagees may
                  inspect the records of receipts and expenditures of the Managing Agent(s) or the Executive Board at
                  convenient weekday business hours. In addition, the other books, records and papers of the Association,



•                 including this Declaration, the articles of incorporation and the bylaws of the Association, as well as nny
                  Management Agreement nnd nny rules and regulations of the Association, shall be available for
                  inspection by any Owner or Mortgagee at all times during convenient weekday business hours. Unless a
                  shorter time is required by law, inspection shall require three (3) days advance, wrinen notice.

                           Section 7 .12   Compliance with Liauor Laws.

                          To the extent necessary to comply with applicable requirements of the Liquor Code of the State
                  of Colorado, the Executive Board and any Managing Agent may grant exclusive possession end control of
                  any portion of the Common Elements and/or any Unit owned or leased by the Association to a duly
                  authorized licensee for the limited purpose of serving all types of alcoholic beverages.

                          Section 7.D      LIMITATION OF LIABILITY OF ASSOC/ATJON.

                        NOTWITHSTANDING THE DUTY OF THE ASSOCIATION TO MAINTAIN AND REPAIR
                  THE COMMON ELEMENTS, AND EXCEPT TO THE EXTENT COVERED BY ASSOCIATION
                  INSURANCE AS DESCRIBED IN ARTICLE 10, THE ASSOCIATION SHALL NOT BE LIABLE TO
                  OWNERS FOR INJURY OR DAMAGE, OTHER THAN FOR THE COST OF MAINTENANCE AND
                  REPAIR, CAUSED BY ANY LATENT CONDITION OF THE COMMON ELEMENTS TO BE
                  MAINTAINED AND REPAlRED BY THE ASSOCIATION OR CAUSED BY THE ELEMENTS OR
                  OTHER OWNERS OR rERSONS.

                          Section 7.14     Financial Statements.

                         The Association shall have the power and duty to cause to be regularly prepared financial
                 statements for the Association and copies thereof to be distributed to all Owners as provided in this




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                 Section 7.14.                                                                      .


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•                                7.14.l The budgets prepared in accordance with Section 8.6 below shall be distributed
                to Owners not less than forty-five ( 45) days nor more than sixty (60) days before the beginning of each
                fiscal year, except the first fiscal year with respect to which the budget shall be distributed as soon as
                reasonably possible. The advance budget shall contain at least the following information:

                                          (a)     Estimated revenue and expenses on an accrual basis;

                                          (b)     The balance of the Reserve Account;

                                    (c)    An itemized estimate of the remaining life of major components of the
               Common Elements and the methods of funding to defray reserve expenses; and

                                         (d)     A general statement setting forth the procedures used by the Executive
               Board in tlie calculation and establishment of the Reserve Account.

                                7.14.2 An annual report as defined by this Section 7.14.2 shall be distributed within 120
               days after the end of eacl1 fiscal year. The annual report shall be prepared by a certified public accountant
               in any fiscal year in which the gross income to the Association exceeds $75,000.00. If the annual report
               is not prepared by such a certified public accountant, the annual report shall be prepared by the Managing
               Agent or by an officer of the Association and shall be accompanied by the certificate of the person
               preparing the annual report that the annual report was prepared without audit from the books and records
               of the Association. The annual repo11 is a report to the Owners consisting of:




•              year;
                                          (a)


                                          (b)

                                          (c)
                                                  A balance sheet relating to the Association as of the last day of the fiscal


                                                  An operating statement for such fiscal year;

                                                  A state1nent of changes in ftnanciaJ position tOr such fiscal year; and

                                      (d)    A list of the names. mailing addresses and telephone numbers of the
               members of the Executive Board.

                          Section 7 .15   Limitation on Pow~r of Managing Agent.

                       The Managing Agent shall not enter into a contract with a third person or entity whereby such
               person or entity will furnish goods or services for the management and operation of the Project or for the
               maintenance and repair of the Project, for a term longer than one (I) year without the consent of a
               majority of the Owners other than Declarant 7 except for:

                                 7.15.1 A contract with a public utility company; provided, however, that the term of the
               contract shall not exceed the shortest tenn for \Vhich the supplier \viii contract at the regulated rate.

                               7.15.2 Prepaid casualty and/or liability insurance policies not to exceed three (3) years
               duration provided lhal lhe policy permits short-rate cancellation by the insured.

                                7.15.3 The following types of contracts provided that the lessor or provider is not an
               entity in which the Declarant or the Managing Agent has a direct or indirect interest of ten percent (I 0%)
               or more:




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                                 7.15.4 a lease of furniture, furnishings, appliances and other personal property;



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